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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION

 ASSOCIATED GENERAL CONTRACTORS
 OF AMERICA; ASSOCIATED GENERAL
 CONTRACTORS OF TEXAS; LUBBOCK
 CHAMBER OF COMMERCE; and
 J. LEE MILLIGAN, INC.,

                           Plaintiffs,
                                                               Case No. 5:23-cv-00272-C
 v.

 U.S. DEPARTMENT OF LABOR and JULIE
 SU, in her official capacity as Acting U.S.
 Secretary of Labor,

                           Defendants.


                       PLAINTIFFS’ FIRST AMENDED COMPLAINT

                                         INTRODUCTION

        1.      This lawsuit asserts claims under the United States Constitution and the

Administrative Procedure Act (“APA”), 5 U.S.C. § 500 et seq., against the Department of Labor

(“Department” or “DOL”) regarding its “Updating the Davis-Bacon and Related Act Regulations”

published August 23, 2023, 88 Fed. Reg. 57526 (Aug. 23, 2023) (to be codified at 29 C.F.R. pts. 1,

3, 5) (hereinafter “Final Rule”).

        2.      The Final Rule unconstitutionally attempts to amend by executive order an act of

Congress, namely, the Davis-Bacon Act, and unlawfully imposes the requirements of the

Davis-Bacon Act (“DBA” or “Act”), 40 U.S.C. § 3141 et seq., to federal agency and federally funded

contracts by operation of law. See 29 C.F.R. § 5.5(e); Final Rule, 88 Fed. Reg. at 57739. The Final

Rule also unlawfully extends the DBA to apply to workers who are not “mechanics and laborers”

under the Act and unlawfully extends the scope of the work covered by DBA to include work that


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is not performed “directly on the site of the work.” See 29 C.F.R. § 5.2; Final Rule, 88 Fed. Reg.

at 57731–34.

        3.        The Final Rule took effect on October 23, 2023. Final Rule, 88 Fed. Reg. at 57526.

        4.        In promulgating these provisions in the Final Rule, the Final Rule violates the

Constitution, oversteps the Department’s statutory authority under the DBA, and is contrary to law.

The challenged provisions of the Final Rule, 29 C.F.R. §§ 5.2 and 5.5(e), are also arbitrary and

capricious in contravention of the Administrative Procedure Act (“APA”).

        5.        This action seeks a preliminary injunction.

        6.        This action also seeks permanent relief in the form of a declaration that the challenged

provisions of the Final Rule, 29 C.F.R. §§ 5.2 and 5.5(e), violate Article I, Section 1 and Article II,

Section 3 of the Constitution, the APA and DBA and are arbitrary and capricious. The Court should

hold unlawful and set aside the challenged Final Rule provisions, and DOL should be enjoined from

implementing or enforcing the challenged Final Rule provisions in any manner.

                                 JURISDICTION AND VENUE

       7.         This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 and

5 U.S.C. §§ 702, 706. As to Plaintiffs' constitutional claim, this Court has authority to issue

“equitable relief . . . ‘[to] prevent[] entities from acting unconstitutionally.”’ Free Enter. Fund v.

Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 491 n.2 (2010) (quoting Correctional Servs.

Corp. v. Malesko, 534 U.S. 61, 74 (2001)).

       8.         The Court has authority to issue declaratory and injunctive relief pursuant to

28 U.S.C. §§ 2201 and 2202, 28 U.S.C. § 1361, and to vacate unlawful agency action under

5 U.S.C. § 706.




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       9.       Venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial part of the

events or omissions giving rise to the claims occurred in this district. Venue is also proper under

28 U.S.C. § 1391(e)(1)(B) because the defendants are officers, employees, and agencies of the

United States and a substantial part of the events or omissions giving rise to the claims occurred

in this district. See also 5 U.S.C. § 703 (venue for actions under the APA generally proper in “a

court of competent jurisdiction”).

                                           PARTIES

        10.     Plaintiff Associated General Contractors of America (“AGC of America”) is a

nationwide trade association of construction companies and related firms. It has served the

construction industry since 1918, and over time, it has become the recognized leader of the

industry in the United States. Today, AGC of America has more than 27,000 members in 89

chapters stretching from Puerto Rico to Hawaii. Among these members are more than 6,500

general contractors and over 9,000 specialty contractors. AGC of America has at least one chapter

serving each and every state, Puerto Rico, and Washington, D.C., including 11 chapters in the

state of Texas. AGC members construct both public and private buildings, including offices and

apartment buildings, hospitals, laboratories, schools, shopping centers, factories, and warehouses.

Across the United States, AGC of America contractor members regularly bid for and perform

federal construction projects and federally funded construction projects which are subject to the

DBA. They construct highways, bridges, tunnels, dams, airports, industrial plants, pipelines,

power plants, power lines, and both clean water and wastewater facilities. AGC of America’s

mission is to advocate public policies that will expand and enhance the construction industry, to

offer educational programs and materials on topics of interest to its members, and to encourage

dialogue not only among construction companies but also between those companies and related



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firms, including material suppliers, property owners, and design professionals. The association

also strives to maintain its members’ longstanding commitment to skill, integrity and

responsibility.

       11.        Plaintiff AGC of Texas, Highway, Heavy, Utilities & Industrial Branch (“AGC of

Texas”) is a chartered chapter of AGC of America. It is incorporated in Texas and headquartered

in Travis County, Texas. For nearly 100 years, it has represented the interests of the highway and

transportation contractors among the members of AGC of America in the state of Texas. For

nearly 40 years, it has also represented the industrial, municipal and utility contractors among

those members. AGC of Texas has over 650 members. Among them are more than 200 contractors

and more than 450 firms in closely allied industries. Collectively, their annual sales volume of

construction exceeds $4 billion. Many of its members are engaged in public and private

construction projects in this judicial district. The mission of the AGC of Texas is to advocate for

professional and ethical standards that support cost-effective, quality construction. Its prime

objective is to cultivate harmonious relations with supervising public authorities. To advance its

mission and prime objective, AGC of Texas offers a broad range of specialized publications. It

also hosts education and other events, and provides training, safety and other services. For the

federal government, its members regularly construct infrastructure projects for the U.S. Army

Corps of Engineers and the Federal Aviation Administration.

       12.        Plaintiff Lubbock Chamber of Commerce (“Plaintiff Lubbock Chamber”) is

located in Lubbock, Texas. It is the largest business federation on the South Plains of Texas, with

over 2,000 members who employ over 79,000 workers. Lubbock Chamber members include

many small entities within the meaning of the Regulatory Flexibility Act (“RFA"). 5 U.S.C.

§ 601(6).



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        13.     Plaintiff J. Lee Milligan, Inc. (“JLM”) is a heavy and highway construction

contractor, located in Amarillo, Texas. JLM performs construction work as a prime contractor and

subcontractor on federally funded, state funded, and privately funded projects. JLM also operates

several aggregate material quarries in Texas and sells aggregate materials to customers, including

contractors performing work on federally funded projects subject to the DBA. JLM also provides

materials to federally funded projects subject to the DBA upon which JLM also works as a prime

contractor and subcontractor. JLM intends to bid on new federally funded projects subject to the

Final Rule and also to sell and transport aggregate materials to contractors performing work on

federal projects subject to the DBA. JLM also intends to transport aggregate materials to and from

federally funded projects subject to the DBA on which JLM will also bid and contract to perform

on-site construction services.

        14.     JLM expects to be bid against other contractors for these federally funded

construction contractors. In many cases, JLM will be bidding on federally funded projects on

which it will also provide and transport aggregate materials from one of its existing JLM quarries.

JLM wishes to be able to provide bids which are competitive with other contractors that do not

have their own material operations and that will be purchasing aggregate materials from third

party material suppliers.

        15.     Defendant, the U.S. Department of Labor (“Department” or “DOL”), is an agency

of the United States government, under the direction and control of the U.S. Secretary of Labor. The

Department enforces the DBA through its Wage and Hour Division.

        16.     Defendant Julie Su is the Acting U.S. Secretary of Labor. She is sued in her official

capacity.




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                               ASSOCIATION STANDING

       17.     Plaintiff AGC of America, Plaintiff AGC of Texas, and Plaintiff Lubbock

Chamber each has standing to bring this litigation.

       18.     Plaintiffs AGC of America, AGC of Texas, and the Lubbock Chamber have

contractor members that perform work on projects which are subject to the DBA, and historically,

such contractor members have relied and rely in whole or in part upon bid advertisements and

contracts to determine whether the project is subject to the DBA. Many of these contractor

members provide construction services as a prime contractor or subcontractor and also maintain

material supply services that sell and deliver construction materials to other third-party

contractors. Such contractor members also provide materials on those federal and federally

funded projects on which the member contractor performs services as a prime contractor or

subcontractor. Many of these contractor members transport construction materials to and from

federally funded projects subject to the DBA on which they will also bid and contract to perform

on-site construction services. Some of these contractor members purchase structures for specific

use and installation on a DBA-covered project. Those structures may be manufactured at an off-

site facility that is dedicated exclusively, or nearly so, to the performance of a DBA contract or

project for a specific period of time lasting weeks, months or more.

       19.     These contractor members are also subject to investigation by federal contracting

agencies and the DOL regarding compliance with the Final Rule, and accordingly are subject to

demand for the payment of back wages for the non-compliance with the DBA by themselves and

lower-tiered subcontractors, withholding and cross-withholding, and debarment. As a result,

many of Plaintiff AGC of America, Plaintiff AGC of Texas, and Plaintiff Lubbock Chamber

members have standing to bring this suit in their own right. Therefore, Plaintiff AGC of America,



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Plaintiff AGC of Texas, and Plaintiff Lubbock Chamber may bring this action on behalf of those

members.

        20.     The Lubbock Chamber is the largest business federation on the South Plains of

Texas, and its members include many small entities within the meaning of RFA. 5 U.S.C.

§ 601(6). As a result, certain members of the Lubbock Chamber have standing to sue in their own

right. Therefore, the Lubbock Chamber has standing to bring this action on behalf of those

members.

        21.     None of the claims asserted through this lawsuit, or the relief requested, requires

direct participation of the members of Plaintiff AGC of America, Plaintiff AGC of Texas, or

Plaintiff Lubbock Chamber.

                                GENERAL ALLEGATIONS

    The Davis-Bacon Act and the Secretary’s Improper Assumption of Legislative Power.

        22.     The DBA, as enacted in 1931 and subsequently amended, requires the payment of

minimum prevailing wages determined by the Department to laborers and mechanics working on

federal contracts in excess of $2,000 for the construction, alteration, or repair, including painting

and decorating, of public buildings and public works. See 40 U.S.C. § 3142.

        23.     Congress has also included the DBA prevailing wage requirements in numerous

other statutes (referred to as “Related Acts”) under which federal agencies assist construction

projects through grants, loans, loan guarantees, insurance, and other methods. Related Acts include

the National Housing Act of 1934, Pub. L. 73-479, 44 Stat. 1252; the Federal-Aid Highway Act

of 1956, Pub. L. 84-627, 70 Stat. 374; and the Infrastructure Investment and Jobs Act of 2021,

Pub. L. No. 117-58 (the Bipartisan Infrastructure Law). The Department maintains a list of Related

Acts on its government contracts compliance assistance website at:



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        https://www.dol.gov/agencies/whd/government-contracts

        24.     The Secretary of Labor has the responsibility to “prescribe reasonable regulations”

for contractors and subcontractors on covered projects. See 40 U.S.C. § 3145. The Secretary,

through Reorganization Plan No. 14 of 1950, also has the responsibility to “prescribe appropriate

standards, regulations and procedures” to be observed by federal agencies responsible for the

administration of the Davis-Bacon and Related Acts (“DBRA”) “[i]n order to assure coordination

of administration and consistency of enforcement of the labor standards provisions” of the DBRA.

15 FR 3173, 3176, effective May 24, 1950, reprinted as amended in 5 U.S.C. app. 1.

        25.     When enacting the DBA, Congress used precise language, and deemed that the

DBA applies only to “mechanics and laborers employed directly on the site of the work.” 40 U.S.C.

§§ 3141-3148; § 3142 (c)(1). This plain language is simple and unambiguous. Under its terms,

DBA applies only to mechanics and laborers, and only if they are “employed directly on the site

of the work.” The DOL’s Final Rule is an attempt to unconstitutionally amend the Act to extend

the DBA to apply to workers who are not mechanics and laborers, and to extend the scope of the

work covered by DBA to include work that is not performed “directly on the site of the work.”

                      The Final Rule Applies the DBA by Operation of Law

        26.     The DBA expressly requires that public federal bid advertisement specification and

contracts contain specified provisions concerning the minimum wages to be paid to the laborers and

mechanics employed directly on the site of the work by contractors and subcontractors. The wages to

be paid must be “computed at wage rates not less than those stated in the advertised specifications.”

Specifically, 40 U.S.C. § 3142(a) requires that the “the advertised specifications for every contract in

excess of $2,000 to which the Federal Government or the District of Columbia is a party, for

construction, alteration, or repair, including painting and decorating, of public buildings and public



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works of the Government or the District of Columbia that are located in a State or the District of

Columbia and which requires or involves the employment of mechanics or laborers shall contain a

provision stating the minimum wages to be paid various classes of laborers and mechanics.” (emphasis

added.).

       27.     Further, 40 U.S.C. § 3142(c) provides that:

       Every contract based upon the specifications referred to in subsection (a) must
       contain stipulations that: (1) the contractor or subcontractor shall pay all mechanics
       and laborers employed directly on the site of the work, unconditionally and at least
       once a week, and without subsequent deduction or rebate on any account, the full
       amounts accrued at time of payment, computed at wage rates not less than those
       stated in the advertised specifications, regardless of any contractual relationship
       which may be alleged to exist between the contractor or subcontractor and the
       laborers and mechanics; (2) the contractor will post the scale of wages to be paid in
       a prominent and easily accessible place at the site of the work; and (3) there may
       be withheld from the contractor so much of accrued payments as the contracting
       officer considers necessary to pay to laborers and mechanics employed by the
       contractor or any subcontractor on the work the difference between the rates of
       wages required by the contract to be paid laborers and mechanics on the work and
       the rates of wages received by the laborers and mechanics and not refunded to the
       contractor or subcontractors or their agents.

See 40 U.S.C. § 3142(c).

       28.     40 U.S.C. § 3143 provides:

       Every contract within the scope of this subchapter shall contain a provision that if
       the contracting officer finds that any laborer or mechanic employed by the
       contractor or any subcontractor directly on the site of the work covered by the
       contract has been or is being paid a rate of wages less than the rate of wages required
       by the contract to be paid, the Federal Government by written notice to the
       contractor may terminate the contractor’s right to proceed with the work or the part
       of the work as to which there has been a failure to pay the required wages.

See 40 U.S.C. § 3143.

       29.     The Final Rule provides that the labor standards contract clauses and appropriate wage

determinations are effective “by operation of law” and considered to be incorporated even when they




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have been wrongly omitted from a covered contract. See 29 C.F.R. §§ 5.5(e) Final Rule, 88 Fed. Reg.

at 57739.

        30.     The DOL lacks authority under the DBA statute to impose this proposed rule, as the

statute explicitly requires the contracting agency to include the DBA requirements. Section 3142(a)

requires that every contract “shall contain a provision stating the minimum wages to be paid various

classes of laborers and mechanics.” 40 U.S.C. § 3142(a). Further, Section 3142(c) mandates the

inclusion of specific DBA stipulations. Id. § 3142(c). Given this statutory language, the DOL as a

regulatory agency does not have the power to make any determination that the DBA requirements are

applicable by operation of law, and that contractors are liable for violations, where not included by the

contracting agency as requirements.

        31.     The Final Rule does not require the DOL or any other federal administrative body to

make a determination of the application of the DBA to the contract.

                      The Final Rule Applies the DBA to Material Suppliers
                           Operated by Contractors or Subcontractors

        32.     The DBA applies to “all mechanics and laborers employed directly on the site of

the work.” See 40 U.S.C. §§ 3142(a) and (c).

        33.      The Final Rule purports to codify the DOL’s long-standing subregulatory

guidance that the DBA and the vast majority of Related Acts entirely exclude from coverage bona

fide “material suppliers.” The Final Rule does so by defining the term “material supplier” and

amending the regulatory definitions of contract and contractor to exclude material suppliers from

their scope. See Section 5.2. Final Rule, 88 Fed. Reg. at 57731-34.

        34.     Significantly, the Final Rule further explains that if an entity engages in any

construction, alteration, completion, or repair work that is not incidental to material supply at the

site of the work, it is a contractor or subcontractor, not a material supplier. See Section 5.2; 88 Fed.


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Reg. at 57733 (emphasis added). In such a case, the entity’s workers’ time at the site of the work

would be covered by the DBA, subject to a de minimis exception. This regulation eliminates a

20-percent threshold for material suppliers that had been set out previously in subregulatory

guidance, including the Department of Labor’s Wage and Hour Division (“WHD”). Field

Operations Handbook (“FOH”).

       35.      Section 5.2 is invalid because the DBA does not cover material suppliers.

       36.      The Final Rule’s application of the DBA to materials suppliers that are operated

by contractors or subcontractors ignores the statutory language and legislative history of the DBA,

essentially determining that a bona fide material supplier will be considered covered by the DBA

based simply upon its connection to a contractor or subcontractor. The Final Rule in this regard

amounts to a fundamental amendment to the DBA, and one which would reclassify employees of

material suppliers as “mechanics and laborers,” in a manner clearly contrary to the plain language

of the DBA.

                  The Final Rule Expands the DBA to Apply to All Time Spent
                       by Drivers On-Site Where Such Time is Related to
                   On-Hauling or Off-Transportation and is Not De Minimis

        37.     The Final Rule articulates the circumstances under which onsite activities essential or

incidental to offsite transportation (e.g., pickup, dropoff, loading of materials and waiting time) by

employees of contractors or subcontractors is covered. Specifically, the Final Rule considers “covered

transportation,” to also include

        [o]nsite activities essential or incidental to offsite transportation, defined as activities
        conducted by a truck driver or truck driver’s assistant on the site of the work that are
        essential or incidental to the transportation of materials or supplies to or from the site
        of the work, such as loading, unloading, or waiting for materials to be loaded or
        unloaded, but only where the driver or driver’s assistant’s time spent on the site of the
        work is not de minimis.

See 29 C.F.R. § 5.2; Final Rule, 88 Fed. Reg. at 57732 (emphasis added).


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         38.     The amendments in the Final Rule expanding the DBA to apply to trucking

impermissibly conflict with the statute, which defines its coverage and is limited to “construction,

alteration, or repair, including painting and decorating, of public buildings and public works . . . .”

40 U.S.C. § 3142. Truck drivers are not “mechanics and laborers employed directly on the site of the

work.” Id. § 3142(c)(1).

         39.     The amendment is neither a clarification nor an updating of the Act that a President or

his agencies can lawfully undertake. It is a fundamental change to the Act by adding “transportation”

as a category of work covered by DBA, contrary to the congressional limitations of DBA to covering

only mechanics and laborers employed directly on the site of work. The expansion is also inconsistent

with the substantial body of case law interpreting the application of DBA to transportation drivers. See

Bldg. and Constr. Trades Dep’t AFL-CIO v. U.S. Dep’t of Labor Wage Appeals Bd., 932 F.2d 985,

992 (D.C. Cir. 1991); H. B. Zachary Co. v. U.S., 344 F.2d 352 (Ct. Cl. 1965); Ball, Ball & Brosamer,

Inc. v. Reich, 24 F.3d 1447 (D.C. Cir. 1994); L.P. Cavett Co. v. U.S. Dep't of Labor, 101 F.3d 1111,

1112 (6th Cir. 1996); Frank Bros. v. Wisconsin Dep't of Transp., 409 F.3d 880, 882–83 (7th Cir. 2005).

               The Final Rule Expands the DBA to Permanent Fabrication Facilities

         40.     The Final Rule revises the definition of “site of the work” to define “secondary

construction sites” that are covered under the DBA. Such sites include any site away from the primary

worksite where all of the following requirements are met: (1) a “significant portion” of the building or

work is constructed; (2) the “significant portion” is constructed for specific use in that building or work

and is not just a product made available to the general public; and (3) the site is either established

specifically for the performance of the contract or project, or is dedicated exclusively, or nearly so, to

the performance of the contract or project for a specific period of time. Final Rule, 88 Fed. Reg. at

57733.



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         41.     A “significant portion” is defined as

         one or more entire portion(s) or module(s) of the building or work, such as a completed
         room or structure, with minimal construction work remaining other than the installation
         and/or final assembly of the portions or modules at the place where the building or
         work will remain.

Id.

        42.      The Final Rule likewise defines a “specific period of time” to mean

        a period of weeks, months, or more, and does not include circumstances where a site at
        which multiple projects are in progress is shifted exclusively or nearly so to a single
        project for a few hours or days in order to meet a deadline. DBA coverage exists only
        during the specific period of time in which the site is dedicated exclusively, or nearly
        so, to the performance of the contract or project.

Id.

         43.     According to the DOL, this definition reflects an “incremental” expansion of coverage,

noting that under the prior regulatory definition in effect since 2000, a secondary site at which

“significant portions” of a public work are constructed was covered only if the site was established

specifically for contract or project performance. Id. at 57618. The Final Rule, however, impermissibly

extends coverage beyond the 2000 rule to include permanent manufacturing facilities which were not

established for contract performance solely upon the basis that they are dedicated, or nearly so, for a

specified period of time spanning weeks or months to the manufacturing of structures or other elements

that are to be installed at the site of the construction.

                         The Department Exercised Unguided Discretion
                   in Declining Requests to Lessen the Impact of the Final Rule

        44.      Without guidelines or direction in statutory text, the Department rejected requests

from various commentators that would have lessened the impact of the Final Rule for members of

Plaintiffs.




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        45.     Of significance to Plaintiffs, without guidelines or direction from Congress, in

promulgating the operation of law provisions at Section 5.5(e), the DOL declined numerous

requests to provide contractors sufficient notice of the applicability of the DBA requirements. See

Exhibit 1, Comment Letter of Americans for Prosperity and Institute for the American Worker

(AFP–I4AW); Exhibit 2, Comment Letter of Contractor Compliance & Monitoring, Inc. (CC&M);

Exhibit 3, Comment Letter of the Small Business Administration (“SBA”) Office of Advocacy;

Exhibit 4, Comment Letter of Independent Electrical Contractors (IEC); Exhibit 5, Comment

Letter of Group of U.S. Senators; Exhibit 6, Comment Letter of Wiley Rein Partners.

        46.     Additionally, without guidelines or direction in the statutory text, the DOL declined

requests from commentators to minimize the impact of the Final Rule in other ways. For example, the

DOL declined proposals to reduce the risk that contractors face for demands for back wages,

withholdings, and/or debarment where the federal agency or contracting officer failed to include the

DBA stipulations in the bid advertisement and contracts and the DBA was found to apply by operation

of law, and to expand the application of the de minimis rule to all covered workers and activities at the

site of work, not just truck drivers who are loading and unloading materials. Further, the DOL failed

to adequately analyze the new small businesses covered by DBA, failed to adequately analyze the

administrative burdens and compliance costs of the Final Rule, and failed to examine less burdensome

alternatives. See Exhibit 6, Comment Letter of Wiley Rein Partners; Exhibit 7, Comment Letter of the

AGC of America, Exhibit 3, Comment Letter of the SBA Office of Advocacy.

                             The Department’s Final Rule Is Arbitrary,
                              Capricious, And an Abuse of Discretion

        47.     The DBA does not confer upon the DOL the authority to impose the DBA upon a

contract, from inception, by operation of law. Significantly, the Final Rule does not require that

either the contracting agency or the DOL first determine that the DBA does, in fact, apply before


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the operation of law provision is effective. This presents the risk that, where disputed, it will be

left to arbitrators, district courts, state courts, and other tribunals to make the determination

whether the DBA applies to the contract. Moreover, this Final Rule provision adds undue

uncertainty for all bidders as to what the contract terms are and whether the DBA requirements

apply, which will invariably lead to discrepancies in bid submissions among contractors that may

interpret a potential application of the DBA differently. Further, this operation of law provision

adds undue uncertainty whether a contractor will be compensated if those terms change at the

Department’s direction. Further, this operation of law provision imposes real-world challenges on

prime contractors that may have contracted with and paid lower-tier subcontractors for work

performed before there is any determination that the contract is subject to the DBA. Once such

subcontractors have completed their contracts and are paid, the prime contractor may not be able

to obtain evidence from the subcontractor of the wages paid to workers and whether such wages

met the DBA requirements and if not, by how much.

       48.      The DBA does not confer upon the DOL the authority to expand the DBA to apply

to material suppliers by virtue of the sole fact that the materials suppliers are operated by a

contractor or subcontractor. The DOL concedes that the provision strictly limiting the material

supplier exemption to companies whose only contractual responsibilities are material supply or

activities incidental to material supply (thereby excluding from the exemption companies that also

perform any other onsite construction) is “arguably” a change from current practice. The DOL

nonetheless contends that such a change is consistent with existing DOL guidance. See Final Rule,

88 Fed. Reg. at 57623. The DOL’s proffered justification, however, is not supported by that

purported guidance and its reference to the existing 20-percent threshold that applies to the on-site

time spent by employees of material suppliers. Such a standard exists to ensure that if such



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employees spend too much time on-site performing covered work, then the DBA applies to such

time. This change in the Final Rule, however, turns the material supplier exclusion on its head by

making such material suppliers subject to the DBA solely because they are operated or owned by

contractors. The DOL cites no evidence or facts showing that the employees of such material

suppliers are the same group of workers or workers who interact or are intertwined with the

employees of the contractor. Instead, the DOL simply concludes the 20-percent threshold test has

led to confusion and that “the need for clarity and predictability outweigh any reliance interests

implicated by the final rule’s change from the subregulatory 20-percent threshold.” Final Rule, 88

Fed. Reg. at 57624.

        49.      The DBA does not confer upon the DOL the authority to expand the DBA to include

activities conducted by a truck driver or truck driver’s assistant on the site of the work, such as loading,

unloading, or waiting for materials to be loaded or unloaded, where the driver or driver’s assistant’s

time spent on the site of the work is not de minimis. The DOL intends to aggregate a driver’s total time

on the worksite during the day or week to determine whether it is de minimis. Significantly, the Final

Rule does not define “de minimis.” The DOL states it “will consider whether to further elaborate on

the definition of de minimis in subregulatory guidance” Id. at 57626.

        50.      The DBA does not confer upon the DOL the authority to expand coverage beyond

the 2000 rule to include permanent manufacturing facilities which were not established for contract

performance solely upon the basis that they are dedicated, or nearly so, for a specified period of time

spanning weeks or months to the manufacturing of structures, or other elements that are to be installed

at the site of the construction.

                                        Injury to the Plaintiffs

        51.      On October 23, 2023, the Department’s Final Rule became effective.



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       52.     If not enjoined, the Final Rule will severely and irreparably harm prime contractors

and contractors working on contracts subject to the Final Rule.

        53.    Prime contractors and subcontractors are subject to significant consequences for

failing to comply with the DBA. Prime contractors are strictly liable for back wages owed to its

employees or employees of any subcontractor on the project. Further, the Final Rule provides

that upper-tier subcontractors may be responsible for non-compliance with the DBA by lower-tier

subcontractors and responsible for the payment of any back wages resulting from such violations.

See 29 C.F.R. § 5.5(a)(6).

        54.    Prime contractors are also subject to withholding from payment due from a

contracting agency where the contracting agency determines there are amounts due and unpaid to

workers because of DBA violations. The DOL may also direct federal agencies to withhold

contract payments due to violations of DBA. If the funds remaining due to the contractor on the

contract under which DBA violations occurred are insufficient, the federal agency can withhold

funds from other contracts subject to DBA that are held by the same prime contractor.

        55.    The Final Rule clarifies that cross-withholding can be from any contract held by

the same prime contractor, even if the contract was awarded or assisted by a different agency than

the agency that awarded or assisted the contract on which violations necessitating the withholding

occurred. See 29 C.F.R. §§ 5.5(a)(2)(i), 5.5(b)(3)(i), 5.9(b). Further, the Final Rule establishes

the ability to cross-withhold from entities other than the entity that directly entered into the

contract with the contracting agency. Accordingly, under the Final Rule, when a prime contractor

uses a single-purpose entity, joint venture, or other similar vehicle to secure DBRA-covered

contracts, the Department may pursue cross-withholding on any other contract held by one of the




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related entities. See 29 C.F.R. §§ 5.2 (new definition of “prime contractor”), 5.5(a)(2)(i),

5.5(b)(3)(i), 5.9(b) and (c).

        56.     Prime contractors and subcontractors are also subject to debarment proceedings

where found by the DOL to be in “disregard of the contractor’s “obligations to employees or

subcontractors,” and may be ineligible to participate in any DBA contracts for a period of up to

three years. Final Rule, 88 Fed. Reg. at 57674. Debarment applies to the contractor or

subcontractor and any firm, corporation, partnership, or association in which the contractor or

subcontractor has a substantial interest. Id. at 57678; 29 C.F.R. § 5.12(a)(1). Debarment

proceedings can be recommended by the contracting officer or may be initiated by DOL. Final

Rule, 88 Fed. Reg. at 57742.

        57.     The Final Rule provision imposing the DBA requirements by operation of law will

have an irreparable and financially crippling impact on prime contractors and contractors that are

determined to have performed contracts which are later determined to be subject to the DBA.

Such contractors will be subject to the demands for back wages, withholdings, and debarment by

the very federal agencies, erroneously, that the DBA did not apply to in the first place.

        58.     The Final Rule provision expanding the DBA to apply to material suppliers by

virtue of the sole fact that the materials suppliers are operated by a contractor or subcontractor

will irreparably harm those contractors by placing such contractors at a competitive disadvantage

with their material supply competitors that provide materials services only because those

contractors must compensate the material supplier worker DBA-required wages for all on-site

work.

        59.     Prime contractors and contractors will be irreparably harmed by the Final Rule

provision expanding the DBA to include activities conducted by a truck driver or truck driver’s



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assistant on the site of the work, where the driver or driver’s assistant’s time spent on the site of the

work is not de minimis, because the provision imposes an unspecified standard and unreasonable

recordkeeping requirements on such contractors. Such contractors will be unjustly subject to the

demands for back wages, withholdings, and debarment for non-compliance.

        60.      Prime contractors and subcontractors will be irreparably harmed by the Final Rule

provision that expands the DBA to cover permanent manufacturing facilities which were not

established for contract performance, solely upon the basis that they are dedicated, or nearly so, for a

specified period of time spanning weeks or months to the manufacturing of structures or other elements

that are to be installed at the site of the construction.

                                        CLAIMS FOR RELIEF

                                                 COUNT I

        Declaratory Judgment Under 28 U.S.C. §§ 2201-2202, 5 U.S.C. § 706(2)(B),
Article I, Section 1 and Article II, Section 3 of the United States Constitution that Sections
            5.2 and 5.5(e) of the Final Rule are Contrary to Constitutional Right

        61.      Plaintiffs restate and incorporate by reference the preceding paragraphs as if fully set

forth herein.

        62.      Article I, Section 1 of the United States Constitution vests exclusive legislative

authority in the Congress. Article II, Section 3 of the United States Constitution requires the Executive

Branch to “take care that the laws be faithfully executed.” U.S. Const. art. II, § 3.

        63.      In issuing the Final Rule provisions, 29 C.F.R. §§ 5.2 and 5.5(e) (effective October 23,

2023), Defendants, who are members of the Executive Branch, engaged in prohibited legislative

activity. Defendants did not merely interpret or administer the statute that Congress enacted. Instead,

they created substantive requirements wholly untethered to the statutory text. They accomplished this

through and by the means of issuing ambiguous regulations, 29 C.F.R. §§ 5.2 and 5.5(e).



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         64.    By engaging in legislative activity from the Executive Branch, Defendants violated

Article I, Section 1 and the separation of powers required therein.

         65.    By engaging in legislative activity from the Executive Branch, Defendants violated

Article II, Section 3 (the “Take Care Clause”), by failing to “take care that the laws be faithfully

executed.” U.S. Const. art. II, § 3.

         66.    In violating constitutional separation of powers, Defendants also violated the APA,

5 U.S.C. § 706(2)(B).

         67.    Because of Defendants’ actions, Plaintiffs and their members will suffer harm as set

forth above, including exposure to legal claims for back wages, withholdings, and debarment for failure

to comply with Defendants’ guidance.

         68.    Plaintiffs have no other adequate remedy in court or administratively for Defendants’

unlawful action as described herein, and such action has caused Plaintiffs to suffer undue and actual

hardship and irreparable injury.

                                             COUNT II

                      Declaratory Judgment Under 28 U.S.C. §§ 2201-2202
                        and 5 U.S.C. §§ 706(2)(A) and 706(2)(C) that the
                            Final Rule Exceeds Statutory Authority

        69.     Plaintiffs restate and incorporate by reference the preceding paragraphs as if fully set

forth herein.

         70.    Defendants’ Final Rule provisions, 29 C.F.R. §§ 5.2 and 5.5(e) (effective October 23,

2023), are not authorized by the DBA or any other law.

         71.    Defendants’ Final Rule provisions, 29 C.F.R. §§ 5.2 and 5.5(e) (effective October 23,

2023), exceed Defendants’ statutory jurisdiction and authority.




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        72.     Accordingly, Defendants’ Final Rule provisions, 29 C.F.R. §§ 5.2 and 5.5(e) (effective

October 23, 2023), are in excess of Defendants’ statutory authority, jurisdiction, and limitations, in

violation of 5 U.S.C. § 706(2)(C), and are not in accordance with law, in violation of 5 U.S.C.

§ 706(2)(A).

        73.     Because of Defendants’ actions, Plaintiffs and their members will suffer harm as set

forth above, including exposure to legal claims and debarment for failure to comply with Defendants’

guidance.

        74.     Plaintiffs have no other adequate remedy in court or administratively for Defendants’

unlawful action as described herein, and such action has caused Plaintiffs to suffer undue and actual

hardship and irreparable injury.

                                             COUNT III

       Declaratory Judgment Under 28 U.S.C. §§ 2201-2202 and 5 U.S.C. §706(2) (A
      that the Sections 5.2 and 5.5(e) of the Final Rule Are Arbitrary and Capricious,
               an Abuse of Discretion, and Not in Accordance with the Law

        75.     Plaintiffs restate and incorporate by reference the preceding paragraphs as if fully set

forth herein.

        76.     Under the APA, a reviewing court must set aside an agency action that is “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

        77.     The pertinent text of the DBA is unambiguous, and it precludes the Defendants’

challenged provisions in the Final Rule.

        78.     In addition, the legislative history of the DBA demonstrates that Congress has spoken

to this issue in a manner that is irreconcilable with the Defendants’ approach.




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        79.      Therefore, the Defendants’ provisions in the Final Rule, 29 C.F.R. §§ 5.2 and 5.5(e)

(effective October 23, 2023), are arbitrary and capricious, are an abuse of discretion, and are contrary

to the law.

        80.      Because of Defendants’ actions, Plaintiffs and their members will suffer harm as set

forth above, including exposure to legal claims and debarment for failure to comply with Defendants’

guidance.

        81.      Plaintiffs have no other adequate remedy in court or administratively for Defendants’

unlawful action as described herein, and such action has caused Plaintiffs to suffer undue and actual

hardship and irreparable injury.

                                             COUNT IV

              Violation of the Regulatory Flexibility Act (RFA), 5 U.S.C. §§ 601-612

        82.      Plaintiffs restate and incorporate by reference the preceding paragraphs as if fully set

forth herein.

       83.       Under the RFA, 5 U.S.C. §§ 601 et seq., agencies engaging in rulemaking subject

to the APA’s notice-and-comment requirements are required to consider the special needs and

concerns of small entities. When an agency promulgates a final rule, the agency must publish a

final regulatory flexibility analysis, consisting of a statement of the need for the rule, a summary

of issues raised in public comments and the agency’s responses to them, a description and estimate

of the number of small entities impacted by the rule, a description of rule’s reporting requirements,

a description of alternatives to the rule imposing less economic burden on small entities, and a

statement explaining why such alternatives were not chosen. 5 U.S.C. § 604(a).

       84.       Here, the DOL failed to satisfy these requirements in various ways.




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        85.     First, the DOL rejected requests from various commentators that would have

lessened the impact of the Final Rule for Plaintiffs’ members. In promulgating the operation of

law provisions at Section 5.5(e), the DOL declined numerous requests to provide contractors

sufficient notice of the applicability of the DBA requirements. See Exhibits 1–6. Additionally, the

DOL declined requests from commentators to minimize the impact of the Final Rule in other ways.

For example, the DOL declined proposals to reduce the risk that contractors face for demands for back

wages, withholdings, and/or debarment, where the federal agency or contracting officer failed to

include the DBA stipulations in the bid advertisement and contracts and the DBA was found to apply

by operation of law, and to expand the application of the de minimis rule to all covered workers and

activities at the site of work, not just truck drivers who are loading and unloading materials. Further,

the DOL failed to adequately analyze the new small businesses covered by DBA, failed to adequately

analyze the administrative burdens and compliance costs of the Final Rule, and failed to examine less

burdensome alternatives. See Exhibits 3, 6, and 7.

        86.     Additionally, the Final Rule’s response to comments filed by the Chief Counsel for

Advocacy of the Small Business Administration (SBA) violates § 604(a)(3) of the RFA. The

SBA’s comment raised concerns that the DOL’s regulatory flexibility analysis failed to properly

inform the public about the impact of the proposed rule on small entities. See SBA’s Office of

Advocacy Public Comments Updating the Davis-Bacon and Related Acts Regulations, 87 Fed.

Reg. 15698 (March 18, 2022), https://advocacy.sba.gov/wp-content/uploads/2022/05/SBA-

Advocacy-Davis-Bacon-Act-Comment-Letter.pdf. Specifically, the SBA noted that the proposed

operation of law provisions at Section 5.5(e) “increases the risk of violation without any notice

that [prime contractors] were required to pay the DBRA wage.” Id.




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        87.     In response, the Final Rule recognized “that there may still be residual effects on a

subcontractor where the operation-of-law provision is invoked and funds are withheld from a

prime contractor . . . . In such a situation, it is possible the prime contractor might in turn delay in

paying its subcontractor in full.” 88 Fed. Reg. at 57666. However, the DOL reasoned that the

operation of law provision “is likely to be invoked in only a small portion of overall enforcement

actions,” thus its impact would be minimal. Id. The DOL therefore concluded “that the final rule's

limited effects on subcontractors are outweighed by the Department's goal of streamlining and

ensuring the effectiveness of enforcement.” Id.

        88.     The Final Rule violates the very purpose of the RFA because the DOL’s final

regulatory flexibility analysis did not adequately take steps “to minimize the significant economic

impact on small entities . . . including a statement of the factual, policy, and legal reasons for

selecting the alternative adopted in the final rule and why each one of the other significant

alternatives to the rule considered by the agency which affect the impact on small entities was

rejected.” 5 U.S.C. § 604(a)(6).

                                    PRAYER FOR RELIEF

        Wherefore, Plaintiffs pray for relief as follows:

        89.     A declaratory judgment that the challenged provisions of the Final Rule, 29

C.F.R. §§ 5.2 and 5.5(e) (effective October 23, 2023), are “contrary to constitutional right,

power, privilege, or immunity” under the APA;

        90.     A declaratory judgment that the challenged provisions of the Final Rule, 29

C.F.R. §§ 5.2 and 5.5(e) (effective October 23, 2023), are unlawful under the Constitution’s

separation of powers;




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        91.    A declaratory judgment that the challenged provisions of the Final Rule, 29 C.F.R.

§§ 5.2 and 5.5(e) (effective October 23, 2023), are “in excess of statutory jurisdiction, authority,

or limitations, or short of statutory right” under the APA;

        92.    A declaratory judgment that the challenged provisions of the Final Rule, 29

C.F.R. §§ 5.2 and 5.5(e) (effective October 23, 2023), are “arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law” under the APA;

        93.    A declaratory judgment that the challenged provisions of the Final Rule, 29

C.F.R. §§ 5.2 and 5.5(e) (effective October 23, 2023), violate the RFA;

        94.    A preliminary and permanent injunctive relief barring Defendants from

enforcing, publicizing, or otherwise encouraging any person or court to follow or to defer to

the challenged provisions of the Final Rule, 29 C.F.R. §§ 5.2 and 5.5(e) (effective October

23, 2023);

        95.    A preliminary and permanent injunctive relief ordering Defendants to rescind

the challenged provisions of the Final Rule, 29 C.F.R. §§ 5.2 and 5.5(e) (effective October

23, 2023), forthwith;

        96.    All other relief to which the Plaintiffs may show themselves to be entitled,

including attorneys’ fees and costs of suit.



DATED:         December 18, 2023.

                                               Respectfully submitted,

                                               /s/ Robert R. Roginson

                                               Robert R. Roginson
                                               CA Bar No. 51437




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                                             May 17, 2022

Submitted Via Regulations.gov

Amy DeBisschop
Director
Division of Regulations, Legislation, and Interpretation
Wage and Hour Division
U.S. Department of Labor,
Room S-3502
200 Constitution Avenue NW
Washington, DC 20210


        Re: Comments on Notice of Proposed Rulemaking, Updating the Davis-Bacon and
            Related Acts Regulations, 87 Fed. Reg. 15,698 (Mar. 18, 2022), RIN 1235-AA40.

Dear Ms. DeBisschop:

      We write on behalf of Americans for Prosperity Foundation and the Institute for the
American Worker. 1 We appreciate this opportunity to comment on the Notice of Proposed
Rulemaking regarding Updating the Davis-Bacon and Related Acts Regulations (RIN 1235-
AA40), as published at 87 Fed. Reg. 15,698 (the “NPRM”).

        I.      Introductory comments.

        The NPRM proposes “to amend regulations issued under the Davis-Bacon and Related
Acts that set forth rules for the administration and enforcement of the Davis-Bacon labor standards
that apply to Federal and federally assisted construction projects.” 87 Fed. Reg. at 15,698.

        We support efforts to bring greater clarity and transparency to the government contracting
process but have concerns over a number of the proposed amendments to the Department’s Davis-
Bacon Act regulations. First, as set forth below, the proposed amendment of the test to determine
the applicable prevailing wage rates for a given contract is arbitrary and will unjustifiably privilege
higher union wages in a given locality, leading to higher costs and a greater burden on the taxpayers
who ultimately fund government contracting. Second, the NPRM’s proposal to use wage
escalation data from the Bureau of Labor Statistics (“BLS”) will improperly inflate Davis-Bacon
Act wage determinations because no changes to the Department’s underlying wage survey process
is contemplated. Third, the proposal to eliminate the distinction between urban and rural work
areas when making prevailing wage determinations is unjustified by the text of the Davis-Bacon
Act and will result in unnecessary inflation of construction costs. Fourth, the proposal to treat

1
 See AMERICANS FOR PROSPERITY FOUNDATION, https://americansforprosperityfoundation.org/; INSTITUTE FOR THE
AMERICAN WORKER, https://i4aw.org.

                                                  EXHIBIT
                                                        1
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certain different wage rates as functionally the same also will unjustifiably inflate construction
costs by improperly privileging union wages. And finally, the Department’s proposal to effect
prevailing wage requirements by operation of law rather than through incorporation of appropriate
clauses in covered contracts exceeds the Department’s authority and violates the express
provisions of the Davis-Bacon Act.

         II.      The proposed amendment to the “prevailing wages” test is arbitrary and
                  unjustified and will only add to the current inflationary economic conditions.

        The Davis-Bacon Act requires payment of locally prevailing wages and fringe benefits on
specific Federal construction contracts, 40 U.S.C. § 3142, 2 and Congress has incorporated the
“prevailing wages rate” requirement into a large number of additional related acts. The purpose
of this provision, according to a 1981 Memorandum from the Office of Legal Counsel, which the
Department itself relies on, is “to prevent the exploitation of imported labor and the concomitant
depression of local wage rates.” 3

        The 1981 OLC memorandum notes, however, the Act neither defines what it means by
“prevailing” nor the procedure by which the Department is to determine the applicable prevailing
wage rate. 4 The OLC therefore looked to “the common meaning of the word, and to the legislative
history and purpose of the two Acts” to come to the conclusion that “prevailing” means the “most
current” or “predominant” wage in the relevant locality. 5 Just as important, the OLC further
concluded that “if no single wage can fairly be said to be ‘prevailing,’ and no single rate ‘most
current,’ an average may represent the closest approximation of the statute’s requirement.” 6

        Building on this memorandum, the Department’s current regulations, implemented during
a 1981–82 rulemaking, define the prevailing wage rate as “the wage paid to the majority (more
than 50 percent) of the laborers or mechanics in the classification on similar projects in the area
during the period in question.” 29 C.F.R. § 1.2. Where there is no majority, “the prevailing wage
shall be the average of the wages paid, weighted by the total employed in the classification.” Id.

        This makes sense, is non-arbitrary, and gives full effect to the language of the Davis-Bacon
Act. It has been in use for more than 40 years, almost half the entire life of the Act, and should be
retained as the best and most accurate means of implementing the intent of Congress. As the
Department itself concluded in the 1981–82 rulemaking, “the term ‘prevailing wage’ contemplates
the most widely paid rate as a definition of first choice. The Department has accordingly



2
  40 U.S.C.§ 3142(b): “The minimum wages shall be based on the wages the Secretary of Labor determines to be
prevailing for the corresponding classes of laborers and mechanics employed on projects of a character similar to the
contract work in the civil subdivision of the State in which the work is to be performed, or in the District of Columbia
if the work is to be performed there.”
3
   Determination of Wage Rates Under the Davis-Bacon & Serv. Cont. Acts, 5 Op. O.L.C. 174, 176 (1981),
https://www.justice.gov/sites/default/files/olc/opinions/1981/06/31/op-olc-v005-p0174_0.pdf.
4
  Id. at 175.
5
  Id. at 175-76.
6
  Id. at 177.

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determined that the revision which defines prevailing wage as the majority, or weighted average
where there is no majority, is the most proper interpretation of the statue.” 47 Fed. Reg. 23,645.

        The Department’s current proposal is to return to the rule in place before the 1981–82
rulemaking, which would add to the current definition an additional test, the so-called 30 percent
rule, whereby “in the absence of a wage rate paid to a majority of workers in a particular
classification, a wage rate will be considered prevailing if it is paid to at least 30 percent of such
workers.” 87 Fed. Reg. 15,700.

        This would be an arbitrary change. What is sacrosanct about the figure of 30 percent?
Why not 32.5 percent or 43.1 percent or any of the infinite percentages that might be chosen
between 0 and 50 percent? In other words, there is nothing in the Davis-Bacon Act to motivate or
justify the choice of 30 percent. Moreover, in the 1981–82 rulemaking, the Department agreed
with commentators who demonstrated “a rate based on 30 percent does not comport with the
definition of ‘prevailing’, and that the 30 percent rule gives undue weight to collectively bargained
rates.” 47 Fed. Reg. 23644. Nothing in the NPRM contradicts that conclusion.

       Indeed, contrary to any provision in the Davis-Bacon Act, the 30 percent rule appears
motivated solely to give precedence to union wages since, under a collective bargaining agreement,
wage earners in a particular classification generally earn uniform rates. In addition, union
contractors historically have participated in the Department’s wage surveys at a higher rate than
non-union contractors. 7 As such, the 30 percent rule will cause the Department’s wage
determinations to reflect union rates, which in almost all instances are higher than the norm.

        Implementation of the 30 percent rule also would unjustifiably ignore the rates applicable
to 70 percent of workers. That is, where there is no majority, there is by definition no actual
prevailing rate and a resort to the 30 percent rule would serve to inflate the wage determination by
relying only on the highest wage earners in the locality. Where there is no majority, the only
proper way to approximate the prevailing wage within the meaning of the Davis-Bacon Act is to
include 100 percent of workers and take the weighted average of their wage rates. Any other
approach would be arbitrary and serve purposes not contemplated by the Act.

        One further observation. The proposed amendment to the prevailing wage definition would
seriously impact the infrastructure spending contemplated under the Investment and Jobs Act
enacted last November. That Act included approximately $550 billion in new spending, almost
all of which will fall under Davis-Bacon Act requirements. Given the fixed amount of money
available under that Act, the Department’s current proposal, which necessarily with increase labor
costs, will ultimately reduce the number of projects the Act will be able to fund.

        To conclude, implementation of the 30 percent rule would result in an increase in the labor
costs of federal construction projects by unjustifiably relying on only the highest wage earners in
the Department’s wage rate determinations. That this would be done in the current inflationary

7
  See, e.g., James Sherk, Labor Department Can Create Jobs by Calculating Davis– Bacon Rates More Accurately
(Jan. 21, 2017), at 4, https://www.heritage.org/sites/default/files/2017-01/BG3185_0.pdf (explaining that, whereas
“[o]nly 14 percent of construction workers are covered by union contracts…, the GAO reports that 63 percent of
Davis– Bacon rates are union rates.”).

                                                        3
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economic conditions makes no sense because there is no statutory reason to change the current
regulations. The Department should reject the amendment and retain the current definition.

         III.     The proposal to rely on BLS employment cost index data will unjustifiably
                  inflate wage rate determinations.

       The NPRM states “the Department proposes to add language to [29 C.F.R.] § 1.6(c)(1) to
expressly permit adjustments to non-collectively bargained rates on general wage determinations
based on U.S. Bureau of Labor Statistics (BLS) Employment Cost Index (ECI) data or its successor
data.” 87 Fed. Reg. 15,717

        Although a greater use of BLS data for the Department’s wage determinations would be
welcome as providing more accurate data than currently in use, 8 this particular proposed
amendment would unjustifiably inflate applicable Davis-Bacon wage rates because the NPRM
makes no changes in the Department’s voluntary wage survey process. That survey process is
demonstrably unscientific and inaccurate, as it relies on unrepresentative, self-selected, and
unreliably small sample sizes, among other problems. 9 BLS uses more accurate statistical
sampling techniques to establish market wage rates and wage escalators, but the NPRM proposes
only to use the Employment Cost Index (the escalator) without also adopting the underlying BLS
wage determinations. This mixing of two different methodologies for determining the applicable
prevailing wage will only entrench the Department’s unreliable and inaccurate Davis-Bacon Act
wage determinations while also unjustifiably inflating those rates with the unrelated BLS escalator.

       A more accurate and proper methodology would be to completely scrap the current wage
survey process and adopt the appropriate BLS data in its entirety, a change that some have
estimated could result in more than 30,000 new construction jobs a year. 10

         IV.      The proposal to dissolve the distinction between urban and rural work areas
                  is unjustified and will inflate construction costs.

       Under current regulations, wage determinations are made at the county level where
possible and, if insufficient data exists, the geographic area is expanded to surrounding counties.
When expanding the geographic boundaries, however, urban and rural areas are kept separate since
the wage rates in such areas typically differ. See 29 C.F.R. § 1.7(b). This distinction comparts
with the Davis-Bacon Act requirement that wage determinations be made in respect of “the civil
subdivision of the State in which the work is to be performed.” 40 U.S.C. § 3142(b). In its 1981–
82 rulemaking, the Department agreed with this understanding, explaining that to combine urban
and rural rates in such circumstances would be “inappropriate.” 47 Fed. Reg. 23,647.

       The current NPRM proposes to eliminate this practice by counting together both urban and
rural wage rates in its wage rate surveys. Such a practice, however, will result in urban wages
being overrepresented because such data is more forthcoming than its counterpart in rural area.
The result again will be an unjustified inflation of labor costs that is not motivated or justified by
8
  See generally id.
9
  Id. at 2ff.
10
   Id. at 12-15.

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either the text of the Davis-Bacon Act or the intent of Congress. That increase will
disproportionately impact rural areas, as they are typically less well positioned to pay higher
wages. The Department should retain the current form of 29 C.F.R. § 1.7(b).

           V.       The proposal to treat certain different wage rates as functionally the same is
                    arbitrary and unjustified, will unfairly privilege union wages, and will
                    improperly inflate construction costs.

        Under the NPRM, “the Department proposes to amend [29 C.F.R.] § 1.3 to include a new
paragraph at § 1.3(e) that would permit the Administrator to count wage rates together—for the
purpose of determining the prevailing wage—if the rates are functionally equivalent and the
variation can be explained by a CBA or the written policy of a contractor.” This change is designed
to get around the 2006 decision of the Department’s Administrative Review Board (“ARB”) in
Mistick Construction, ARB No. 04-051, which held the meaning of “same wage” for determining
prevailing wage rates precluded the Department from treating different wage rates as functionally
the same. See 87 Fed. Reg. 15,699.

         This proposed change is not justified. The Department’s rules for counting wages, whether
for purposes of the majority 50 percent rule under the current regulations or for the proposed 30
percent rule, already favor the wage rates of union contractors because of their greater participation
in wage surveys and the more uniform rates characteristic of collective bargaining agreements. As
already noted, 14 percent of construction workers who are covered by union contracts account for
63 percent of applicable Davis–Bacon Act wage rates. 11 Abrogating the ARB’s Mistick
Construction decision and introducing additional agency discretion for which rates are sufficiently
similar for the prevailing wage determination, especially where the agency is directed to look for
justification in collective bargaining agreements, will only increase the likelihood of finding union
rates to be the prevailing rates, leading to the unjustified inflation of labor costs. The Department
should reject this proposed change to its regulations.

           VI.      The proposal to enforce applicable prevailing wage rates by operation of law
                    rather than by contract is not supported by the Davis-Bacon Act.

        Currently, contractors are not held responsible for compliance with the Davis-Bacon Act
unless the required clauses have been included in the project’s governing contracts. See 4 U.S.C.
§ 3142(c) (requiring stipulations on prevailing wage rates to be included in contracts). This rule
comports not only with the governing statute but also with general contract law principles, which
puts the onus for compliance in this respect on the government as the party in the best position to
know if the Davis-Bacon Act requirements apply to the particular contract in question.

        The NPRM seeks to undermine this rule by declaring the imposition of Davis-Bacon Act
requirements “by operation of law.” See 87 Fed. Reg. 15,724 (“[T]he Department proposes to add
language to [29 C.F.R.] § 3.11 explaining that the requirements set forth in part 3 are considered
to be effective as a matter of law, whether or not these requirements are physically incorporated
into a covered contract.”). Invariably, this change will lead to greater litigation, and the consequent


11
     See supra note 7.

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waste of government and private resources, because, without direct contractual notice to
contractors, the risk of unknowing violations will abound.

        The vast extent of government contracting in the American economy, together with the
potential applicability of Davis-Bacon Act requirements to contracts that are silent on the matter,
heightens the risk of inadvertent and completely avoidable noncompliance. The consequences to
contractors could be severe, which will only raise the government’s cost of construction over the
long term—representing yet another way the newly proposed regulations will greatly increase the
costs of public infrastructure projects. The statue requires the government to include the proper
clauses in covered contracts, and so do principles of contracting in good faith. As such, there is
no legal or policy justification for this proposed change to the applicable regulations.

                                      *      *       *

       Thank you for your time and attention. If we can provide any additional information or
otherwise be of further assistance, please do not hesitate to contact us.

                                             Respectfully submitted,

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                                  CONTRACTOR COMPLIANCE & MONITORING, INC.
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                                                   May 16, 2022

The undersigned is an attorney who has practiced in the field of prevailing wage for over 40 years. I am
also the president and major stockholder of Contractor Compliance and Monitoring Inc., a prevailing wage
consulting company that assists public agencies and contractors with state and federal prevailing wage
requirements. I have worked with over hundred agencies and over a thousand contractors in my career. I
have worked with both union and open shop contractors, have testified as an expert in the field of
prevailing wage and am the author of three books on prevailing wage compliance, including AGC of
America’s Davis-Bacon Compliance Manual. I provide this background in hopes that you will provide
sufficient weight to my comments as one who has spent a professional lifetime in this field.

Wage Surveys and Determinations: The calculation of prevailing wages should not be based on a
common wage rate paid by 30% of the workforce. A prevailing practice is one which occurs more than
50% of the time. If this wage rate cannot be determined by 50% of the population surveyed, then the proper
classification and wage rate must be based on a weighted average taking into account all wage rates
submitted and applying a weighted average formula. The U.S. Department of Labor has been reluctant to
use the Bureau of Labor Statistics information in the past in determining prevailing wage rates. Yet, in this
proposed rulemaking, the U.S. Department of Labor suggests that perhaps metropolitan statistical areas as
determined by the Bureau of Labor Statistics might be an appropriate standard to use. If the U.S.
Department of Labor (hereinafter U.S. DOL)is willing to accept the calculations and authority of the
Bureau of Labor Statistics for part of the Davis-Bacon regulations, why would the U.S. DOL not accept the
Bureau of Labor and Statistics data relating to wages.

Under the 30% rule it seems patently clear that almost all rates will then migrate to union collective
bargained rates, even when those rates are not truly prevailing in the area. The last time I checked, union
rates controlled in less than 40% of the wage determinations, primarily in large metropolitan areas.
Establishing a union collectively bargained rate in Humboldt County, California, which is the same as in
the San Francisco Bay Area (hundreds of miles away) does a disservice to the worker, the contractor, the
awarding agency and the community. Prevailing wages are to ensure that workers are not unfairly exploited
on prevailing wage projects. The purpose of the Davis-Bacon Act is not to provide the worker with an
inflated wage rate for the area in which they are working. The original purpose of the Davis-Bacon Act was
to preserve use of local workforces and create a level playing field between local contractors and
contractors from out of the area. Creating an artificially high prevailing wage rate based on the 30% rule
does not meet that purpose.

My recommendation is that instead of attempting to conduct wage surveys for each county throughout the
country and including the four separate project types, the Department of Labor would be better served by
using the data that the Bureau of Labor Statistics already has. A few years ago, I had an opportunity work
on a residential project in South Carolina. Those wage rates had not been updated in 18 years. Even when I
made a call to the wage hour division to confirm and clarify, I was told there was just too much work to be
done and they just could not get to every wage determination. That is a travesty to the workers who the
U.S. DOL is supposed to be the protecting.

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Certainly, tying ALL of the wage rates to the Bureau of Labor Statistics would be an easy way to keep all
prevailing wages current. It would also not skew the wage rates by adopting an artificial 30% rule and
would allow for regular and consistent updates. I am in agreement with using state or local prevailing wage
rate for wage rates, but only where there is otherwise insufficient information from the Bureau of Labor
Statistics.

Single Rates in “Area”: Prevailing wages are to be paid based on the tasks that the worker performs and
not based on a particular title the worker is given. If a worker spends two hours unloading materials in the
morning, that is Laborers work; if they hang drywall for five hours in the afternoon, they must be paid the
applicable Drywall rate, and if they performed painting for one hour, the applicable prevailing wage for
Painters must be paid. Over the years, many of the trades have created subclassifications which have
become almost specialties themselves. Low voltage wiring is almost always performed by a
Communication and Tech Installer while other electrical work is performed by Inside Wireman. Those who
are engaged in cable splicing or high utility lines, are paid in a different classification. What is needed is
more detail and multiple wage classifications within a trade not less. Let us use the Bureau of Labor
Statistics information already available. If some minor changes need to be made to that process, then make
those changes, but let us not create a new process when that information is already being collected within
the DOL.

Periodic Adjustments: I am opposed to annual adjustments to prevailing wage requirements. This will
create more confusion in the entire construction process, including local agencies and contracting officers
who are already overburdened. I do understand extremely long projects which should have some
adjustment for wage increases, but then the contractor should automatically be allowed a 150% increase
change order to cover the cost of the wage increase and related payroll burden. Perhaps for any project not
completed within 3 years, then an update to the current wage rate upon the 3rd anniversary of contract
award or start of work.

Conformances: Every time I complete a conformance request, I include much more than the one page
form itself. I enclose a specific scope of work for the trades requested and I also provide the backup
documentation for the wage and fringe benefits. That might be wage rates found in a collective bargaining
agreement, or wage rates found in a state prevailing wage determination, or it could be a wage rate from
some local survey. I think you could make the conformance process easier for your staff if you required
those submitting the conformance requests to include the scope of work and any backup documentation
relating to the wages and fringe benefits proposed.

If there are multiple wage determinations on a particular project, a contractor should be allowed to use a
wage classification and rate from one determination on another type of work without submitting a
conformance. For Example: A transit center would have Heavy, Highway and Building determinations. A
contractor should be allowed to use a classification and wage rate from the Highway determination for the
Building portion of the work, if there is no classification for that work listed in the Building determination.

Another solution would be to allow a contractor to adopt a conforming wage rate from the same County but
in a different determination. For example, if I have commercial rates for Communication and Tech
Installers, I could adopt that rate for residential work in the same County. The other option is to allow a
contractor to use a rate without going through the conformance process which is listed in an adjacent
County within the same time window.




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Finally, once a conformance is granted, it could be included in the next update for the prevailing wage
determination in that particular jurisdictional area. That would eliminate the need for repeated requests for
conformances in a particular County.

Multiple Wage Determinations: I agree with the $2.5 million or 20% rule for requiring multiple wage
determinations.

Contract Clauses and Wage Determinations: One of the only ways that a contractor is alerted that
federal Davis-Bacon applies to a specific project is when there is specific contract language provided and
the wage determinations are attached. Under no circumstances should those requirements be diluted. If an
agency has mistakenly omitted either of those items, it is not the unsuspecting contractor who should bear
that burden.

        A few years ago, I had a contractor working at a veterans hospital. There were no contract
       provisions in the documents and no prevailing wage determination attached. Yet, this contractor
       believed that federal Davis-Bacon rates would apply and so he did his best to try and determine
       what those rates would be. At the end of the project, when his work was audited, the Department of
       Labor found that he had not used the proper wage determination and so additional wages were due.
       Had the agency provided the proper wage determination, this never would have happened. It is
       grossly unfair to the contracting community to allow an awarding agency to transfer liability to a
       contractor when the agency has failed to meet its obligation in informing the contractor of the
       appropriate wage rates applicable to the project.

I do NOT agree that “incorporating by reference” contracting terms is just as effective as inserting the full
Davis Bacon contract section. Nor do I support the provisions your proposal under “operation of law”. If
the Agency missed including the information, and the U.S. DOL wants to hold the contractor liable for
prevailing wages then the Agency MUST automatically be liable for 150% of the delta between wages paid
and the amount the needs to be paid to meet prevailing wage.

This is even more important when you have a DBRA project. Many times, the local agency does not
provide any information to the contractor that federal funds are being used on the project. The contractor
may proceed with the project, complying with state prevailing wage laws, but then are caught at the end of
the project for failing to pay a higher federal rate. Again, the agency must provide this information to a
contractor, how else is the contractor to know. Also relating to 1.6(f)(3)(v) applying to Related Acts, it is
not the withholding or cross withholding that the Agency should be obligated to engage, but a mandate that
the Agency pay the contractor 150% of the delta between what the contractor paid and the amount that
should have been paid. That final 150% can be withheld until the contractor pays the full amount due to
workers, but additional withholding or cross withholding because of the Agency’s error is just flat wrong.

Better Definition between Davis Bacon and Service Contract Act: Construction is the only industry
which can be found under both the Davis-Bacon Act and the Service Contract Act. The federal agency
letting a contract relating to improvements and rehabilitations to building and facilities, will frequently
misclassify construction work under the Service Contract Act. This is extremely confusing to contractors
who are used to a particular standard of operations and prevailing wage coverage. Particular regulations
need to be established which will trigger Davis-Bacon when the dollar value of the work to be performed
reaches a particular level. Rewiring an entire building with fiber optics is Dais Bacon work and not SCA
work.



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Clarifying Material Supplier, Trucking and De Minimis: The current rule relating to Trucking
companies delivering sand, rock, asphalt and other such products remains confusing to contractors.
Because they are indeed “Material Suppliers” the issue is whether or not the amount of time they spend on
the project site is truly de minimis so as to discount any prevailing wages, or if the 20% rule must apply to
these drivers. If a driver spends 20% of their week actually on the jobsite, should prevailing wage then
apply to all hours they are on the project. That 20% equates to eight hours within a week or basically two
hours per day. Does that rule apply only for the look back at the entire week or can/should it apply to onsite
work which equates to 2 hours per day?

Secondary Construction Sites: Prevailing wages have traditionally applied to on-site construction
services. Prevailing wages should only be extended to secondary sites when that secondary site is
established for the particular purpose of servicing the original jobsite. This should exclude any work
performed in a contractor’s permanent facility, which is established prior to the advertisement for bid and
will continue to operate after the project is complete.

Flaggers: I agree that flaggers are subject to prevailing wage because the work they are performing is
adjacent or nearly adjacent to the construction site and are for the purpose of providing safety to those in
and around the jobsite.

Apprentices: I support your clarification of the language relating to the employment and use of
Apprentices with the following comment: Apprentices which are employed on the project outside of their
immediate jurisdictional area, must receive either the wage rate and be employed according to the local
ratio which apprentices are subject to based on the location of the project or apply the wage rates and ratio
of the actual program in which the apprentice is enrolled, whichever is higher and more restrictive. This
will create both a level playing field with other contractors and apprentices who would seek to perform
work on the project site, but would not penalize the apprentice for working outside the immediate
jurisdictional area of the program in which they are enrolled.

Unfunded Plans: Requiring DOL approval of unfunded plans, especially in the area of vacation and
holiday, is unduly burdensome to the contractor and would create massive amounts of work for the
Department of Labor. It also creates an uneven playing field between union and open shop contractors,
requiring the open shop contractor to essentially pay more than the prevailing wage rate by discounting
legitimate holiday and vacation benefits paid by the contractor. Rather, clear regulations relating to the
standards under which these unfunded plans would be allowed to receive Davis-Bacon credit is the better
approach.

        Unfunded vacation and holiday benefits, which an employer keeps on their books, are allowed to
count toward meeting Davis-Bacon fringe benefits if all of the following occur:
        a) the benefit is in writing and has been provided to the worker;
        b) the benefit is vested and will not be forfeited if the worker leaves their employment; and,
        c) the benefit is amortized using the employee’s regular rate of pay for the calculation of the
           benefit.
        Example: 40 holiday hours + 80 Vacation Hours X RRP (Employee’s regular rate or pay) ÷ 2080 =
        Amount of hourly fringe benefit that can be claimed.




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Fringe Benefits and Annualization: The Proposed “Annualization” Exception in § 5.25(c) Should
Include a Safe Harbor Provision that Meet the Exception Requirements.

In the Proposed Regulations, the Department proposes adding a new paragraph (c) to the existing §5.25 to
codify the principle of “annualization” (i.e., the long-standing method of calculating the amount of Davis-
Bacon credit that a contractor receives for contributions to a fringe benefit plan when the contractor’s
workers also work in private projects). The Proposed Regulations also observes that historically, the Wage
and Hour Division (“WHD”) has not applied the annualization requirement to defined contribution pension
plans (“DCPPs”) that provide for immediate participation and accelerated vesting (i.e., vesting after a
worker works no more than 500 hours). This should not change. The employee is receiving 100% of the
contribution and the employer should receive 100% of the credit for that contribution.

Alternatively, I recommend that DOL revise the Proposed § 5.25(c) to formally adopt a safe harbor
provision to automatically qualify defined contribution retirement plans for the annualization exception
when they meet the required standards. This could be achieved by adding a new subparagraph (4) to read as
follows:
 § 5.25(c)(4) Safe harbor. Fringe benefits provided by a contractor through a defined contribution pension
plan shall be considered to be excepted from the annualization requirement, and are not subject to the
exception request requirement described in 5.25(c)(2), above, if the defined contribution pension plan
meets the following three criteria:
(A) the benefit provided is not continuous in nature;
(B) the benefit does not provide compensation for both public and private work; and
(C) the plan provides for immediate participation and essentially immediate vesting. A plan will generally
be considered to have essentially immediate vesting if the benefits vest under the plan after a worker works
500 or fewer hours.

Recommendations on Item Omitted from the Rulemaking

Publication of Scope of Work: The federal government should not be allowed to play “gotcha” with the
contracting community. Clear Scopes of Work need to be available to the contracting community to
understand how to classify workers. And, a contractor should not be penalized when they comply with the
actual wording in the Davis-Bacon wage determination.

       For example, I had a contractor working in Hawaii on a military base. The prevailing wage
       determination stated that Laborers could lay pipe. This contractor paid its Laborers to lay pipe. The
       plumbers filed a complaint stating that they claimed the work. The US DOL said they had
       absolutely no information to make a ruling in this regard. They suggested that I contact the Hawaii
       Department of Labor, which I did. The Hawaii Department of Labor directed me to contact the
       plumbers union and ask for a copy of their collective bargaining agreement. The union refused to
       give me a copy and then the local US DOL office when I told them I had no information stated that
       the Plumber/Pipefitter rate had to be paid for the laying of the pipe because that is what the
       plumbers claimed. The laborers were not making any connections, they were merely laying the
       pipe. The contractor had complied with the literal language in the wage determination and it seemed
       that nobody really knew the “prevailing practice”. Instead, the prevailing practice was determined at
       some point after the project had started, near its completion. The contractor’s only option was to go
       back to the military base and asked for change order, which was denied. I ask, how is a contractor to
       know the proper wage rate to pay if there is no Scope of Work provided and the wage determination
       itself says Laborers can lay pipe?


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I do not believe that a Scope of Work for every classification in every wage determination is necessary; but,
I do believe there should be a place where contractors could go on the www.sam.gov website to search out
jurisdictional scopes of work. And, if more than one trade claims the work, the contractor should be
allowed to pay in either of those classifications and be considered compliant with Davis-Bacon
requirements.

1099 Employees: Something I see repeatedly on projects, especially in less industrial states and areas, is
the use of 1099 employees. We all know there is no such thing as a 1099 employee. There are employees
and they are independent contractors. Yet, the contracting community from time to time hires temporary
workers which they call 1099 employees and for which no taxes or payroll deductions are made.

I have been repeatedly told by the US Department of Labor that this is wage theft. It is wage theft because
the individual worker will have to pay not less than 13% as self-employment tax, and has no
unemployment insurance; when in reality they are a temporary employee and should only have to pay their
half of Social Security and Medicare. Those workers are also entitled to unemployment benefits and other
state and federal benefits due to employees. Yet, every time I reported these instances to the Wage Hour
Division, I am told that so long as the worker receives the total amount of the prevailing wage rate on the
check, there is nothing that can be done. The U.S. Department of Labor needs to stop talking out of both
sides of its mouth. If this is in indeed wage theft, which I believe it is, then the U.S. Department of Labor
needs to have a protocol for seeing that these workers receive restitution and the proper classification as an
employee on the particular job site.

Contracting Officer Authority: I have been repeatedly told that the comments and decisions of a
contracting officer is not final and binding upon the U.S. DOL and that it is only the Regional Office that
has the authority to bind the U.S. DOL. This is extremely confusing to local contractors who seek the
advice of the Contracting Officer on classifications of work, area practices etc. So either, the DOL needs to
grant Contracting Officers with authority to bind the US DOL or the Contracting Officer must affirmatively
inform the contractor that the opinion issued by the Contracting Officer is not binding and how to get a
binding opinion.

I object to the short period of time provided by the US DOL in response to this rulemaking. US DOL is
making over 50 different changes to the Davis Bacon regulations. These are massive changes and should be
given sufficient time for discussion and comment. I would have liked to have spent more time to detail
comments on every aspect of the rule making, but was not able to do so.

Sincerely,

Deborah E.G. Wilder
President




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                                               May 17, 2022

VIA ELECTRONIC SUBMISSION

The Honorable Martin J. Walsh
Secretary
U.S. Department of Labor
Frances Perkins Building
200 Constitution Avenue, NW
Washington, DC 20210

Jessica Looman
Acting Administrator
U.S. Department of Labor
Frances Perkins Building
200 Constitution Avenue, NW
Washington, DC 20210


Re: Updating the Davis-Bacon and Related Acts Regulations, 87 Fed. Reg. 15698 (March 18,
2022).

Dear Secretary Walsh and Acting Administrator Looman:

On March 18, 2022, the Department of Labor’s (DOL) Wage and Hour Division published a
proposed rule titled Updating the Davis-Bacon and Related Acts Regulations (DBRA). 1 This
letter constitutes the Office of Advocacy’s (Advocacy) public comments on the proposed rule.

Advocacy is concerned that the added costs and complexities in this proposed rule will make it
more difficult for small contractors and subcontractors to comply with the DBRA. This may
have the unintended consequence of discouraging small businesses from participating in federal
construction contracts. Advocacy is concerned that DOL’s Initial Regulatory Flexibility Analysis
is deficient. DOL needs to publish a more accurate analysis of the expanded number of new


1
 Updating the Davis-Bacon and Related Act Regulations, 87 Fed. Reg. 15698 (Mar. 18, 2022). (hereinafter “2022
Proposed Rule”).




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small businesses that may now be covered and subject to compliance costs under the DBRA.
DOL severely underestimates these compliance costs at under $100 per small business annually.
Due to the problems with this IRFA, DOL cannot meaningfully consider significant and less
burdensome alternatives to the proposed rule that would meet the agency’s objectives.
Advocacy recommends that DOL reassess the number of small businesses covered and the
compliance costs from this regulation in a new Initial Regulatory Flexibility Analysis.
Additionally, DOL should consider significant alternatives that would accomplish the objectives
of the statute while minimizing the economic impacts to small entities.

I. Background

    A. The Office of Advocacy
Congress established the Office of Advocacy under Pub. L. 94-305 to represent the views of
small entities before Federal agencies and Congress. Advocacy is an independent office within
the U.S. Small Business Administration (SBA). As such, the views expressed by Advocacy do
not necessarily reflect the views of the SBA or the Administration.

The Regulatory Flexibility Act (RFA), 2 as amended by the Small Business Regulatory
Enforcement Fairness Act (SBREFA), 3 gives small entities a voice in the rulemaking process.
For all rules that are expected to have a significant economic impact on a substantial number of
small entities, the RFA requires federal agencies to assess the impact of the proposed rule on
small entities and to consider less burdensome alternatives.

The Small Business Jobs Act of 2010 requires agencies to give every appropriate consideration
to comments provided by Advocacy. 4 The agency must include a response to these written
comments in any explanation or discussion accompanying the final rule’s publication in the
Federal Register, unless the agency certifies that the public interest is not served by doing so. 5

Advocacy’s comments are consistent with Congressional intent underlying the RFA, that
“[w]hen adopting regulations to protect the health, safety, and economic welfare of the nation,
federal agencies should seek to achieve statutory goals as effectively and efficiently as possible
without imposing unnecessary burdens on the public.” 6

    B. The Proposed Rule
The Davis-Bacon Act and the 71 Related Acts (collectively “DBRA”) apply to contracts entered
into by Federal agencies and the District of Columbia that are in excess of $2,000 for the
construction, alteration, or repair of public buildings or public works. Under the DBRA, DOL
determines wage rates that are “prevailing” for each classification of covered laborers and
mechanics, as determined by voluntary wage surveys of contractors. Covered contractors and


2
  5 U.S.C. §601 et seq.
3
  Pub. L. 104-121, Title II, 110 Stat. 857 (1996) (codified in various sections of 5 U.S.C. §601 et seq.).
4
  Small Business Jobs Act of 2010 (PL. 111-240) §1601.
5
  Id.
6
  Id.

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subcontractors are required to provide weekly certified payrolls to the contracting agency to
demonstrate their compliance with the incorporated wage. Prime contractors have the
responsibility for the compliance of all subcontractors on a covered prime contract. 7

On March 18, 2022, DOL published a proposed rule modifying the DBRA implementing
regulations. This is DOL’s first comprehensive review of federal construction regulations in over
40 years.

The proposed rule provides definitions that may add small businesses to DBRA coverage
including:
    1) Prefabrication businesses where a “significant portion” of the building or work is
       constructed. 8
    2) Material suppliers, truck drivers, demolition companies, and flaggers. 9
    3) Surveyors who perform physical and manual work. 10
    4) Businesses completing work with green technology such as solar panels, wind turbines,
       broadband installation, or electric car charger installation. 11

The proposed rule incorporates many changes in the calculation of prevailing wages under the
DBRA, including:
   1) Adopting the “30 percent rule,” a three-step process where the wage rate paid to 30
       percent of the workforce could qualify as a prevailing wage. 12
   2) Updating outdated non- collectively bargaining prevailing wage every three years using
       U.S. Bureau of Labor Statistics (BLS) Employment Cost Index (ECI) data. 13
   3) Allowing additional data into calculation of the wage rate in various circumstances
       including variable rates, multiple county rates, state transportation divisions, federal
       project data, state prevailing wages, rural and urban rates considered together, and
       surrounding county information. 14

The proposed rule also makes changes to other requirements to contractor liabilities and
enforcement, including:
   1) Incorporating Davis-Bacon Act requirements by operation of law, whether they are
       included or incorporated by reference into such contract. 15
   2) Increasing the liability of subcontractors. 16



7
  2022 Proposed Rule, page 15699.
8
  See 2022 Proposed Rule, page 15731 and 15793, Proposed 29 CFR Part 5.2, Definitions, Site of Work (1)(i)-(iii).
9
  See 2022 Proposed Rule, page 15726-15734, Proposed 29 CFR Part 5.2, Definitions, Construction, Prosecution,
Completion, or Repair (Truck Drivers, Demolition), Material Supplier, Site of Work (Flaggers).
10
    See 2022 Proposed Rule, page 15729 (Footnote 80), and 15792-Proposed 5.2, Definitions, Labor or Mechanic.
11
    See 2022 Proposed Rule, page 15724 and 15789, Proposed 29 CFR Part 5.2, Definitions, Building or Work.
12
    See 2022 Proposed Rule, page 15703, and 15783, Proposed 29 CFR Part 1.2 Definitions, Prevailing wage.
13
    See 2022 Proposed Rule, page 15716, and 15786, Proposed 29 CFR Part 1.6(c)(1) Periodic Adjustments.
14
    See 2022 Proposed Rule, page 15703-15720.
15
    See 2022 Proposed Rule, page 15793, Proposed 29 CFR Part 5.5(e) Incorporation by operation of law.
16
   See 2022 Proposed Rule, page 15793, Proposed 29 CFR Part 5.5(a)(6) and (b)(4).

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       3) Expanding powers for DOL to withhold and cross-hold funds from other contracts. 17

Advocacy has reached out to small business stakeholders to discuss concerns with this proposed
rule. On April 25, 2022, Advocacy held a Small Business Roundtable with the officials from the
Department of Labor and over 100 small businesses and their representatives on this proposed
rule. The provisions of most interest to the small businesses in attendance included the
provisions expanding industry coverage, changes to the calculation of the prevailing wage, and
updated enforcement provisions.

II. The Rule’s IRFA Does Not Meet the Requirements of Section 603(b) Because It
    Undercounts the Number of Small Businesses, Underestimates the Compliance Costs
    of the Proposed Rule and Does Not Examine Less Burdensome Alternatives.

Under the Regulatory Flexibility Act (RFA), an Initial Regulatory Flexibility Analysis (IRFA)
must contain:
      1) A description of the reasons why the regulatory action is being taken;
      2) The objectives and legal basis for the proposed regulation;
      3) A description and estimated number of regulated small entities (by affected industry
         based on the North American Industry Classification System (NAICS));
      4) A description and estimate of compliance requirements, including any differential for
         different categories of small entities;
      5) Identification of duplication, overlap, and conflict with other rules and regulations; and
      6) A description of significant alternatives to the rule. 18
DOL’s Initial Regulatory Flexibility Analysis is deficient and does not properly inform the
public about the impact of this rule on small entities. This proposed rule inadequately quantifies
newly affected industries. DOL has also underestimated the administrative burdens and
compliance costs of this complicated regulation, with the very unlikely low average cost of $78
per small business in first year costs. DOL should have estimated the compliance costs of
expanding DBRA coverage to new industries, the increase in the prevailing wage costs, and
changes in the enforcement requirements on small businesses.
Without the information required by Section 603(b), DOL cannot fully consider significant and
less burdensome alternatives to the proposed rule that would meet the agency’s objectives. DOL
must produce a new Initial Regulatory Flexibility Analysis that estimates the numbers of small
businesses and compliance costs of this rule, especially including the administrative burdens and
compliance costs of this rulemaking on small businesses. Finally, DOL must consider significant
alternatives that would accomplish the objectives of the statute while minimizing the economic
impacts to small entities.




17
     Id.
18
     5 U.S.C. § 603.

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A. DOL Has Not Adequately Analyzed the New Small Businesses Covered under the
DBRA
DOL does not properly analyze the number of small businesses and the industries affected by
this proposed rule as required by the Regulatory Flexibility Act. The construction industry is
composed primarily of small businesses, with 99.8 percent of businesses with less than 500
employees, and 91.6 percent of businesses with less than 20 employees. 19 DOL’s analysis
estimates that there are 103,600 to 135,200 potentially affected small businesses that are prime
contractors and subcontractors through USA Spending and System for Award Management data
(SAM). 20 DOL has expanded coverage to new industries such as prefabrication companies,
material suppliers, truck drivers, survey crews and green infrastructure. However, the agency has
not analyzed the numbers of small businesses affected and the economic impact of this rule on
these entities.

Proposed Rule Expands Coverage to Prefabrication Companies
Advocacy is concerned that DOL is expanding the scope of the Davis-Bacon Act from
construction work performed at the “site of the work” to prefabrication work completed at
remote off-site locations. 21 Under this proposed rule, off-site coverage can include any secondary
construction site, defined as a site “where a significant portion of the building or work is
constructed.” 22 Small businesses at Advocacy’s roundtable pointed out that the DBRA by its
own terms applies to wages “at the site of the work” 23 at a specific building worksite in the
contract, and has limited application at nearby sites created solely for purposes of the project. 24
As proposed, this rule creates an additional area of coverage by applying it to any remote
location that manufactures or builds “significant” components for a contract, regardless of
whether that site is in proximity to the site of the work or whether it was established specifically
for the project. Such businesses are not now covered by DBRA. In order to comply with Section
603(b) of the RFA, DOL must identify which types of manufacturers will now be potentially
covered by the DBRA by NAICS code and clarify what types of building components would
trigger this coverage.


19
   U.S. Small Business Administration, Table of Size Standards Matched to North American Industry Classification
System Codes (NAICS), 13 CFR § 121.201 (May 2022), https://www.sba.gov/sites/default/files/2022-
05/Table%20of%20Size%20Standards_Effective%20May%202%202022_Final.pdf.
20
   See 2022 Proposed Rule, Regulatory Flexibility Analysis, page 15779.
21
   See 2022 Proposed Rule, page 15731 and 15793, Site of the Work.
22
   Id. “A “significant portion” of a building or work means “one or more portion(s) or module(s) of a building or
work, as opposed to smaller prefabricated components, with minimal construction work remaining other than the
installation and/or assembly of the portions or modules at the place where the building will remain."
23
   29 CFR 5.2(l)(1) Site of the work. The site of the work is the physical place or places where the building or work
called for in the contract will remain; and any other site where a significant portion of the building or work is
constructed, provided that such site is established specifically for the performance of the contract or project.
24
   Courts have found that off-site plants are not subject to the DBRA when the facilities were located three miles
from site, batch pits two miles from construction site, or transportation of materials from a dedicated borrow pit. See
Building & Construction Trades Dep't. AFL-CIO v. U.S. Dep't of Labor Wage Appeals Bd., 932 F.2d 985 (D.C. Cir.
1991); Ball, Ball & Brosamer, Inc. v. Reich, 24 F.3d 1447 (D.C. Cir. 1994): L.P. Cavett Co. v. U.S. Dep't of Labor,
101 F.3d 1111 (6th Cir. 1996); Les Calkins Trucking, 1990-DBA-65 (ALJ July 13, 1995).

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It is not clear from the regulation what constitutes a “significant portion” of work that would
trigger DBRA coverage. For example, at the roundtable a representative from the Modular
Building Institute (MBI) pointed out that MBI members produce modular components for
buildings such as dorms, administrative buildings, and multi-family housing. These items may
now be covered under the DBRA. A representative from the National Association of Home
Builders (NAHB), most of whose members are small businesses, stated that modular
construction has become a cost-effective way to address rising housing costs in the industry
because costs are predictable when houses are produced in a controlled environment. Small
builders described many building components of all sizes manufactured off-site that may fit this
new definition for DBRA coverage including pre-cast concrete, tilt-up concrete, roofs, roof
trusses, floor trusses, carpentry, wall panels, air conditioners, elevators, generators, and
windows. It would be impractical, if not impossible, to isolate specific orders on off-site
assembly lines to ensure wages compliance with DBRA rates.

Small businesses that produce prefabricated work are concerned that DBRA coverage would
result in a steep increase in wages and administrative and end-product costs, making this option
less affordable and desirable. For example, a small business making modular elevators
commented that the skill set of the factory workers assembling a product has a fraction of the
skillset of a craftsman at the worksite that installs, programs, and troubleshoots an installation. A
small business owner commented that the logistics of paying different labor rates at an assembly
line is a management and employee relations nightmare, as it would affect scheduling, payroll
structure, and employee morale if some employees with the same position receive higher wages
depending upon who the customer is.
A home builder making multi-family rental housing noted that their business has identical
projects half an hour apart, one subject to Davis-Bacon requirements and the other not. The cost
of the project subject to the DBRA was 30 percent higher than the cost of the other project. This
builder noted that the current DBRA wage costs and regulatory burdens already dissuade many
subcontractors from bidding on federal projects, and this rule may also make producers of
prefabricated and modular components reject participation in these projects. Another roundtable
participant was very concerned that this provision would undermine the affordable housing goals
of the Administration, which touts the use of modular off-site construction in the development of
this housing supply.25
Proposed Rule May Expand Coverage to Some Material Suppliers and Truck Drivers

Small businesses at Advocacy’s roundtable commented that material suppliers and the trucks that
deliver material to construction sites traditionally have been exempt from the requirements of the
Davis-Bacon Act. The proposed extension of DBRA to these businesses will increase their costs
and create confusion for the construction industry. Advocacy is also concerned that these small


25
  The White House, Fact Sheet: President Biden Announces Actions to Ease the Burden of Housing Costs (May
16, 2022), https://www.whitehouse.gov/briefing-room/statements-releases/2022/05/16/president-biden-announces-
new-actions-to-ease-the-burden-of-housing-costs/.


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businesses are not counted in the assessment of the rule’s impact. DOL must identify the
potential industries newly covered by the DBRA and quantify the numbers of small businesses in
a new IRFA.
Under the proposed rule, the exemption will require that the material supplier also provide items
to the public. Currently some suppliers may only produce items for the federal government. The
exemption would also require that the facility manufacturing the goods be neither established
specifically for the project nor located at the site of the work. However, there is caselaw that
allows some off-site plants to be exempt from the DBRA. Under this rule, any business that “also
engages in other construction, prosecution, completion, or repair work is not a material
supplier.” 26
A representative from the National Stone, Sand and Gravel Association stated that some of its
members who are currently labeled as material suppliers may be considered subcontractors and
subject to the DBRA because of this rulemaking. For example, some suppliers recycle concrete
using a portable crusher onsite because on-site recycling is cheaper and more ecologically
friendly than trucking used concrete offsite.
Application of the DBRA to material delivery truck drivers would be a significant change in
practice for the construction industry. 27 The proposed rule may expand coverage to truck drivers
delivering materials to a job site, “such as loading, unloading, or waiting for materials to be
loaded or unloaded—where the driver or driver assistant’s time spent on the site of the work is
not so insubstantial or insignificant that it cannot be as a practical matter be precisely
recorded.” 28 Participants at Advocacy’s roundtable expressed concern that it would be
burdensome and unrealistic to require truck drivers dropping off materials to track their time
under the DBRA. 29
The delivery of materials at a jobsite is unpredictable and requires safety measures. It can take
more than a few minutes to drop off items like wall panels at a curb. It may take a more
significant amount of time to safely unload heavy roofing materials utilizing a crane. A small
retailer or supplier may drop off construction materials at many different sites and jurisdictions,
with both federal and private jobsites. Small businesses were also concerned that this rule would




26
   See 2022 Proposed Rule, page 15793, Proposed 29 CFR 5.2 Definitions, Material Supplier. “ (1) A material
supplier is an entity meeting all of the following criteria: (i) Its only obligations for work on the contract or project
are the delivery of materials, articles, supplies, or equipment, which may include pickup of the same in addition to,
but not exclusive of, delivery; (ii) It also supplies materials, articles, supplies, or equipment to the general public;
and (iii) Its facility manufacturing the materials, articles, supplies, or equipment, if any, is neither established
specifically for the contract or project nor located at the site of the work. (2) If an entity, in addition to being
engaged in the activities specified in paragraph (1)(i) of this definition, also engages in other construction,
prosecution, completion, or repair work at the site of the work, it is not a material supplier.”
27
   Building & Constr. Trades Dept., etc. v. United States Dep’t of Labor Wage Appeals Bd., 932 F.2d 985 (1991).
(Material delivery truck drivers who come onto the site of the work merely to drop off construction materials are not
covered by the Act’s coverage even if they are employed by the government contractor.)
28
   See 2022 Proposed Rule, page 15793, Proposed 29 CFR 5.2 Definitions, Covered Transportation.
29
   See 2022 Proposed Rule, page 15733.

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discourage small business material suppliers and their truck drivers from providing construction
products to worksites, exacerbating current supply chain issues for the construction industry.
Proposed Rule May Expand Coverage to Professional Surveyors

While surveyors are generally not subject to DBRA requirements, DOL’s proposed rule provides
guidance that “survey crew members who spend most of their time on a covered project taking or
assisting in taking measurements would likely be deemed laborers or mechanics.” 30 Professional
surveyors and their representatives in attendance at Advocacy’s roundtable were concerned that
this is a broad expansion of the DBRA.
Proposed Rule May Expand Coverage to Additional Small Businesses
DOL’s Proposed Rule also contains multiple provisions clarifying definitions which may extend
DBRA coverage to additional small businesses. The proposed rule adds installation of green
infrastructure to coverage under a covered “building or work,” which includes “solar panels,
wind turbines, broadband installation and installation of electric car chargers.” 31 The proposed
rule also clarifies situations where demolition crews and flaggers could be subject to DBRA
coverage. 32 Advocacy recommends that DOL quantify the numbers of small businesses and
identify these potentially affected industries in a new IRFA.

B. DOL Has Not Adequately Analyzed the Administrative Burdens and Compliance Costs
   of Proposed Rule

DOL has also severely underestimated the administrative burdens and compliance costs of this
rule for small businesses. In the IRFA, the agency only estimates one hour of time of human
resources time or $52 for regulatory familiarization, or “to review the regulations to understand
how the prevailing wage methodology will change.” DOL also estimates 0.5 hours of staff time
or $26 to implement this regulation, to update non-collectively bargained rates every three
years. 33 However, this proposed rule is DOL’s first comprehensive regulatory review of the
DBRA in over 40 years, and it is over 400 pages long with 50 regulatory provisions. Small
businesses attending an Advocacy’s roundtable on this rulemaking disagreed with DOL’s low
estimate.




30
   See 2022 Proposed Rule, page 15729, Footnote 80. U.S. Dep’t of Labor, Office of the Solicitor, Memorandum on
the Application of the Davis-Bacon and related Acts,
https://cdn.ymaws.com/www.nsps.us.com/resource/resmgr/Davis-Bacon/Goldberg_letter.pdf. (A representative
from the National Society of Professional Surveyors cites to this DOL letter for the proposition that survey crews are
exempt except for rare instances when they are performing duties that are physical in nature).
31
   See 2022 Proposed Rule, Page 15789, Proposed 29 CFR 5.2 Definitions, Building or Work.
32
   See 2022 Proposed Rule, Page 15791, Proposed 29 CFR 5.2 Definitions, Construction, Prosecution, Completion
or Repair.
33
   See 2022 Proposed Rule, Page 15780.

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Proposed Rule Adds Administrative Burdens

Small businesses newly covered by the DBRA may have the highest compliance costs under this
proposed rule, as they have no experience working in this bureaucratic regulatory regime. Many
small businesses spend a disproportionately higher amount of time and money on regulatory
compliance because they have more limited human resources and legal staff and often must hire
experts to perform compliance work or train internal staff. The DBRA requires covered
contractors and subcontractors to complete human resources tasks, such as submitting weekly
certified payrolls, evaluating prevailing wage and work rules, and paying and providing fringe
benefits. Small businesses must update their payroll systems. Small businesses also commented
that they will incur management costs to manage DBRA contracts, and assign covered and
uncovered work. A small construction contractor commented that working on a DBRA-covered
contract involves a lot of risk and uncertainty, as incorrect certified payroll or other paperwork
could result in hundreds of thousands of dollars in penalties and back wages. Small businesses
have told Advocacy that they do not have the workforce to administer the DBRA and would be
less able to compete with larger, better-staffed companies for contracts.

Proposed Rule’s Prevailing Wage Changes Adds Increased Costs and Burdens
At Advocacy’s roundtable, some small business representatives expressed disappointment that
the proposed rule did not reform the problems with the current prevailing wage system under
Davis-Bacon, which they said discourages small business participation in federal construction
projects. Others commented that DOL’s current prevailing wage system does not reflect the
wages in the local area, and the proposed revisions would mean that the prevailing wages under
DBRA reflect the wages of fewer businesses. The proposed rule changes the prevailing wage
methodology from a two-step process to a three-step process, which would re-establish as
prevailing wages paid to 30 percent of the workers in a particular classification. 34 The
Department determines prevailing wages from survey information that responding contractors
and other interested parties voluntarily provide. However, a 2019 DOL OIG report found that 48
percent of all Davis-Bacon rates are union rates, even though less than 12.6 percent of the
construction workforce was unionized during the time the study was conducted. 35 A recent
survey of Associated Builders and Contractors members found that more than 70 percent of its
members had not participated in federal government surveys used to determine Davis-Bacon Act
rates, and that most of these members were not aware of these wage surveys. 36
Small businesses at Advocacy’s roundtable commented that prevailing wages under the DBRA
can be significantly higher than similar private sector jobs, adding costs and burdens on covered


34
   See 2022 Proposed Rule, Page 15783, Proposed 29 CFR 1.2 Definitions, Prevailing Wage.
35
   U.S. Dep’t of Labor, Office of Inspector General-Office of Audit, Report to the Wage and Hour Division, Better
Strategies are Needed to Improve the Timeliness and Accuracy of Davis-Bacon Act Prevailing Wage Rates (Mar.
29, 2019); U.S. Bureau of Labor Statistics, Current Population Survey Data, Construction Union Membership 2019
(Modified Jan. 20, 2022). In this study, union rates prevailed for 48 percent of the 134,738 rates in the Wage and
Hour Division’s system.
36
   Associated Builders and Contractors (ABC), News Release, available at: https://www.abc.org/News-
Media/Newsline/entryid/19424 (last accessed May 17, 2022).

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contractors and subcontractors and increasing the price for federal construction projects. 37 DOL
has proposed many new changes to the calculation of prevailing wages under the DBRA that
may also increase the wages for covered federal contractors, but the agency has not estimated
any compliance costs from these changes. The proposed rule also updates the non-collectively
bargaining prevailing wage survey every three years using the U.S. Bureau of Labor Statistics
(BLS) Employment Cost Index (ECI) data. DOL is also allowing the use of previously
prohibited wage data into the calculation of the wage rate under various circumstances, including
variable rates, multiple county rates, state transportation divisions, federal project data, state
prevailing wages, rural and urban rates considered together, and surrounding county
information. 38

DOL’s Executive Order 12866 cost-benefit analysis does calculate potential increased wage
costs from the 30 percent rule and 3-year updates, but none of these increases are counted as
costs in the RFA section. 39 DOL also notes that firms could incur costs due to the updated rates,
from adjusting payrolls, adjusting contracts, and communicating this information to employees.
DOL also acknowledges that there could be increases in payroll costs for small firms in its IRFA
but does not calculate these costs due to data limitations and uncertainty. 40 Advocacy
recommends that DOL complete more analysis on the potential compliance costs of these
prevailing wage changes.

Although small prime contractors should be reimbursed by the government for increased wages,
Advocacy is concerned that financial risks may still remain for subcontractors when complying
with DBRA such as delay in reimbursement, increased compliance costs, increased paperwork,
and other risks. This risk should be reflected in the economic analysis through an increased
estimate of the cost to comply with the rule. Small businesses told Advocacy that increased
wages adversely impact small businesses with fewer administrative and financial resources,
especially when the small business performs other work not subject to DBRA requirements.
Small businesses will be required to spend hours of administrative work to adjust pay scales,
record hours worked, and adjust fringe benefits.

Small businesses commented that these increased wages will likely result in many costly
mistakes for contractors and subcontractors. Wage determinations have been known to be out of
date or inaccurate for other reasons, yet the contractor and subcontractor remain subject to
penalties if they are found to be paying an incorrect wage, even if the mistake is made by the
contracting agency. Small businesses also mentioned that exact job classifications are often not


37
   Sarah Glassman, MSEP, Michael Head, MSEP, David Tuerck, PhD, and Paul Bachman, MSIE, The Federal
Davis-Bacon Act: The Prevailing Mismeasure of Wages, Beacon Hill Institute at Suffolk University (Feb. 2008),
http: https://www.beaconhill.org/BHIStudies/PrevWage08/DavisBaconPrevWage080207Final.pdf.
38
   See 2022 Proposed Rule, page 15703-15720.
39
   See 2022 Proposed Rule, page 15774-15775, Executive Order 12866 Section, Table 7, Changes in Rates
Attributable to Change in Definition of Prevailing and Table 8- Distribution of Potential Per-Hour Transfers Due to
Updated Rates. For example, Table 7 shows the differences in wages due to the 30 percent rule; rates for laborers
could be increased by $7.80 per hour or decreased by $3.93 per hour depending on location. For example, Table 8
shows that the updates to non-competitively bargained contracts may result in 60,434 wage rate updates.
40
   See 2022 Proposed Rule, page 15780.

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available, and they may bid at a lower price that is later found to be incorrect. Small businesses
are less likely to be able to absorb such losses and are less well-equipped to defend against
citations that lead to penalties and even debarment. Small contractors report that failure to pay
the correct wage, failure to report certified payroll, paperwork mistakes, or even typographical
errors in recordkeeping can result in penalties or withholding of payment under the contract.
Advocacy believes that if these costs are imposed on previously uncovered small businesses,
these companies will decline to provide materials or services to DBRA projects, reducing the
availability of those materials and services. This list of costs for contractors is not exhaustive,
and Advocacy encourages DOL to review the experience of contractors who have encountered
these and other issues in the performance of DBRA work.
Proposed Rule’s Other Provisions Add Liability Costs
Participants at Advocacy’s roundtable raised multiple provisions that create extra risk and
liability for small businesses who participate in DBRA contracts, increase contractor costs, and
discourage small businesses from taking part in federal construction projects.

The proposed rule allows incorporation of Davis-Bacon Act regulations by operation of law and
allows contract clauses to be required even if they are not included or incorporated by reference
into the contract. 41 For prime contractors, this provision increases the risk of violation without
any notice that they were required to pay the DBRA wage. Another provision allows DOL to
withhold funds from contractors who may hold multiple contracts during a wage investigation. 42
These provisions could result in significant harm to small subcontractors, who, as noted above,
are less equipped to absorb the withholding of payments under the contract. The proposed rule
also creates liability for subcontractors whose lower tier subcontractors are cited for violations.
Small businesses commented it would be especially difficult under the proposed rule for
subcontractors to keep track of their lower tiered subcontractors and material suppliers because
of the lack of clarity and vague definitions in this rulemaking. 43 This liability risk needs to be
reflected in the cost estimate of the RFA section.

C. DOL Does Not Examine Less Burdensome Alternatives in its IRFA
Under 603(c) of the RFA, an agency must provide a description of any significant alternatives to
the proposed rule which accomplish the stated objectives of applicable statutes, and which
minimize any significant economic impact of the proposed rule on small entities. 44 In DOL’s
IRFA, the proposed alternatives provided do not minimize the significant impacts of this rule. 45
DOL should review the public comments from the small business community to develop and


41
    See 2022 Proposed Rule, page 15798- Proposed 29 CFR Part 5.5(e) Incorporation by operation of law.
42
    See 2022 Proposed Rule, page 15793- Proposed 29 CFR Part 5.5(a)(6) and (b)(4).
43
    Id.
44
    5 U.S.C. § 603.
45
   See 2022 Proposed Rule, Page 15780. In the IRFA, DOL suggests all contracting agencies submit reports, these
entities are not small businesses. DOL also suggests using another index for updating non-collectively bargained
wage rates, but that index would not accomplish the agency’s goals because it does not track changes in wages or
benefits.


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adopt alternatives that will provide regulatory relief to small entities.

Recommendations

1. DOL Should Complete New IRFA
DOL must produce a new Initial Regulatory Flexibility Analysis that estimates the numbers of
small businesses and compliance costs of this rule, especially including the administrative
burdens and compliance costs of this rulemaking on newly covered small businesses. Without
the information required by Section 603(b), DOL cannot meaningfully consider significant and
less burdensome alternatives to the proposed rule that would meet the agency’s objectives.
2. DOL Should Reconsider or Clarify Coverage of Newly Covered Small Businesses
DOL should reexamine whether to expand DBRA coverage to the new small businesses listed in
this comment letter based on the estimated economic impacts in a new analysis. In the
alternative, DOL should also clarify vague definitions like “significant portion” of work in this
proposed rule that, left unclarified, will create confusion and uncertainty for the covered small
entities. Requirements imposed on small businesses must be measurable and enforceable.
3. DOL Should Reconsider Changes to Prevailing Wage Methodology

DOL has proposed changes to the prevailing wage methodology such as a change from the
50 percent rule to the 30 percent rule, regular updates to non-collectively bargained rates, and
the adoption of other alternate data. DOL should measure the potential compliance costs and
burdens of these proposals before adopting them in a final rule.
4. DOL Must Publish a Small Business Compliance Guide
For each rule requiring a final regulatory flexibility analysis, section 212 of SBREFA requires
the agency to publish one or more small entity compliance guides. 46 Agencies are required to
publish the guides with publication of the final rule, post them to websites, distribute them to
industry contacts, and report annually to Congress. 47 Advocacy is available to help DOL in the
writing and dissemination of this guide.
Conclusion
Advocacy is concerned that the added costs and complexities in this proposed rule will make it
more difficult for small contractors and subcontractors to comply with the DBRA and may have
the unintended consequence of discouraging small businesses from participating in federal
construction contracts. Advocacy recommends that DOL reassess the numbers of small
businesses that will be covered and the compliance costs from this regulation in a new Initial
Regulatory Flexibility Analysis. Additionally, DOL should consider significant alternatives that
would accomplish the objectives of the statute while minimizing the economic impacts to small
entities.

46
  Small Business Regulatory Enforcement Fairness Act, Pub. Law 104-121 § 212.
47
  The Small Business and Work Opportunity Act of 2007 added these additional requirements for agency
compliance to SBREFA.

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If you have any questions or require additional information, please contact me or Assistant Chief
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                                             Sincerely,



                                             /s/
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                                             Deputy Chief Counsel
                                             Office of Advocacy
                                             U.S. Small Business Administration


                                             /s/
                                             Janis C. Reyes
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Copy to:       Dominic Mancini, Deputy Administrator
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200 Constitution Avenue NW
Washington, DC 20210

Re: The Department of Labor' s Proposed Updates to Davis-Bacon and Related Acts Regulations

         This letter provides the response of Independent Electrical Contractors ("IEC") to the
Department of Labor' s ("DOL" or "Agency") proposed amendment ofregulations issued under the
Davis-Bacon and Related Acts, 29 C.F.R. Part 1 et seq (collectively referred to herein as the "DBA"),
the first major regulatory review of the DBA implementing regulations in almost forty years. As set
forth fully in the comments below, based upon its experience representing thousands of electrical
contractors across the United States, all with unique interests and operating in diverse environments,
IEC believes that DOL should provide more time for thoughtful review and comment of these
proposed rules, rescind them entirely given the tremendous expense and burden they will impose, or in
the alternative, reconsider several of these proposed changes.

        In summary, while IEC, likely many others attempting to fully-grasp (in a matter of weeks) the
impact these proposed rules might have on 40+ years of practice, is concerned about the possible
inflationary effect of several proposed changes that could result from the sudden increase in wages for
certain non-union workers and workers in rural areas. There are many parallels between America' s
current economic circumstances and those we faced in 1982 when inflation topped 6.16%. At that
time, the DOL made several changes to DBA regulations that commentators noted would help reduce
inflation. Today, the inflation rate is at 8.3%, 1 and that trend is expected to continue without
government intervention. Despite this concerning inflation, the DOL is now considering reversing the
changes made in 1982 that were designed to mitigate inflation.

        While inflation should be the concern of all Americans, IEC is also concerned with the legal
basis of several proposed changes. In many circumstances, DOL appears to disregard the language
and intent of the DBA, resulting in expanded definitions of terms such as "construction" and "building
or public work." IEC' s comments reflect its concern that DOL' s regulations are broader than its
mandate under the plain language of the DBA. For example, DOL' s changes reflecting a broader
conception of "site of the work" violates the plain language of the DBA as well as related case law.
For this, among other reasons, IEC urges the DOL to rescind these proposed changes and issue
regulations consistent with the DBA' s plain language and subsequent and well-settled case law.


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    https://www.nyt imes.co m/2022/05/ I 1/business/economy/apri1-2022-cpi.htm I


                The leading educator for merit shop electrical and systems contractors                    EXHIBIT
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        To facilitate a complete understanding ofIEC's concerns, we have organized our comments
under headings, intending to address some of the topics upon which DOL has requested comment
specific to the pending regulations as well as IEC's larger concerns.

I.       BACKGROUND

        Now one of the largest non-profit trade associations representing electrical contractors across
America, IEC was founded in 1957 and has grown into a 52-chapter association representing more
than 3,600 company members and almost 80,000 electrical workers. IEC has now expanded its
operations to include approximately 14,000 apprentices and provides world-class training programs to
increase the knowledge base of its members. Together, IEC contractor members generate over $8.5
billion in gross revenue annually.

       IEC strives to advocate for the independent electrical indust1y in the U.S., and the following
comments represent feedback following outreach to our members. In any case where the Agency has
questions for IEC, we may be contacted at (703) 549-7351.

II.     THE AGENCY HAS NOT PROVIDED                         SUFFICIENT       TIME     TO    PROVIDE
        COMMENTS ON THE PROPOSED RULE

        The Agency is undergoing its first complete overhaul ofDBA regulations since 1981, more
than forty years ago. The proposed rules reflect significant regulatory changes that will severely
burden industry and likely result in challenges under the Administrative Procedure Act ("AP A") when
they are imposed. IEC requests an additional 120 days for members and other contractors to examine
and thoughtfully consider these proposed changes, and provide in-depth responses based on impact
analyses. A 60-day comment period is simply inadequate for the public to analyze the potential impact
these changes may have on a complicated regulatory regime that is been in place for over four decades.
Accordingly, more time is necessary to afford interested parties the time necessary to assess and
consider how industly, the economy, and the federal taxpayer could be effected by these changes.

III.    THE AGENCY SHOULD WITHDRAW THE CHANGES IN LIGHT OF LEGAL
        SHORTCOMINGS AND ITS PROBABLE ECONOMIC EFFECTS

         IEC's review of the proposed rule reveals several legal and policy shortcomings that would
increase inflation, require extensive regulato1y review for provisions that appear to be merely
clarificatory, and increase costs for contractors that would likely be passed on to the government and
taxpayer. At a minimum, the proposed changes will artificially increase wages in the localities where
federal construction projects occur, which in turn will cause inflationary effects in these same
localities, thereby harming the American economy more generally. And at worst, as discussed herein,
in many instances, these proposed changes exceed the plain reading of the DBA and is therefore
unsupported and illegal. For these reasons and the fact that the DBA has been operating for more than
four decades, as is, with decades of interpretive and supporting case law, IEC believes the proposed
rule should be rescinded in total and DOL continue with the status quo.

        Alternatively, if the Agency will not rescind the proposed rule, then IEC proposes that the more
specific comments and recommendations explained throughout the remainder of this submission be
made prior to finalization.


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IV.      CHANGE TO 29 C.F.R. § 1.2, DEFINITION OF "PREVAILING WAGE"-RETURN TO
         THE 30 PERCENT RULE.

        In its commentary on the proposed 30-percent rule, the Agency states that it has begun to
overly-rely on the use of weighted averages when determining the "prevailing wage" under the
definition applicable to 29 C.F.R. § 1.2. The effect, per the Agency, has been the over-use of weighted
averages, now accounting for approximately 64 percent of classification determinations. 2 To remedy
this perceived overreliance on weighted averages for these determinations, the Agency proposes to
reintroduce the 30-percent rule. This proposal, however, would have several negative effects on our
members and would also have larger negative effects on the impacted workforce and American
consumers.

         First, as the Agency notes in its commentary of the 30-percent rule, the rule previously existed
in regulations in effect between 1935 and 1982. As commentators noted on the proposed changes in
1981-82, the elimination of the 30-percent rule occurred as a result of record-high rates of inflation at
the tail-end of "The Great Inflation," a period that saw rates reach as high as 13.5% in 1980. 3 The
inflation rate for March 2022 was 8.5%, up from .1 % in May 2020. 4 The same inflationary conditions
exist today that justified the elimination of the 30-percent rule forty years ago; accordingly the Agency
should delay the implementation of the 30-percent rule that might artificially increase the rate of pay
by applying a more expansive definition of "prevailing wage." At minimum, the Agency should
remain cautious to accept any change that would exacerbate inflation. As it stands, IEC opposes the
change to the definition of "prevailing wage" in the proposed changes.

V.       CHANGES TO 29 CFR 1.6(C)(l)-PERIODIC ADJUSTMENTS

         The Agency is also proposing to amend 29 C.F.R. § 1.6(C)(l) to require regular increases of
non-collectively bargained prevailing wage rates. The Agency invited comments on possible
alternative sources of data for prevailing wage rates. As the Wage and Hour Division ("WHD") is an
enforcement agency that is not responsible for data collection, IEC welcomes the untainted use of
statistical data from the Bureau of Labor Statistics ("BLS"). At least one study has also shown that
measurements conducted by WHD regularly exceed those of the BLS, costing taxpayers millions of
dollars. 5 IEC would like to ensure that the adoption of any alternate sources of data would reflect
sound, scientific data collection methods, such as those used by BLS.

VI.      CHANGES TO 29 C.F.R. § 1.7(B)-ELIMINATION OF SEPARATION BETWEEN
         RURAL AND URBAN WAGE RATES



2 https ://www. federa lregister.gov/d/2022-05346/p-83
3 Bryan, Michael. " The Great Inflation."     Federal Reserve Bank of Atlanta, available at:
https://www. fed era lreserve h istory.org/essays/great-inflation
4
  " Consumer Prices up 8.5% for Year Ended March 2022." U.S. Bureau of Labor Statistics. Avai lable at:
https://www.bls.gov/opub/ted/2022/consum er-prices- up-8-5-percent-for-year-ended-march-
2022. htm# :- :text=The%20Consumer%20 Price%20 Index%20increased,Februaiy%20202 I% ?0to%20 Februa1y%202022.
5
  The Wage and Hour Division' s calculations inflate wages on average by 20.2 1%. Repealing the OBA entirely would save
taxpayers approximately $ I 7 . I billion between 202 1 and 2030. Burke and Tuerck. The Federal Davis-Bacon Act:
Mismeasuring the Prevailing Wage. The Beacon Hill Institute for Public Policy Research. Available at,
https://www.beaconhill.org/ BHIStud ies/2022/FINAL-BH I- DBA-2022-05- I 6.pdf.


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        The Agency is also proposing to amend 29 C.F.R. § 1.7(b) to eliminate the prohibition on using
surrounding metropolitan counties in wage determinations for rural counties. IEC opposes the use of
wage data from metropolitan counties to determine wages in adjacent, rural counties. First, the
Agency's finding that construction workers commute further distances is derived from two research
papers by the same author, an economist in the Utah. 6 Based on these two papers, which study the
causes for an increased tolerance for construction workers commute time, the Agency supports its
argument that the geographical area that includes a metropolitan county and its adjacent, rural counties,
will constitute a single labor market. 7 The Agency concludes that it may be permissible to use a
metropolitan county's wage rates in a determination of an adjacent, rural county, since commuting
patterns support the finding of a shared labor market. While this reasoning may adequately address
objections based on disruptions in labor patterns, it ignores other consequences of importing labor rates
from metropolitan areas. Namely, the increased cost of construction in metropolitan areas-and
increased wages that support this construction- is the result of numerous factors that do not apply to
rural construction projects, such as building density, heavier traffic, stricter code enforcement, etc. To
allow cross-consideration of metropolitan and rural wage rates apply dissimilar circumstances and
would artificially inflate the construction wages in rural counties.

        Second, the Agency should retain the bar on cross-consideration of metropolitan and rural wage
data due to the inflationary effect it would have on rural economies. In a largely rural state, such as
New Mexico, using a metropolitan county's wage rate would inflate rural wage rates above what the
local economy can support and would undermine existing methods of incentivizing rural construction,
such as subsistence pay to offset food and lodging.

       Third, by equating rates between metropolitan and rural areas, the rule would disincentivize
workers from taking on higher-paying jobs in metropolitan areas, which have numerous additional out-
of-pocket expenses for such workers, including but not limited to commuting, parking, subsistence,
and other related costs. As a result, equating labor across these areas would likely create a shortage of
workers being willing to incur these expenses for work in metropolitan areas when they can earn an
equivalent wage in rural areas devoid of these out-of-pocket expenses. This would in-turn drive up
wages further in metropolitan areas to re-create the incentive to take on these metropolitan jobs,
thereby further increasing inflation.

       Lastly, in States without right-to-work protections, construction unions are more heavily
concentrated in large- and especially mid-sized metropolitan areas than in rural areas.8 Using a
metropolitan county's wage rate in a rural county would unfairly apply union wages to many counties
where workers have not chosen to unionize.




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  Sun, Philips, & Zhao. "Hierarchy Divisions of the Ab ility to E ndure Commute Costs: An A na lysis based on a Set of Data
abo ut Construction Workers," Journal of Economics and Development Studies, Availab le at
http://jedsnet. com/ journ a ls/ jeds/Vol 8 No 4 December 2020/ 1.pdf; Sun, Karen. "A na lysis of the Factors Affecting the
Com mute Distance/T ime of Construction Workers," lntem ational Journal of the Arts and Humanities, Available at
http://ijah.cgrd.org/images/V ol6No I/3 .pdf
7
  https://www.federal register.gov/d/2022-05346/p-24 3
8 https ://constructioncoverage.com/research/most-un ion ized-c ities- in-ame rica



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        For these reasons, we ask that the Agency retain the ban on cross-consideration of metropolitan
and rural wage data and consider county groupings that would not artificially increase the wages of
rural construction workers.

VII.    CHANGES TO 29 C.F.R. § 1.3(D)- USING OBA-COVERED FEDERAL PROJECT
        DATA TO DETERMINE PREVAILING WAGES ON BUIDLING AND RESIDENTIAL
        CONSTRUCTION WAGE DETERMINATIONS

        The Agency proposes changes to 29 C.F.R. § 1.3(D) that would allow the use of federal or
federally assisted projects subject to the DBA when determining prevailing wages on building and
residential wage determinations. Currently, this is only possible when " it is determined that there is
insufficient wage data to determine the prevailing wages in the absence of such data" or when
compiling wage rate data for heavy and highway wage determinations. 9 The Agency proposes the
change, since the 1982 changes that disallowed the use of federal project wage data was based on the
minimal financing used on such projects.

        First, as litigation by labor unions following the 1982 changes makes clear, 10 Senate and House
reports to the DBA clarify that the measure of "projects of a character similar" should be private, not
federal projects:

        The purpose of this measure is to require contractors and subcontractors engaged in
constructing, altering, or repairing any public building of the United States .. . to pay their employees
the prevailing wage rates when such wage rates have been established by private industry. 11

(Emphasis added). The DBA was passed with this intention in mind, and any change in the prevalence
of federally funded building and residential projects does not alter the statutory limitation made clear
by the legislative history of the DBA. Accordingly, to suddenly allow the use of federally funded
building and residential projects would violate the Act' s purpose as well as established case law.

       Secondarily, to suddenly use wage data from federally funded projects would increase wages at
a time when inflation has been spiking over the past three years. Based on the clear statutory authority
and case law precedence, DOL must maintain the current practice of establishing a prevailing wage by
surveying for the wages paid on private work in the local area, NOT public projects.

VIII. CHANGES TO ADD 29 C.F.R. § 1.3(E)- PERMITTING THE USE OF WAGE DATA
      FROM COLLECTIVE BARGAINING AGREEMENTS ("CBAS") DEEMED TO BE
      "FUNCTIONALLY EQUIVALENT" TO NON-CBA WAGES

       IEC strongly opposes the use of CBA wage data deemed " functionally equivalent" to non-CBA
wages in a labor classification. 12 Although IEC appreciates DOL's intention of obtaining additional
data points for the purpose of determining a single, predominant wage, based on the Agency ' s
discussion, it is not sufficiently clear what principle will guide the Agency ' s finding that varied rates
are nonetheless functionally equivalent. Additionally, if the intent is to broaden the set of wages that

9
  29 C.F.R. § 1.3(0)
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   AFL-CIO v. Donovan, 712 F.2d 611 , 616 (D.C. Cir. 1983).
11
   S.REP. No. 1445, 71st Cong., 3d Sess. 1-2 (1931)
12
   https://www.federalregister.gov/d/2022-05346/p- I08


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can fall under a single wage, then there is no reason the Agency could not also find non-CBA wages
"functionally equivalent" so long as they fall within the same acceptable variation proposed for CBA
wages deemed functionally equivalent. The Agency's example of CBA "zone rates" employed to
compensate union employees for travel or lodging away from home is not unique to work performed
by unionized labor. 13 Such stipends and pay inducements exist in certain non-CBA contexts, and there
is no reason to think that they could also be treated as functionally equivalent. IEC opposes the
inclusion of CBA wage rates, but if they are to be used, then the Agency should at least allow the use
of non-CBA rates that are functionally equivalent as well. This would have the benefit of further
broadening the sample size of available wage rates.

IX.     ADDITIONS OF PARAGRAPHS (G), (H), (I), AND (J) TO 29 C.F.R. § 1.3, ADOPTING
        ST ATE PREVAILING WAGE RATES.

        One upshot of the Agency' s proposed adoption of wage increases every three years is that the
increase is based on the BLS's scientific statistical sampling methods. Contrast this to the proposal to
allow the DOL Administrator to adopt- rather than merely consider, as is currently the case-the
prevailing wage rates set by State and local governments. 14 IEC opposes this proposal for several
reasons.

       First, DOL should only consider wage rates in states that open wage surveys to all companies,
both union and non-union, participating in the classification for which a wage determination is sought.
New Mexico, for example, does not allow non-union shops to participate in state wage surveys.
Adopting that wage rate would result in the exclusion of approximately 92% of the state construction
workforce from wage determinations, resulting in a skewed perspective on wages with grave
consequences for inflation and the price of commodities in the state. 15

        Second, the Agency makes the adoption of state and local rates conditional on criteria outlined
in proposed paragraphs 29 C.F.R. § 1.3(h)(l)-(4). Among these conditions is the determination,
required by the Administrator, that the State or local government " [use] a survey or other process that
is open to full participation by all interested parties," 16 which would then set a wage rate that "reflects
both a basic hourly rate of pay as well as any prevailing fringe benefits ... calculated separately," 17
employ similar labor classifications 18 , and employ "substantially similar" criteria used by the
Administrator when making wage determinations. 19 While the last criterion suggests some fealty to
DOL regulations, the ability to merely adopt-rather than consider-state and local wage
determinations converts key provisions of the regulations governing wage determinations into mere
suggestions. The state procedures must be found fu lly compliant with DOL regulations prior to
adoption. For these reasons, IEC opposes the proposed revision as being contrary to regulatory
requirements.

X.      CHANGES TO 29 C.F.R. § 5.2 AND§ 5.2(1), EXPANDING SITE OF THE WORK AND

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   https://www .abq journal.com/45 5064/thank-nms-nonun ion-consn·uction-workers-today .htm I
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   https://www.federa lreg ister.gov/d/2022-05346/p-933
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        CHANGING THE DEFINITION OF "MATERIAL SUPPLIER."

        A.       Site of Work Changes

       IEC strongly opposes the proposed changes to 29 C.F.R. § 5.2(I) expanding the activities
considered to take place at the "site of work" despite occurring at secondary work-sites. This change
would affect thousands of electrical contractors who engage in prefabrication off site and would
substantially increase costs for contractors that would be passed on to the taxpayer. Under the
proposed changes, off-site work will not simply encompass facilities established specifically for the
performance of a project but will also include long-established facilities where "significant portions"
of elements for designated buildings or works are constructed.

        First, the DBA expressly states that its coverage is limited to construction performed at the "site
of the work." The statutory language is clear:

        The contractor or subcontractor shall pay all mechanics and laborers employed directly on the
        site of the work, unconditionally and at least once a week, and without subsequent deduction or
        rebate on any account, the full amounts accrued at time of payment, computed at wage rates not
        less than those stated in the advertised specifications, regardless of any contractual relationship
        which may be alleged to exist between the contractor or subcontractor and the laborers and
        mechanics. 20

Numerous court decisions during the 1990's rejected DOL efforts to expand the scope ofDBA
coverage to pre-fabrication activities away from the construction site or transportation to and from the
site. In Ball, Ball & Brosamer, Inc. v. Reich, the D.C. Circuit held that including "workers at off-site
facilities is inconsistent with the plain language of [§3142] of the Davis-Bacon Act, which requires the
payment of prevailing wages only to 'mechanics and laborers employed directly upon the site of the
work."21 While that court allowed a possible exception for work sites "located in actual or virtual
adjacency to the construction site," off-site facilities that were miles away from the actual site were
specifically found not to fall under DBA language. 22 To supp01t its plain language argument, Ball
cites Building & Construction Trades Department v. United States Department ()/'Labor Wage Appeals
Board ("Midway"). 23 In Midway, the court likewise endorsed a plain language reading of the DBA:

        [W]e find, not surprisingly, that Congress intended the ordinary meaning of its words; the
        phrase "mechanics and laborers employed directly upon the site of the work" restricts coverage
        of the Act to employees who are working directly on the physical site of the public building or
        public work being constructed. 24

Just like in Ball and Midway, L.P. Cavett Company v. U.S. Dep't ofLabor found the DBA's plain
language required coverage only for work completed directly at the physical site:



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   40 U.S.C. §3142(c)(l)
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   Ball, Ball & Brosamer, Inc. v. Reich, 24 F.3d 1447, 1451 (D.C. Cir. 1994)
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   Id. at 1452.
23
   Building & Construction Trades Department v. United States Department of labor Wage Appeals Board, 932 F.2d 985
(D.C. Cir. 1991)
24 Midway, 932 F.2d at 992.



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           Where the language of the regulation is clear and plain, not only is there no reason to let the
           Director offer an interpretation of it, and no reason to consult the legislative history, but there is
           every reason not to do so.

           The statutory phrase "employed directly upon the site of the work" means that only employees
           working directly on the physical site of the public work under construction have to be paid
           prevailing wage rates. 25

Despite noting these cases in passing without providing substantive analysis of how the proposed
regulations are permissible under these interpretations of the DBA,26 DOL now proposes to reopen this
previously settled issue by expanding the definition of the construction "site." While this is not the sole
basis, the fact that this change does not comport with law alone supports IEC' s opposition to this
expansion of the definition of the "site of work".

        In addition to being contrary to law, the changes would increase the wages paid to off-site
workers and contribute towards inflation near the areas where the off-site facilities are located. The
change also carries significant administrative costs and would increase management and reporting
costs significantly, costs that would ultimately be borne by the taxpayer. The administrative
difficulties are clear. Under the proposed changes, contractors would be required to account for
different wage rates for numerous projects at numerous different sites despite assembly occurring at a
centralized site staffed by workers operating in close proximity. Many of these workers would be
compensated in accordance with different wage decisions despite engaging in the exact same work.
For example, if a contractor is prefabricating hangers that will be used in four different sites, they will
now be expected to track and break out different pay rates for the same work; this will be an
administrative challenge and even cause well-intentioned contractors compliance issues, added costs,
and potentially penalties.

         The change will also hamper pay transparency at off-site facilities. In addition to Federal
protections mandated by the Office of Federal Contract Compliance Programs that require pay
transparency,27 the emerging consensus among many states is that contractors should publish pay
ranges. 28 Multiple wage determinations at the same off-site facility would increase pressure on
management to level wages. While this pressure may be good in some contexts, namely, where
different pay is explained by discriminatory factors, those factors will not account for variation in pay
for the same work under different projects, and this would be an unfair consequence of the change.
This could also lead to worker unrest as employees jockey for the higher paying projects.

           B.       Changes to the Definition of "Material Supplier"

        The Agency proposes to revise the "material supplier exception" to require such suppliers to
meet three criteria. To summarize, in order to qualify as a material supplier, the work must be the
delivery of materials, articles, supplies, or equipment; the supplier must supply those to the general
public, and its facility cannot be established specifically for the contract or project nor located at the


25 L.P. Cavett Company v. U.S. Dep't of Labor, 101      F.3d 1111 , 1115 (6th Cir. 1996)
26 https://www.federa lregister.gov/d/2022-05346/p-342
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     https://www.doI.gov/agencies/ofccp/fags/pay-transpare ncy
28 https://www.nat la wrev iew .com/artic Ielem erg in g-trend-state-pay-trnnspare ncy- laws



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site of the work. 29 IEC opposes changes to the definition of "material supplier," that includes the
requirement that a material supplier supply its products to "the general public."

       First, contractors cannot be expected to know what other customers the supplier might support.
Second, what would constitute the "general public." For instance, if a supplier has a limited set of
contract relationships with four different suppliers, would that count as servicing the "general public"?
The ability of a supplier to only service a limited number of customers should not ipso facto create a
subcontract relationship with that supplier. Rather than seek to draw arbitrary boundaries between
material suppliers and subcontractors based on a vague reference to the "general public", the proposed
requirement should be omitted entirely.

XI.      CHANGES TO 29 C.F.R. § 5.5(A)(3)(1) AND § 5.5(A)(3) AND (C)-INCREASED
         RECORDKEEPING REQUIREMENTS.

        IEC further opposes any additional recordkeeping requirements. The Agency proposes to
change 29 C.F.R. § 5.5(a)(3)(i), Basic record requirements, to require contractors to maintain records
for three years. Simply put, IEC understands this to already be a requirement under 29 C.F.R. but also
the Federal Acquisition Regulation, namely, 48 C.F.R. § 4.7. Changing the language of the regulation
introduces confusion and is unnecessarily duplicative of other regulatory requirements.

         The Agency also proposes to add § 5.5(a)(3)(i)(B), which would require contractors to maintain
a list of telephone numbers and email addresses for its employees. Current requirements are that the
record include the name, address, and social security numbers, in addition to the classification and
hourly rates of wages paid. 30 In its discussion of the telephone and email requirements, the Agency
states the following:

        The new or additional recordkeeping requirements in the proposed revisions to § 5.5(a)(3)
        likely do not impose an undue burden on contractors or subcontractors, as they likely already
        maintain worker telephone numbers and email addresses and may already be required by
        contracting agencies to keep contracts and related documents. 31

However, it is one thing to maintain this contact information so that a contractor can contact its
employees, and yet quite another to make this a regulatory requirement, the breach of which could
result in suspension of payment, advance, guarantee of funds, or even a debarment action. First,
employees may not wish to provide a telephone number or email address or may simply not have
either. Second, maintaining an accurate and up-to-date contact list for employees should not be a
general regulatory mandate, since under the Privacy Act of 1974, that information is not "relevant and
necessary to accomplish a purpose of the agency required to be accomplished by statute or by
executive order of the President."32 The Privacy Act applies to government contractors as well:




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   https://www.federalregister.gov/d/2022-05346/p- I 093
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   29 C.F.R. § 5.5(a)(3)(i)
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   https://www.federalregister.gov/d/2022-05346/p-404
32
   5 U.S.C. § 552a(e)(l)


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             When an agency provides by a contract for the operation by or on behalf of the agency of a
             system of records to accomplish an agency function, the agency shall, consistent with its
             authority, cause the requirements of this section to be applied to such system. 33

       The Agency has not explained how the collection of telephone numbers and email addresses is
necessary to accomplish the purposes of the DBA, and they should not require contractors to collect
and maintain this information, which will only impose additional burdens and potential liability onto
such contractors.

XII.        CHANGES TO 29 C.F.R. § 5.2- EXPANDING TYPES OF ACTIVITIES
            CONSTITUTING "CONSTRUCTION" TO INCLUDE SOLAR PANELS, WIND
            TURBINES, BROADBAND INSTALLATION, AND THE INSTALLATION OF
            ELECTRIC CAR CHARGERS

         The Agency is proposing to add "solar panels, wind turbines, broadband installation, and the
installation of electric car chargers" to the list of characteristics of a "building or work" at 29 C.F.R.
§ 5.2(i). IEC opposes this change.

         First, the list is deemed to be illustrative, and includes "such as ... " to indicate that there are
several improvements that would be covered by DBA regulations that are not included on the list. If
the Agency believes these are already covered by the list, then there is no need to further expand an
illustrative list. Second, the use of "such as" is vague and ambiguous and fails to provide contractors
with explicit notice of the items being added to the list of characteristics of a " building or work."
Third, solar panels, wind turbines, and electric car chargers should not be covered by DBA. There are
several energy related federal financial assistance programs created to encourage the use of green
energy in residential and commercial buildings. 34 Adding a requirement to pay DBA wages on
construction projects-particularly design-build projects-will disincentivize their use, as contractors
will search for methods of cutting costs. This will affect the country' s ongoing effort to achieve
energy independence and of cutting emissions.

       For that reason, IEC opposes the expansion of the list of characteristics that might constitute
"building or work."

XIII. ADDITIONS TO 29 C.F.R. § 5.2- ADDING TO THE DEFINITION OF
      "CONSTRUCTION, PROSECUTION, COMPETION OR REPAIR" TO INCLUDE
      "HAZARDOUS WASTE REMOVAL, LAND RECYCLING, OR RECLAMATION
      THAT   INVOLVE   SUBSTANTIAL    EARTH   MOVING, REMOVAL  OF
      CONTAMINATED SOIL, RE-CONTOURING SURFACES, AND/OR HABITAT
      RESTORATION" TO THE DEFINITION OF CONSTRUCTION

        IEC opposes the creeping expansion of the definition of construction contemplated by the
inclusion of certain work that bears no relation to the construction of a building or public work. The
plain language of the DBA applies the wage standards to "every contract ... for construction,
alteration, or repair, including painting and decorating, of public buildings and public works of the


33
     5 U.S.C. § 552a(m)(2)
34   https ://www. en enz.y.gov/eere/so Iar/energy-re lated-fed era 1-fin anci a I-ass istan ce-proQ.ra111 s

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Government." (Emphasis added). 35 The expanded list that the Agency argues falls under the definition
of "construction, prosecution, completion or repair," including but not limited to "hazardous waste
removal, land recycling, or reclamation that involve substantial earth moving, removal of contaminated
soil, recontouring surfaces, and/or habitat restoration," falls outside of the statutory scope that the DBA
was enacted to cover. Indeed, these are not construction activities and expanding the DBA to cover
such activities represents a slippery slope to all manner of work that is not related to the construction,
alteration, or repair of a building or public work.

          Accordingly, IEC respectfully requests this proposed change be rescinded.

XIV.      CHANGES TO 29 C.F.R. § 5.12(A){l)-EXPANDING DOL'S DEBARMENT
          REGULATIONS PERTAINING TO "RELATED ACTS" TO ALSO COVER NON-DBA
          FEDERAL A WARDS

         IEC objects to broadening the debarment provision of the DBA to apply to the "Related Acts"
as this likely exceeds the statutory authority of several if not all of the "Related Acts."

          The scope of DBA debarment authority is plainly stated in the statute:

         RESTRICTION ON AWARD ING CONTRACTS.- No contract shall be awarded to persons
         appearing on the list or to any firm, corporation, partnership, or association in which the
         persons have an interest until three years have elapsed from the date of publication of the list. 36

(Emphasis added).

        The Agency's proposal to simply bring 71 separate statutes37 under the same scope as DBA
may likely exceed the statutory authority under those 71 "Related Acts." Based on the proposed rule,
DOL appears to be using the authority under the DBA' s statutory debarment provision and applying
such to covered activities of "Related Acts." While it is clear that some of the "Related Acts" give the
Secretary of Labor enforcement authority under the DBA,38 the Agency's explanation of the expansion
of debarment to "Related Acts" on a carte blanche basis where no such authority exists is contrary to
law and generally accepted cannons and axioms of statutory interpretation. Accordingly, IEC requests
that DOL adhere to the debarment requirements plainly stated in the "Related Acts," if any, rather than
expanding their scope beyond what these statutes provide for.

XV.      CHANGES TO 29 C.F.R. § 5.6(A)(Il)(E)-REOUIRING CROSS-WITHHOLDING OF
         AMOUNTS DUE TO A CONTRACTOR ALLEGED TO HAVE VIOLATED WAGE



35
   40 U.S.C. §3142(a)(emphasis added)
36
   40 U.S.C. §3 144(b)(2)(emphasis added)
37
   A full list of the acts can be found here: https://casetext.com/ regulatio n/code-of-federal-regulatio ns/title-29- labor/s ubtitl e-
a-office-of-the- secreta1y-of-l abor/pait-5-1 abo r-standards-prov is ions-app Ii cab Ie-to-con tracts-coverin g-fe dera 11 y- financed-
and-ass isted-con stru ction-a lso-labor-sta n <lards-prov is ions-app Iicab Ie-to-noncon structi on-contracts-subject-to-the-contract-
work-hours-and-sa fety-standard s-act/su bpart-a-da vis-bacon-and-re Iated-acts-prov is ion s-ancl-proced ures/sectio n -5 1-
purpose-an d-scope
38
   For example, Part II, Article 15.1 (b)(i) of the Delaware River Basin Compact (sec. 15.1 , 75 Stat. 714, Pub. L. 87-328)
gives the Secretary of Labor such authority, available at https://w ww.govinfo.gov/content/pkg/STATUTE-
75/pdf/ST A TUT E- 75-Pg688.pdf.


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            REQUIREMENTS

        IEC opposes the introduction of cross-withholding as exceeding the authority provided by the
plain language of the DBA. The proposed rule would require the agency to:

            ... withhold or cross-withhold sufficient funds to remedy any back wage liability resulting from
            the failure to incorporate the correct wage determination or otherwise identify and obligate
            sufficient funds through a termination settlement agreement, bond, or other satisfactory
            mechanism. 39

Under the DBA, contracting officers may make certain withholdings to compensate workers for wages
required by the contract but not paid by a contractor:

            [T]here may be withheld from the contractor so much of accrued payments as the contracting
            officer considers necessary to pay to laborers and mechanics employed by the contractor or any
            subcontractor on the work the difference between the rates of wages required by the contract to
            be paid laborers and mechanics on the work and the rates of wages received by the laborers and
            mechanics and not refunded to the contractor or subcontractors or their agents. 40

Under this statute, the withholding authority relates to accrued payments for "the work" on which
laborers and mechanics are employed. It does not authorize a withholding of funds related to other
works or other DBA-covered or non-DBA-covered contracts. Additionally, the Agency' s explanation
of its authority acknowledges that, unlike amounts that might be due by a contractor to the federal
government and that could therefore be subject to an offset on a future payment, there is no "mutuality
of debts" between a contractor and the government when a contractor owes a worker wages that would
justify a cross-withholding. Despite recognizing this, as well as the need for specific contractual assent
for cross-withholding by contractors, the Agency seeks to require cross-withholding by regulation.
The Agency does not have this authority under either the DBA or under the Bureau of Fiscal Service's
Treasury Offset Program, as funds owed to workers are not owed to the Government. Accordingly,
IEC opposes the addition of a mandatory cross-withholding in the proposed regulations.

         Second, the Agency should revisit its cross-withholding program to strengthen contractors'
rights to due process before taking the extraordinary action of making a withholding. The
government's ability to withhold payment prior to a formal finding of wrongdoing violates the spirit of
due process and subjects the contractor to potential harm far in excess of the withholding as the
contractor may be unable to meet payroll, loan, bond or other obligations that could irreparably harm
the contractor. The Agency should allow review by Administrative Review Boards prior to
withholding any amounts owed and then pursue contractors for amounts due to employees in case of a
violation. As the proposal stands, a company would likely face bankruptcy in light of cross-
withholdings and could put workers out of jobs entirely. Moreover, it is not as though the government
does not have other, potentially more onerous and effective enforcement mechanism already provided
under the law, such as civil and criminal penalties, and/or administrative remedies such as suspension
or debarment for contractors knowingly violating requirements under the DBA.



39
     https://www.federalregister.gov/d/202?-05346/p-1198
4
    o 40 U.S.C. §3142(c)(3)


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XVI.     ADDING 29 C.F.R. § 5.5(A)(ll) AND (B)(5)-"ANTI-RETALIATION" PROVISIONS

       DOL is proposing to add new provisions penalizing contractors that retaliate against workers
who complain of prevailing wage violations. IEC opposes the additions as duplicative and could
unnecessarily expand the number of claims against contractors. Under current law, contractor
employees are already entitled to whistleblower protections:

         An employee of a contractor, subcontractor, grantee, or subgrantee or personal services
         contractor may not be discharged, demoted, or otherwise discriminated against as a reprisal for
         disclosing . .. information that the employee reasonably believes is evidence of gross
         mismanagement of a Federal contract or grant ... or a violation of law, rule, or regulation
         related to a Federal contract (including the competition for or negotiation of a contract) or
         grant.41

In addition to this statute, the Federal Acquisition Regulatory Counsel has already published
regulations prohibiting retaliation related to the disclosure of compensation information. 42 These anti-
retaliation provisions are in addition to those found in a host of other statutes, including, but not
limited to the Fair Labor Standards Act (FLSA); the Family and Medical Leave Act (FMLA); the
Migrant and Seasonal Agricultural Worker Protection Act (MSPA); the H- 1B, H-1B1 , E-3, H-2A, and
H-2B provisions of the Immigration and Nationality Act (INA); the United States-Mexico-Canada
Agreement (USMCA); Executive Order (EO) 13706, Establishing Paid Sick Leave for Federal
Contractors; EO 13 65 8, Establishing a Minimum Wage for Contractors; EO 14026, Increasing the
Minimum Wage for Federal Contractors; the Consumer Credit Protection Act (CCPA); and the
Employee Polygraph Protection Act (EPPA).43

XVII. ADDITION OF 29 C.F.R. § 5.5(E)-HOLDING CONTRACTORS RESPONSIBLE
      WITHOUT NOTICE OF OBA REQUIREMENTS.

        IEC opposes the Agency 's introduction of the proposed provision at§ 5.5(e), stating that
certain provisions omitted from the contract are nonetheless included "by operation of law." First, this
cannot apply to all DBA provisions, for example, cross-withholding, which requires the assent of the
contractor. Second, this addition violates notice requirements integral to basic contract and due
process principals. Omitting entire requirements and then demanding compliance with a complicated
and costly regulatory regime would create significant confusion and uncertainty among contractors
when reviewing bidding opportunities and entering into a contract. Indeed, the uncertainty that this
may create, especially when these proposed rules seek to include less than clear language as to the
applicability of the DBA (see Comment at Section X) may result in: a) many contractors to opt out of
DBA (or potentially DBA) covered work thereby leaving the government with less competition, which
in turn would result in higher prices; and/or b) contractors hedging whether a project is DBA covered
and therefore submitting a bid that may account for the DBA, when it is in fact not covered, but still

41
   4 I U.S. C. §4712, ava ilable at http://uscode. house.gov/view.xhtml?reg=(title:4 I %20section :4 7 I2%20edition:prelim)
42
   See DoD, GSA, and NASA adopted as final, without change, an interim rule amending the Federal Acquisiti on
Regulation (FAR) to implement Executive Order (E.O.), Non- Retaliation for Disclosure of Compensation Information. The
interim rule a lso implemented a final ru le issued by the Department of Labor, 83 FR 42570, available at
https://www .federalregister.gov/documents/2018/08/22/201 8- 17826/federa l-acguisition-regulation-non-reta liation-for-
disclosure-of-compensati on-information
43
   https ://www.dol.gov/sites/do!gov/fi les/ WH D/fab/fab-2022-2 .pelf


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placing these added costs onto the taxpayer. Either way, a no notice approach will lead to higher
prices merely to absolve the oversight of professional contracting officials.

        Finally, any allusion to the Christian doctrine is misplaced. That doctrine requires the
incorporation of mandatory provisions required by statute or regulation. It does not govern clauses that
are merely included because the contractor agrees to enter a contract with the government, such as
agreeing to be subject to cross-withholding. Without requiring notice in the form of contract
provisions, contractors would have to track all the different regulatory changes (wage rates) from
location. This would substantially increase the cost of compliance for contractors. IEC emphasizes
that the responsibility of ensuring clear requirements are published and accessible must fall on the
agency and its professional contracting official implementing the rules, not on contractors subject to
the rules.

XVIII. PROPOSED REVISIONS TO §§ 1.3 AND 5.5-ALLOWING PRE-APPROVAL OF
       CONFORMED CLASSIFICATIONS AND WAGE RATES WITHOUT CONTRACTOR
       INPUT

        IEC opposes the Agency ' s introduction of a procedure to identify wage and fringe benefit rates
on classifications for which there is insufficient data without contractor input. The Agency proposes a
process whereby the Administrator "would be authorized to list the classification on the wage
determination along with wage and fringe benefit rates that bear a ' reasonable relationship' to the
prevailing wage and fringe benefit rates contained in the wage determination." 44 While this
preapproval process might increase predictability and would inform contractors' bids, it also removes
them from the process of determining the appropriate rate. This change eliminates contractors' rights
to dispute a proposed classification and wage rate, currently found at 29 C.F.R. § 5.S(a)(l)(ii)(C). IEC
insists on providing a mechanism whereby contractors can challenge the Administrator's proposed
classifications and provide reasonable alternatives.

XIX.       ADDING FRINGE BENEFIT ANNUALIZATION REQUIREMENTS TO THE
           REGULATIONS AND CODIFYING ADMINISTRATIVE COSTS RESTRICTIONS.

        IEC opposes the requirement that contractors obtain DOL review and approval of existing
fringe benefits plans within 18 months after the published rule. These plans have met DOL ' s
longstanding criteria, and the approval process will dramatically increase regulatory burdens on
contractors and DOL itself. Additionally, IEC opposes the annualization of non-DBA work in an
hourly rate, as this will strip benefits from thousands of employees at no fault to themselves. While
IEC understands the Agency's intent of ensuring that DBA wages are paid directly to employees, the
current regulations allow contractors to develop other alternative methods of complying beyond the
straightforward payment of wages, such as a fringe 401k accounts. The requirement that plans allow
"immediate participation and immediate vesting" eliminates fringe 401k plans from DBA creditability.
IEC therefore opposes this change.

XX.        CHANGES TO 29 C.F.R. § 5.5(A)(4)(1)- APPRENTICESHIP WAGE PORTABILITY

       IEC shares concern over changes to how apprenticeship rates and ratios are to be determined
under the proposed regulations, namely, based on the locality of the project. One critical feature of

44
     https://www. federalregister. gov/d/2022-05346/p-280


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apprenticeships is that they are not required to receive full DBA wages but rather a percentage
specified by the approved apprenticeship program. This will constitute a huge burden on
apprenticeship programs across the country, who will be required to register programs in additional
localities in order for apprenticeship to journeyman ratios to be reliable. It also places a burden on
apprenticeship programs from DBA regulations that is not meant to exist- namely, the locality-
specific rules. Apprenticeships exist to provide valuable experience and training at a rate of pay
determined by the apprenticeship program. So long as there is a reasonable ratio of apprentices to
journeymen, the rate of pay set by the program should be honored in any locality. The Agency
provides no guidance for situations where localities have no apprenticeship program. What does the
Agency propose in those circumstances? IEC requests additional clarity surrounding these changes.

XXI.    CHANGES ADDING 29 C.F.R. § 5.5(6>::::STATING THAT UPPER TIER
        SUBCONTRACTORS CAN BE HELD RESPONSIBLE FOR VIOLATIONS OF LOWER
        TIER SUBCONTRACTORS.

        The Agency proposes to codify certain Administrative Review Board ("ARB") decisions
regarding the liability of upper-tier contractors for offenses committed by lower-tier subcontractors
against employees. 45 IEC opposes this expansion of the regulatory language.

        First, the cases cited by the Agency do not support a blanket liability provision. In Ray Wilson
Co., the vice president of a prime, Aztec, had prepared the lower-tier subcontract of a DBA-violating
firm. Aztec also did not include DBA provisions in its own agreement. These specific issues govern
the case and the Board's finding that Aztec had violated its requirement "to ensure that its lower-tier
subcontractor R&F properly complied with the wage payment and record keeping requirements on the
project."46 The Board also did not cite any provision of DBA or regulations to support its finding.
Indeed, in this instance it may have been appropriate for Aztec to be held responsibility for its
subcontractor's violations of the DBA due to its failure to include the DBA in the lower-tier
subcontract. Second, nothing in Norsaire Sys. , Inc. , also cited by the Agency, suggests the need for a
broad rule holding that a prime contractor should be responsible, as the proposed language indicates,
"for the compliance by any subcontractor or lower tier subcontractor with all the [DBA-required]
contract clauses. " 47

        Rather, as these cases cite no DBA or regulatory provisions in support of the holdings, IEC
would strongly recommend that the Agency follow the approach of many regulatory scheme' s
applicable to government contractors that explicitly allow upper-tier contractors to rely on the
certifications of lower-tier subcontractors with respect to certain compliance obligations. For example,
the small business program administered by the Small Business Administration has long allowed
upper-tiered contractors to rely upon the size certifications of small businesses and have not imposed a
duty to inquire unless there was a reason to believe the certification was inaccurate. Here, the proposed
language is overly harsh, relies on Board decisions where the upper-tiered contractor was involved in
or had direct culpability for the noncompliance, and would greatly increase the compliance costs of



45
   See https://www.federalregister.gov/d/2022-05346/p-434, discussing Ray Wilson Co., ARB No. 02-086, 2004 WL
384729, at *6 (Feb. 27, 2004); Norsaire Sys., Inc., WAB No. 94-06, I 995 WL 90009, at* I (Feb. 28, 1995)
46
   Ray Wilson Co., ARB No. 02-086, at * I 0
47
   https://www.federalregister.gov/d/2022-05346/p- 1 164


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upper-tier contractors, who would have to expend significant costs to audit subcontractors. For these
reasons, IEC firmly opposes the proposed language.

xxn. DOL ASKS FOR COMMENT ON HOW TO TREAT THIRD-PARTY FRINGE
       BENEFIT ENTITIES WHICH BOTH PERFORM ADMINISTRATIVE FUNCTIONS
       AND ACTUALLY DELIVER BENEFITS. NO CHANGE IS CURRENTLY PROPOSED.

The Agency invited comments on regulations governing whether third-party entities who perform
certain administrative functions or administer benefits should be changed. IEC endorses the status quo
regulations, as they are clear and IEC member entities would experience an increase in compliance
costs to account for additional changes.

XXIII. CONCLUSION

        For the reasons presented above, the proposed DOL changes should be rescinded in full, more
time should be provided for the public to carefully consider these changes, and/or, at a minimum,
many of the proposed changes should be abandoned or revised as they are contrary to the plain reading
of the DBA and/or may further exacerbate inflation and costs onto federal taxpayers.

       IEC appreciates your time and attention to these conunents and concerns, and welcomes any
questions that you may have.




                                                    Vice President, Government Affairs




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                                                 May 17, 2022

The Honorable Martin J. Walsh
Secretary
U.S. Department of Labor
200 Constitution Avenue, NW
Washington, D.C. 20001

Re: Updating the Davis-Bacon Act and Related Regulations, [RIN 1235-AA40]

Dear Secretary Walsh,

We write in opposition to the Department of Labor’s (DOL or “the Department”) March 18,
2022 Notice of Proposed Rulemaking (NPRM) to amend regulations issued under the Davis-
Bacon and Related Acts (Davis-Bacon or DBRA). By rescinding reforms of the 1981-1982
rulemaking, the proposal is misguided. The 1983 Final Rule revised the prevailing wage
definition to allow open-shop contractors to bid on DBRA covered contracts on an equal footing
with their unionized counterparts. The 1982 Final Rule also eliminated a number of regulatory
impediments that discriminated against the ability of many small firms, including a number of
minority-owned construction firms, to bid on federally subsidized construction projects. The
current proposal, by reverting to regulations and policies last employed in the Carter
Administration, represents a massive step backward. Further, it fails to adopt necessary reforms
recommended by government watchdogs, only exacerbating deficiencies in wage survey and
data collection, further inflating construction costs at great detriment to the taxpayer.

The Department claims the proposal addresses a number of enforcement challenges Davis-Bacon
poses “while also providing greater clarity in the modern economy.”1 In reality, the proposal, by
seeking to implement via regulatory fiat over 50 changes in a single rulemaking, will aggravate a
deeply dysfunctional process for determining prevailing wages in civil subdivisions. Far from
modernizing the DBRA, the proposal deliberately degenerates federal prevailing wage
regulations back to the same dysfunctional state they were in prior to the Reagan Administration,
when a wide array of stakeholders and government watchdogs were urging reform, resulting in
the 1982 Rulemaking. By repealing the Reagan-era reforms and ignoring the urgent
recommendations of government watchdogs to truly modernize the DBRA, the Administration is
willfully promulgating fundamentally misguided policy that for decades has resulted in grossly
inflated wages, contravening the original intent of Davis-Bacon.


                                                      EXHIBIT
                                                           5
1
    “Updating the Davis-Bacon Act and Related Acts Regulations”, 87 Fed. Reg. 15, 698 (March 18, 2022).
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The defects in the Davis-Bacon NPRM are numerous. In its present proposal, DOL ignores no
less than four2 General Accounting Office (GAO) reports identifying fundamental flaws in the
Wage and Hour Division’s (WHD) voluntary survey process and excoriating DOL for its
reliance on small, random sample sizes for calculating prevailing wages. The Department fails
to recognize the concluding recommendation of a 2019 audit by DOL’s Office of the Inspector
General (OIG)3 urging the WHD to adopt data from the Bureau of Labor Statistics’ Occupational
Employment and Wage Survey. By ignoring these recommendations, DOL’s pervasive failure to
properly calculate and determine prevailing wages will continue unabated.

Moreover, returning to an antiquated and obsolete definition of a prevailing wage only scratches
the surface of the NPRM’s misguided regulatory policies. By rescinding a key element of the
1982 reform that prohibited cross-consideration of metropolitan and rural wages, the Department
ensures that any wage calculation will over-count inflated urban wages as prevailing in smaller
rural areas. By increasing recordkeeping requirements, expanding DOL’s debarment and
withholding powers and imposing Davis-Bacon prevailing wage obligations through “operation
of law” regardless of whether prevailing wage language is contained within the contract, the
Department places onerous paperwork burdens on contractors while violating basic tenets of
procedural due process. Taken together, these regulatory burdens will only further deter many
minority-owned, smaller construction firms with limited resources from bidding on federal
projects. By attempting to broadly redefine civil subdivisions to include state highway districts
and expand the term “site of work” to include material supply drivers and off-site construction,
DOL contradicts not only the plain language of Davis-Bacon but also D.C. Circuit precedent.
Additionally, by attempting to impose, via executive rulemaking, remedial make-whole relief for
whistleblowers despite lacking express statutory authority to do so, DOL far exceeds its remit
and violates separation of powers principles.

These criticisms of the NPRM are by no means exhaustive, but taken together, reflect serious
concerns with the Department’s misguided objectives and fundamental lack of transparency.
That most of these “reforms” unilaterally benefit labor unions and their interests, despite
unionized firms constituting scarcely thirteen percent of market share4 in the modern
construction workforce, is not lost upon us. This rulemaking, far from reforming Depression-era
federal prevailing wage regulations to adapt to a modern age, represents a significant step



2
  See, e.g., “Davis-Bacon Act Should Be Repealed”, April 27, 1979; “Davis-Bacon Act: Process Changes Could
Raise Confidence that Wage Rates Are Based on Accurate Data”, May 31, 1996 [hereinafter 1996 GAO Report];
“Davis-Bacon Act: Labor Now Verifies Wage Data, but Verification Process Needs Improvement”, January 11,
1999; “Davis-Bacon Act: Methodological Changes Needed to Improve Wage Survey”, March 22, 2011[hereinafter
2011 report].
3
  Report to the Wage and Hour Division: Better Strategies Are Needed to Improve the Timeliness and Accuracy of
Davis-Bacon Prevailing Wage Rates. Office of the Inspector General. March 29, 2019. [hereinafter 2019 IG Report]
4
  Bureau of Labor Statistics Economic News Release, “Union Members Summary.” January 22, 2022. The report
found that just 13.4 percent of wage and salary workers were members of unions in the U.S. private construction
industry in 2020.
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backward, and will only compound the waste, inefficiency, and dysfunction that has plagued the
Department’s oversight and implementation of federal prevailing wage mandates.
    I.      The NPRM fails to adequately justify regulatory revisions to the definition of
            “prevailing wage” or explain DOL’s restoration of the thirty percent rule.
DOL’s proposal is fatally flawed because it fails to justify restoration of the thirty percent rule, a
measure of calculating the prevailing wage that has long been a source of controversy by
nonpartisan government watchdogs for its ability to inflate construction costs. The Department
also fails to support its contention that the Department’s current use of weighted averages
violates the DBRA’s legislative intent with reasoned explanation, much less substantial
evidence. From 1935 until the Reagan era-reforms in 1982, the Department used a three-step
process to determine the prevailing wage. A wage was first deemed to be prevailing if it is paid
to a majority of workers in that class, and if there was no single wage paid to a majority of
workers, any wage paid to at least thirty percent of workers was deemed to be the prevailing
wage.5 Only if no single wage was paid to a thirty-percent plurality were the use of weighted
averages permitted.
However, the NPRM neglects to note that, by the early 1960s, the use of the thirty percent rule as
a predominant means of calculation was beginning to generate concern. In June 1962, J.E.
Welch, the Deputy General Counsel of the Government Accountability Office (GAO), testified
before a labor subcommittee that “the methods and procedures” adopted by DOL for
administration of the DBRA “have not kept pace” with the requirements of the period.6 Welch
supplemented his testimony with extended documentation questioning DOL’s administration of
DBRA, and lamented the lack of “a precise delineation of elements to be ascertained and
evaluated in wage determinations by the Secretary of Labor.”7 Between June 1962 and July
1971, GAO issued a series of eight reports to the Congress with a general theme that, in large
part due to the thirty percent rule: (a) prevailing rates prescribed by the Department were
significantly higher than wage rates prevailing in the local areas and (b) “the higher rates that
resulted from the inappropriate wage determinations not only increased the costs borne by the
Federal Government but also had an adverse and inflationary effect on the economic and labor
conditions in the area of the project and in the country as a whole.”8
Nearly two decades documenting the inefficiency and waste characterizing DOL’s
implementation of Davis-Bacon culminated in GAO’s formal recommendation to repeal the
DBRA in an April 1979 report to Congress.9 The report was issued under the leadership of the
then-Comptroller General of the GAO, Elmer Staats, a veteran, non-partisan public servant
whose career began in 1939 as a staff member within the Executive Office of the President under

5
  29 C.F.R. § 1.2(a); Labor Department Regulation No. 503 § 2 (1935).
6
  Special Labor Subcommittee, Administration of the Davis-Bacon Act, 1962, p. 283.
7
  Id. at 288.
8
  “The Davis Bacon Act Should Be Repealed.” Statement of Elmer B. Staats, Comptroller General of the United
States, Before the Subcommittee on Labor Standards, House Committee on Education and Labor. June 14, 1979, pp.
1-2. [hereinafter Staats Testimony].
9
  Ibid.
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Franklin D. Roosevelt and continued under Democratic and Republican Administrations.10 The
report identified the thirty percent rule as responsible for the calculation of “unrealistic wage
rates.”11 The thirty percent rule’s inflationary impact was detailed throughout, with the report
concluding that “[i]n areas where unions have organized at least 30 percent of the construction
workers, [the union’s] wage scales have an excellent chance of becoming the prevailing rate,
even though 70 percent of the rates paid to other workers may vary by small amounts.”12 The
GAO report also observed that, as union pay scales set forth in collective bargaining agreements
are uniform, whereas open-shop contractors generally recognize different skill categories and
productivity when establishing compensation, the union’s wage scales have a far greater prospect
of becoming the prevailing rate.13 As an illustration, the GAO report highlighted the wage rate of
$12.40 an hour determined to be prevailing for painters in Carson City, NV on the basis of a
wage survey of 11 projects in the area. However, the survey showed that only three of the eight
painters were paid that rate, whereas the other five were paid hourly rates that differed in
gradation. In issuing the $12.40 hour rate paid to only 37.5 percent of the painters as prevailing,
the thirty percent rule gives no consideration to the lower rates paid to the other 62.5 percent of
the painters.
In formal testimony before Congress shortly following the report’s issuance, Staats also
identified a number of flaws within the DBRA, namely that “the policies, practices and
procedures developed by Labor for establishing wage rates under the act have only rarely
implemented the legislative intent.”14 Comptroller General Staats also identified the thirty
percent rule as inflationary, with its use resulting in significantly higher rates than what the
majority of workers were receiving.15 The predominance of higher fringe benefits in union
agreements only exacerbated the disparity, with the level of fringe benefits higher for union
employees than their nonunion counterparts.16 When one considers that fringe benefits are paid
along with the basic wage rate, no less an authority than the Council on Wage Price and Stability
conceded in 1979 that fringe benefits are likely to be larger for union than for nonunion
workers.17 The NPRM’s proposal to annualize fringe benefits will only exacerbate18 this
phenomenon and result in inflated wages.


10
   Elmer B. Staats, born June 6, 1914. Fellow, Brookings Institution, 1938-1939. Staff Member, Executive Office of
the President, Division of Administrative Management, Bureau of the Budget 1939-1943; War Agencies Section
1943-47; Chief, 1945-47. Assistant to the Director, U.S. Bureau of the Budget, 1947-1950; 1958-1959. Deputy
Director, U.S. Bureau of the Budget, 1950-1953, 1959-1966. Executive Officer of the Operations Coordinating
Board, U.S. National Security Council, 1954-1958. 5th Comptroller General of the United States, 1966-1981.
11
   Report to the Congress by the Comptroller General of the United States, “The Davis Bacon Act Should Be
Repealed.” April 27, 1979, 51-52. (hereinafter Staats Report).
12
   Staats Report, at 52.
13
   Ibid.
14
   Staats Testimony, at 6-7.
15
   Ibid. at 32.
16
   Ibid. (noting a study by the Massachusetts Institute of Technology that, on average both the level of benefits and
the proportion of nonunion employees receiving fringe benefits “are much lower than those in the union sector.”).
17
   Ibid.
18
   87 Fed. Reg. at 15,703.
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The rescission of the thirty percent rule in the 1982 rulemaking was thus the result of decades of
nonpartisan GAO reports and independent civil servants asserting, with substantial evidence, that
application of the thirty percent rule resulted in inflated wages. Inflated wages by definition are
not prevailing, and run counter to Davis-Bacon’s statutory command. The report and
recommendations of Elmer Staats, a distinguished veteran of the civil service, is not mentioned
at all within the text of the NPRM. Nor is Comptroller General Staats’s 290-page report
documenting DOL’s chronic failure in administering the DBRA worthy of a mention, a report
which served as a leading impetus of the 1982 reforms. Yet inexplicably, the text of the NPRM
asserts that the thirty percent rule’s rescission, and the Department’s subsequent reliance on
weighted averages “is inconsistent with the text and purpose of the [Davis-Bacon] Act.”19 Such a
pronouncement ignores D.C. Circuit precedent upholding the rescission of the thirty percent rule
and granting the Secretary of Labor wide discretion in calculating the prevailing wage.20 The
D.C. Circuit, in its opinion upholding most of the 1982 Rule’s reforms, noted that the DBRA
delegates to the Secretary the authority to determine which wages are prevailing “in the broadest
terms imaginable.”21 Moreover, the court held that the DBRA’s legislative history documents
that the Secretary could establish the most practical method of determining the prevailing wage.22
A bipartisan D.C. Circuit panel also held that the definition of prevailing as first a majority and
then a weighted average “is within a common and reasonable reading of the term.”23
The NPRM fails to justify why Comptroller Staats’s assertion concerning the causal relationship
between the thirty percent rule and its inflationary impact on wages is no longer applicable.
DOL’s assertion that a reliance on weighted averages is contrary to the text of the DBRA directly
contradicts D.C. Circuit precedent stating precisely the opposite.
     II.     The proposal ignores multiple GAO reports and an IG study documenting
             fundamental flaws within the WHD’s voluntary survey process that has for decades
             tilted the playing field in favor of collectively bargained rates.
The NPRM fails to acknowledge the endemic dysfunction of WHD’s voluntary wage survey
process documented over decades by numerous GAO reports and a recent Inspector General
report. The NPRM’s proposals that aim to remedy the WHD’s chronic inability to update
nonunion wages in a timely fashion, or even to conduct up-to-date surveys with proper
verification, only compound the waste and inefficiency that has characterized DOL’s
administration of DBRA.
For nearly fifty years, numerous GAO reports have documented a variation of the same
deficiency: a complete inability, nearly a century after the DBRA’s implementation, “to develop

19
   87 Fed. Reg. at 15,704.
20
   See Building and Const. Trades’ Dept., AFL-CIO v. Donovan, 712 F.2d 611, 616-617 (1983).
21
   Building and Const. Trades Dept., 712 F.2d at 616.Wh
22
   Ibid. (citing 74 CONG. REC. 6516 (remarks of Rep. Kopp) (“A method for determining the prevailing wage rate
might have been incorporated in the bill, but the Secretary of Labor can establish the method and make it known to
the bidders.”)).
23
   Ibid. at 616-617 (citing 75 CONG. REC. 12,365 (1932)(remarks of Rep. Connery, floor manager of the 1932
amendments)(endorsing an averaging method for determining the prevailing wage)).
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an effective program to issue and maintain accurate wage determinations”.24 Comptroller
General Staats’s 1979 report reviewed a random sample of 73 prevailing wage determinations
and found that surveys had not been made for 22 of the 50 projects and 13 of the 23 area
determinations-nearly 50 percent of the 73 projects reviewed. In those 35 determinations where
surveys were not made, DOL issued rates obtained from union-negotiated collective bargaining
agreements. For wage determinations in effect in October 1976, no surveys were made for 57
percent of the determinations. In all areas covered by the wage determinations, union rates from
collective bargaining agreements prevailed. DOL failed to determine in those wage
determinations how many workers were paid the rates in the locality or the extent of nonunion
wages paid to workers engaged in similar work in the area. The 1979 GAO report also uncovered
chronic deficiencies in DOL’s ability to obtain up-to-date wage data through the voluntary
survey program. In several surveys in each of the then five regions, contractors could not be
contacted or refused to provide data. Voluntary wage data that DOL did manage to obtain was
limited at best, with DOL receiving completed surveys on only about 30 percent of construction
projects nationwide.25 DOL also failed to properly verify the vast majority of wage and
classification data, with payrolls rarely obtained or reviewed.
Further, a May 1996 GAO report found DOL’s voluntary wage survey process to “contain
internal control weaknesses that contribute to [a] lack of confidence in the resulting wage
determinations.”26 Those weaknesses included limitations in DOL’s verification of wage and
fringe benefit data, with surveys in Oklahoma and Tulsa City rife with inaccuracies,
necessitating new wage determinations.27 A March 2011 GAO report found chronically small
sample sizes, with over 25 percent of wage determinations based on six or fewer workers.28 The
2011 report documented the WHD’s inability to conduct up-to-date surveys, resulting in aged
nonunion rates that do not accurately reflect prevailing rates. The 2011 report found that union-
negotiated rates prevailed in almost two-thirds of the published building, heavy and highway
rates, despite unions’ steadily declining market share in the construction industry.29 Union rates
were also automatically updated when new collective bargaining agreements were negotiated,
with 75 percent of union rates 3 years old or less and only 36 percent of nonunion rates 3 years
old or less due to the latter not being updated until DOL conducted a new survey.30 Forty-six
percent of nonunion prevailing wage rates were 10 or more years old, with one regional office
having to update nonunion prevailing rates with a new survey because they no longer complied
with the federal minimum wage. The report also found an inability on the part of DOL to
calculate response rates or conduct non-response analyses.
Most recently, a 2019 Department of Labor Office of Inspector General (OIG) report illustrated
the defects in the WHD’s survey process persist to a disturbing degree. The OIG analyzed wage

24
   Staats Report at 2.
25
   Ibid. at 46.
26
   1996 GAO Report at 2.
27
   Ibid. at 5.
28
   2011 Report at 1.
29
   1996 GAO Report at 18.
30
   Ibid.
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rate age data within the WHD’s Wage Determinations Generation System and found that, of the
4,385 wage rates that were between 21 and 40 years old, 4,353 were nonunion, while only 32
were union.31 A federal agency’s solicitation for a $140 million dollar contract in Texas included
a wage determination with nonunion wage rates last updated in 1988.32 Union wages prevailed
for 48 percent of the 134,738 rates in WHD’s Wage Determination Generation System, despite
accounting for less than fourteen percent of the construction workforce. In seven sampled
surveys within the states of Arkansas, Kansas and Nevada, the WHD was not able to collect
wage data for a single construction worker in any of the 31 counties the published rates
represented.33 Of the more than 8,000 private sector contractors eligible to provide wage data, 53
percent did not respond to WHD’s voluntary surveys.34 Private sector contractors have proffered
a number of reasons for not responding to voluntary surveys, from lacking administrative support
staff to complete the complicated, incomprehensible forms to a fear of furnishing propriety data
that could later be subject to audit.35 When the OIG conducted an onsite verification for 49
selected contractors, a number of inaccuracies were found, including variances in reported and
verified numbers of workers that “could not be explained.” Twenty contractors were completely
non-responsive, declining to participate in onsite reviews.36
To remedy these institutional defects, the 2019 OIG report urged the Department to use BLS
Occupational Employment Survey (OES) Data to develop prevailing wage determinations.37
OES Data is uniquely suited to remedy the institutional defects that define the WHD’s voluntary
survey process, as BLS first strives to make their surveys easy as possible to understand and
complete, testing them with employers before they are placed in the field.38 BLS also follows up
with employers who do not initially respond to surveys, supplementing telephone calls with on-
site visits. OES surveys have higher response rates of at least 78.4 percent, and adjust to correct
for the absence of non-responsive employers, including weighting and imputation.39 The use of
weighting and imputation is essential to correcting small survey sizes and unrepresentative
samples if one hopes to calculate prevailing wages that are even remotely accurate. Given that
the Department has restored a regulatory barrier to the use of weighted averages, as discussed
previously, DOL ensures that prevailing wages will not reflect reality.
Instead, the Department proposes methods, such as the utilization of the BLS Employment Cost
Index, that only serves to perpetuate the status quo. Whereas OES program data collects data on
wage and salaried workers for about 830 separate occupations40, the Employment Cost Index

31
   2019 IG Report at 3, 5.
32
   Ibid.
33
   Ibid. at 11.
34
   Ibid. at 15.
35
   2011 Report at 24-25.
36
   Ibid.
37
   Ibid. at 8.
38
   Polly A. Phipps and Carrie K. Jones, “Factors Affecting Response to the Occupational Employment Statistics,”
U.S. Department of Labor, Bureau of Labor Statistics, Office of Survey Methods Research, November 2007.
39
   U.S. Department of Labor, Bureau of Labor Statistics, BLS Handbook of Methods, Chapter 3.
40
   U.S. Department of Labor, Bureau of Labor Statistics, “Occupational Employment and Wage Survey Data”.
Overview.
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merely accounts for the net increase or decrease in the cost of labor,41 but does, not, as the DBRA
commands, account for prevailing wages paid to “corresponding classes of laborers and
mechanics”.42 The use of OES data would in all likelihood eliminate an impediment preventing
small firms from bidding on projects. Numerous stakeholders have identified job classification
rates missing from wage determinations as a deterrent to bidding on a project, as contractors do
not know what to pay workers and federal contracting agencies cannot accurately estimate costs
if job classification rates are missing. Many small contractors cannot afford the expense of
requesting missing wages from DOL through a conformance process after the protracted
difficulty of bidding on a project. The adoption of more comprehensive OES data would have
ameliorated if not eliminated this impediment, but, as with all matters concerning this NPRM,
the Department has chosen not to follow independent recommendations.
For similar reasons, permitting the WHD to adopt state and local prevailing wages as Davis-
Bacon wages will only further perpetuate dysfunction, as state prevailing wage rates are often
adopted from voluntary surveys containing the same flaws and statistical sampling errors as their
federal counterparts, or are based on a collective bargaining agreement negotiated between an
employer and a union. For example, New York’s prevailing wage inflates state and local
construction costs by 13 to 25 percent, depending on the region, with employer contributions
required to backfill union pension and welfare fund liability shortfalls accounting for more than
10 percent of the total hourly compensation required by the prevailing wage law.43 New York’s
state prevailing wage law has resulted in cost differentials for the taxpayer based on employee
compensation alone. Many state prevailing wage laws, such as New York’s, base their definition
of prevailing rate of wage directly on compensation levels set in CBA, rather than voluntary
surveys, allowing contract administrative costs and union work rules to further inflate wages, at
great detriment to the taxpayer.44
     III.   By permitting the cross-consideration of metropolitan and rural data, the Department
            undermines local wage structures and ensures rural wages will be inflated by
            metropolitan rates of compensation, further undermining the legislative purpose of
            the Davis-Bacon Act.
In rescinding current language barring the cross-consideration of metropolitan and rural data, the
rulemaking ensures wages will be inflated by union negotiated urban rates lacking both
commonality and contiguousness with the rural locality. The importation of locality-distinct
metropolitan wages will further upset the local wage structure. Both measures blatantly
undermine the statutory purpose of the DBRA.
The importation of metropolitan wage data was identified by the Comptroller General in the
1979 report as one which directly contradicts Davis-Bacon’s requirement that prevailing wages

41
   U.S. Department of Labor, Bureau of Labor Statistics. Economic News Release: Employment Cost Index
Summary.” April 29, 2022.
42
   40 U.S.C. § 3142(b).
43
   Empire Center, “Prevailing Waste: New York’s Costly Public Works Pay Mandate.” April 24, 2017.
44
   NY Labor Law § 220.
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be determined in the city, town, village, or other civil subdivision of the State in which the work
is to be performed.45 Previous decisions of the DOL’s Wage Appeals Board (now the
Administrative Review Board) have warned that the importation of wage rates from non-
contiguous counties, cities, and municipalities violates the plain language of the DBRA by
establishing new payment practices rather than reflecting local wages.46 The 1979 GAO Report
noted that “the application of rates from noncontiguous counties and the use of union rates in
predominantly nonunion areas” was “not in accord with the act’s intent, which was to maintain
the local wage structure and not raise or lower wages on the basis of rates prevailing in other
areas.”47 In that spirit, the 1979 GAO report warned that “metropolitan data generally should not
be used to produce data for a rural county or vice versa.”48 In subsequent congressional
testimony, Comptroller General Staats noted that, when inflated metropolitan wages negotiated
by unions are imported into open-shop rural communities, local contractors would prefer not to
bid on Government projects whose rates were higher than those in the locality rather than disturb
existing wage structures. The importation of metropolitan wage data thus had the most adverse
effect on local contractors-those the DBRA was originally intended to protect-by promoting the
use of nonlocal contractors on Federal projects.49
The Department ignores the compelling reasons the 1982 Final Rule excluded urban counties
from rural wage determinations, and in permitting the importation of metropolitan wage data,
ensures that once again, small local contractors will be excluded from bidding on Federal
projects. In upholding the 1982 Final Rule’s rural-urban wage distinction, the D.C. Circuit noted
that the exclusion of urban wage data “has not been shown to undermine the central purpose of
the statute, which is to ensure that federal contractors pay the wages prevailing in the locality of
the project.”50 The explanation offered by the Secretary for the 1982 regulation, that the
“importation of higher urban wages to rural areas has disrupted relations in rural areas because
employees have been unwilling to return to their usual pay scales after a Davis-Bacon project has
been completed” was held by the D.C. Circuit to “make sense”.51 The D.C. Circuit also
dismissed the union’s argument that “higher urban wages were justified in rural areas because it
is the urban workers who do the work”, as, were that precept true, “the wage scales for the
surrounding rural counties would reflect” a corresponding market increase in wages.52
Unsurprisingly, the D.C. Circuit’s opinion is omitted from the text of the NPRM. Instead, we are
treated to the argument that cross-consideration of rural and metropolitan wage data is a justified
good because rural and metropolitan subdivisions share “heterogeneity of commuting patterns”
and “local labor markets”.53 This argument is one of many that was promoted by unions in the
1983 litigation, dismissed by the D.C. Circuit, and has now resurfaced within the text of the

45
   Staats Report at 50.
46
   Ibid. at 55 (citing Texas Paving & Utilities Rates, 77-WAB-19 at *2-*3 (Dec. 30, 1977)).
47
   Ibid. at 50.
48
   Ibid.
49
   Ibid. at 13.
50
   Building and Const. Trades Dept., 712 F.2d at 619.
51
   Ibid. at 618-19.
52
   Ibid.
53
   87 Fed. Reg. at 15, 719.
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NPRM. Moreover, were it a fact that rural and metropolitan subdivisions share common labor
markets, wage scales would, as the D.C. Circuit quite aptly held, reflect a corresponding increase
in wages.54
The NPRM’s text also extols the use of Metropolitan Statistical Area (MSA) data that contains
both urban and rural territories and population. The NPRM expresses a belief that the purposes
of the DBRA would be best served by “[c]ombining rural and urban data at the State level” as a
means of “geographic expansion”.55 The Department also believes that “the purposes of the Act
are better served by using such combined statewide data to determine the prevailing wage, when
the alternative could be to fail to publish a wage rate at all.”56 The WHD already combines data
from counties in different labor markets, with the GAO reporting that 20 percent of key DBRA
rates occur at the “super-group” level, and 40 percent of DBRA rates are based on statewide
data.57 In many cases, these counties have little economic connection to the county in which the
work is performed. Not surprisingly, the groupings of these MSAs have resulted in vast wage
differentials. In a Long Island MSA, for instance, the Davis-Bacon prevailing wage for
electricians is $51.00 an hour-a 74 percent increase of $19.27 an hour, the actual prevailing wage
BLS determined.58 In a Washington, D.C. MSA, the Davis-Bacon prevailing wage for
electricians on a construction project was determined to be $43.70 an hour-a 45 percent increase
from $30.11 an hour, the actual prevailing wage BLS calculated.59 The purpose of the DBRA is
most certainly not served by such inflated wages.
In support of their argument of importing urban wages, the NPRM cites House debate from
Congressman William Connery of Massachusetts, the Chairman of the House Labor Committee,
purporting to bind the Secretary to adopting the prevailing wages of the nearest city for rural
areas.60 However the NPRM fails to acknowledge that when the same debate was cited by unions
during the litigation, the D.C. Circuit found no indication “that Congress intended to bind the
Secretary to the method suggested by Representative Connery” with the thrust of the debate
indicating “the entire question was left for the Secretary” and Congressman Connery’s
suggestion “merely intend[ing] to show that some method for determining a wage could be
found.”61 Also omitted from the NPRM’s text was the finding that excluding urban data from
rural data was a consistent practice dating from before the 1982 Rulemaking, with the
Secretary’s Operations Manual for Issuance of the Wage Determinations Under the DBRA
instructing that “a metropolitan county should not be used to obtain data for a rural county (or
vice [sic] versa)” as early as 1977.62 President Carter’s DOL also sought to formalize such a



54
   Building and Const. Trades Dept., 712 F.2d at 618-19
55
   87 Fed. Reg. at 15, 719.
56
   Ibid.
57
   2011 Report, Figure 5.
58
   U.S. Dep’t of Labor, Bureau of Labor Statistics. “Economic News Release.” Table 6, September 2016.
59
   Ibid.
60
   87 Fed. Reg. at 15, 719
61
   Building and Const. Trade’s Dept., 712 F.2d at 618.
62
   Ibid. at 619.
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prohibition in new regulations.63 That the Department is now citing the same arguments
proffered by unions and since rejected by a federal court as justification for upending local wage
structures reveals the likely motive behind this regulatory change. The Department’s
characterization of the wage prohibition as existing only since the 1982 rulemaking is similarly
disingenuous, with non-partisan experts having long since concluded that cross-consideration of
metropolitan and urban wage data undermines the DBRA’s legislative purpose.
     IV.     By increasing already onerous recordkeeping requirements, expanding DOL’s
             debarment and withholding powers, and rendering Davis-Bacon contract clauses and
             wage obligations effective “by operation of law,” the Department violates basic
             standards of procedural due process and places an impermissible administrative
             burden on small to mid-size contractors, many of whom lack the administrative
             resources to keep up with paperwork burdens.


The Department’s proposal to increase a contractor’s recordkeeping duties, expand DOL’s
debarment and withholding powers, and provide that Davis-Bacon prevailing wage obligations
are effective by “operation of law” places an impermissible burden on the private sector, while
relieving contracting agencies of any obligation to bargain in good faith.
The Department’s proposal to discard the requirement that a violation of prevailing wage
obligations be “aggravated or willful” in order to merit disbarment and instead lowering the
burden of persuasion to a “disregard of obligations” will ensnare many small contractors into
debarment proceedings.64 Given the non-transparent and wasteful manner in which prevailing
wages are calculated, as detailed previously in this comment, small to mid-size contractors who
lack administrative resources to keep abreast of DOL’s nightmarishly bureaucratic
administration of DBRA will render themselves vulnerable to an ocean of legal liability as a
result of the new debarment standard. This standard is akin to posting a “Do Not Apply” sign to
small and mid-level contractors who are at greater vulnerability of unintentionally violating
incomprehensible prevailing wage requirements. As an initial matter, this comment has
established that DOL is frequently incapable of accurately calculating a prevailing wage, with
survey methods that are, to put it generously, less than consistent. That a contractor could stand
to be debarred from federal contracts covered by the DBRA-in essence nearly the entirety of
federal procurement-due to a “disregard of obligations” that a nearly 50-page NPRM fails to
explain will only serve as a greater obstacle to small firms bidding on DBRA covered contracts.
The NPRM’s observation that the “aggravated or willful” Related Acts standard has been
“interpreted inconsistently”65 over the decades is dubious, given the volatile manner in which
DOL calculates prevailing wage rates. The NPRM merely defines a “disregard of obligations” as
“purposeful inattention and gross negligence”66 which, given the incompetent manner in which

63
    See 46 Fed. Reg. 4305, 4314 (1981)(final rule)(providing for exclusion of metropolitan counties except in
“extraordinary circumstances”), stayed, 46 Fed. Reg. 11,253 (1981), and replaced 47 Fed. Reg. 23, 643 (1982).
64
    87 Fed. Reg. at 15,755.
65
    Ibid. at 15,756.
66
   Ibid.
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DOL has calculated prevailing wages, would render private construction firms subject to a wide
panoply of liability. DOL also laments the inconsistent manner in which the “aggravated or
willful” standard has been applied, but later concedes the ambiguous “disregard of obligations”
burden would be considered in light “of all the facts involved”.67 Such a fact-specific, contextual
analysis will lead to the same supposed “inconsistencies” the Department laments the previous
standard as yielding. In truth, the Department wishes to more easily debar those private
contractors who refuse to pay union wages grossly inflated above market value.
The Department’s proposal to provide that labor standards contract clauses are effective “by
operation of law” in circumstances where they have been “wrongly omitted from a covered
contract” is no less insulting to private contractors. The proposed language would ensure that
Davis-Bacon’s burdensome regulations would be imposed on workers “notwithstanding any
mistake by an executive branch official in an initial coverage decision or in an accidental
omission of the labor standards contract clauses.”68 The proposal thus shamelessly attempts to
shift the legal burdens of enforcement and compliance from the contracting agency to the
contractor, limiting the pool of bidders to those who could afford to shoulder such inordinate
administrative costs. When one considers the ambiguous and inchoate nature with which DOL
defines a “prevailing wage”, and that such obligations are applicable to federally subsidized as
well as federal contracts under the DBRA, the administrative burdens on private sector
contractors to determine which elements of the procurement contract are covered by prevailing
wage obligations, calculate such wages, and be certain that the contract is DBRA covered would
prove nightmarish in its sheer bureaucracy. Though the NPRM notes that contracting agencies
would be required to compensate the contractor for any additional wages paid as a result of the
calculation, in reality, procurement agencies often use the threat of refusing to award contract
bids in the future as insurance against paying any additional wage fees in the present, leaving
contractors shouldering the expense. That terms are to be adhered to regardless of the due
diligence the procurement agency demonstrated, particularly in giving the contractor the courtesy
of notice of the terms by which a bill of lading is to be adhered, robs the contractor of basic
notice and procedural due process, and places boundless administrative and regulatory burdens
on the contractor that, by statute, were meant to be placed on the procuring agencies.
To add insult to injury, the NPRM also proposes to burden contractors with additional
recordkeeping requirements. In addition to weekly certified payroll data required by the
Copeland Anti-Kickback Act of 1934, contractors are required to maintain all contracts and
subcontracts, as well as bids, proposals, amendments, modifications, and extensions for those
contracts and subcontracts. Failure to comply with recordkeeping requirements could result in
the withholding of contract funds or debarment. The Department, through the promulgations of
these recordkeeping requirements, demonstrates a fundamental ignorance of the expense and
resources such recordkeeping requirements mandate. Such a requirement is illustrative of the
Department’s stated goal of serving the needs of labor unions above all else, even at the expense
of fundamental principles of fairness and equity. It will further deter many small to mid-size

67
     Ibid.
68
     Ibid. at 15, 749.
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construction firms, of whom a great majority are minority owned, from bidding on Federal
Projects due to the expense involved. Such onerous paperwork burdens bring to mind the
testimony from Samuel Carradine, the CEO of the National Association of Minority Contractors.
In written testimony before the 103rd Congress, Samuel Carradine wrote that, “[r]ather than
protecting local contractors from unfair competition, Davis-Bacon has practically fostered a
closed group of large contractors who follow Federal construction work around the country to
the exclusion of smaller, local contractors.”69 These additional paperwork and regulatory
requirements will ensure that bidding on Federal projects remains exclusive to a “closed group of
large contractors” with the resources to afford the exorbitant administrative costs a DBRA
covered-contract would entail.
     V.      In attempting to broadly redefine civil subdivisions to include state highway districts
             and expand the term “site of work” to include material supply drivers and off-site
             construction, the Department exceeds its statutory authority in the former and re-
             opens well-settled areas of the law in the latter.
The NPRM, by proposing to expand the definitions of civil subdivision and “site of work” to
include state highway districts in the former and drivers dropping off materials from material
suppliers in the latter, exceeds the statutory mandate of the DBRA. The proposal’s provisions to
expand DBRA coverage to off-site construction where “significant portions” are constructed for
specific use in a designated building or work also run counter to settled law.70
     a. The Department lacks statutory authority to designate state highway districts as civil
        subdivisions under the DBRA.

          The DBRA merely gave the Secretary of Labor power to set prevailing wages “in the
          civil subdivision of the State in which the work is to be performed, or in the District of
          Columbia if the work is to be performed there.”71 The juxtaposition of “civil subdivision
          of the State . . . or in the District of Columbia” clearly illustrates that Congress defined a
          “civil subdivision” to be a county, city, town or other municipality as the District of
          Columbia lacked all requisite subdivisions, hence its inclusion. Moreover, at the time of
          Davis-Bacon’s passage, there was a widely accepted distinction between state highway
          districts and civil subdivisions. The former was merely responsible for the maintenance
          of the highway, whereas the latter was responsible for a wide array of civil functions,
          including administering and enforcing state laws, collecting taxes, assessing public
          properly, recording public documents, conducting elections and issuing licenses. The
          Department’s abrupt volte-face in attempting to broadly define “civil subdivision” to
          include state highway districts runs counter to decades of agency practice.




69
   “Repeal of the Davis-Bacon Act.” 104th Congress, 1st Session. Report 104-80. May 12, 1995.
70
   87 Fed. Reg. at 15, 729-31.
71
   40 U.S.C. § 3142(b).
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        A basic canon of administrative law is that an agency’s interpretation of its enabling
        statute is to be accorded deference if its interpretation is “reasonable.”72 However,
        Chevron deference is not warranted if an agency fails to follow correct procedures when
        issuing a regulation.73 In order to fulfill a basic procedural requirement of administrative
        rulemaking, the agency must give adequate reasons for its decision, particularly when
        reversing decades of regulatory policy stakeholders have come to rely upon.74 For
        decades, DOL regulations have defined an “area in determining wage rates” under the
        DBRA to “mean the city, town, village, county, or other civil subdivision of the State in
        which the work is to be performed.”75 However, the NPRM does not cite any legislative
        history, either from when Davis-Bacon was enacted in 1931 or amended in 1935, to
        support its assertion that Congress intended state highway districts to be civil
        subdivisions. The only authority the Department cites to support its assertion that state
        highway districts were considered civil subdivisions at the time the DBRA was enacted is
        a circuit court opinion issued 12 years before the Act’s original passage in 1931.76 The
        rulemaking omits key details from the case’s holding, namely that highway districts were
        defined as governmental subdivisions only after Article 292 of the Louisiana Constitution
        expressly “provided for the division of parishes into road districts” by defining their
        taxing and bond-issuing capacity, and only after two enabling acts of the legislature
        rendered the constitutional provisions effective.77

        One state highway district is not akin to the other, and not every state expressly grants a
        state highway division taxing and bond-issuing authority, nor gives such districts formal
        legal status as county subdivisions. Many states circumscribe the authority of state
        highway districts merely to maintenance of highways and roads. That the rest of the
        proposal is reduced to acknowledging that Congress distinguished “immediate localities”
        from “civil subdivisions” when defining the appropriate geographic area of wage
        determination under the Federal-Aid Highway Act of 1956 is telling. The Department
        lacks any statutory or reasoned support for expanding the definition of civil subdivision
        to state highway districts, as Congress has always differentiated the two. State highway
        districts lack both the attributes and broad legal remit of civil subdivisions. The attempt
        by the Department to re-designate state highway districts as such is arbitrary agency
        action.

     b. The Department’s attempts to expand DBRA “site of work” coverage to include material
        supply drivers and off-site construction sites contradicts settled law.




72
   Chevron U.S.A., Inc. v. Natural Res. Def. Council, Inc. 467 U.S. 837 (1984).
73
   United States v. Mead Corp., 533 U.S. 218 (2001).
74
   Motor Vehicle Mfrs. Ass’n of United States v. State Farm Mut. Auto Ins. Co., 4463 U.S. 29, 43 (1983).
75
   29 C.F.R. § 1.2.
76
   Wight v. Police Jury of Par. of Avoyelles, La., 264 F. 705, 709 (5th Cir. 1919)
77
   Ibid. at 707.
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           The attempt by the Department to impermissibly expand the definition of “site of work”
           to include elements of off-site construction and material supply drivers is an overreach
           and ignores binding D.C. Circuit precedent. In Building and Const. Trade Dept. v. U.S.
           Dept. of Labor Wage Appeals Bd., the D.C. Circuit held that the phrase “mechanics and
           laborers employed directly upon the site of work” within the meaning of the Davis-Bacon
           Act “restricted coverage of the Act to employees working directly on the physical site of
           the building, and thus, [a] regulation extending coverage of the Act to truck drivers was
           invalid.”78 The D.C. Circuit held the critical phrase “employed directly upon the site of
           the work” to convey a geographical limitation, stating that, “only employees who work
           on the site are covered by the Act.”79 Judge Patricia Wald, an appointee of President
           Carter, found “no ambiguity in the text: ‘site of work’ clearly connotes to us a geographic
           limitation.”80 Lest there be any confusion, the court held that “the ordinary meaning of
           the statutory language is that the Act applies only to employees working directly on the
           physical site of the public building or public work under construction.”81 Judge Wald
           even noted that, when members of Congress discussed Davis-Bacon coverage in hearings
           and debates, “they invariably expressed an assumption the Act’s coverage would be
           restricted to mechanics and laborers who work directly on the project site.”82 Judge Wald
           cited painters who painted building materials in the mills before those materials were
           brought to the construction site, or off-site workers who constructed component buildings
           in the steel mills for reconstruction on the site of the work.83

           The court thus refused to defer to the Department’s expansive site of work definition,
           holding that “Congress intended the ordinary meaning of its words”. Davis-Bacon’s
           statutory language “restricts coverage of the Act to employees who are working directly
           on the physical site of the public building or public work being constructed.”84 In
           addition, contrary to the Department’s proposal, “[m]aterial delivery truck drivers who
           come onto the site of the work merely to drop off construction materials are not covered
           by the Act even if they are employed by the government contractor.”85 The Department’s
           1991 regulation was thus invalid “insofar as it includes off-site material delivery truck
           drivers in the Act’s coverage”. Yet again, the Department attempts to impermissibly
           expand the definition of “site of work” beyond that of the statutory text and legislative
           history. In doing so, the Department ignores binding authority and demonstrates a blatant
           disregard for taxpayer resources.

     VI.      By granting itself vast enforcement authority to incorporate anti-retaliation measures
              into Davis-Bacon covered contracts and impose unlimited remedial make-whole

78
   932 F.2d 985 (1991).
79
   Ibid. at 989 (emphasis in the original).
80
   Ibid. at 990.
81
   Ibid.
82
   Ibid. at 990-91.
83
   Ibid. (citing S. 3847, 72d Cong., 1st Sess. (1932)).
84
   Ibid. at 992.
85
   Ibid.
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             relief via executive rulemaking, the Department exceeds its statutory authority and
             violates separation of powers principles.
The Department’s proposal to add broad anti-retaliation provisions to DBRA covered contracts
and assume enforcement authority to impose remedial relief represents an assumption of power
far beyond that which Congress intended. In presuming to implement such an expansive
enforcement regime, the Department shows a blatant disregard for basic principles of the
separation of powers.
The scope of the enforcement powers the Department proposes to assume is practically
unlimited.86 Regarding anti-retaliation measures, the Department presumes to define what
constitutes protected activity much as a legislature codifies a statute, with whistleblower
protection extended to the filing of complaints, initiation of proceedings, “otherwise asserting
any right or protection”; cooperating in an investigation or other compliance action, testifying in
proceedings; or informing any other person about their rights under the DBA or Related Acts.87
The proposal concedes the scope of anti-retaliation measures are “intended to be broad” in order
to effectuate the so-called “remedial purpose” of the DBRA.88 The Department then proceeds to
assume unlimited authority to impose remedial make-whole relief to “restore the worker
subjected to the violation to the position, both economically and in terms of work or employment
status . . .that the worker would have occupied had the violation never taken place.”89Available
remedies include, but are not limited to, any back pay and benefits denied or lost by reason of the
violation; other actual monetary losses sustained as a direct result of the violation; interest on
back pay or other monetary relief from the date of the loss; and appropriate equitable or other
relief such as reinstatement or promotion.
The NPRM’s characterization of the DBRA as remedial statutes, or, as the text states, statutes
with “remedial purpose”, is inaccurate. Black’s Law Dictionary defines a “remedial statute” as
“a law whose purpose is to correct an existing law that isn’t working or has caused some harm
and not good.”90 Remedial is further defined by Black’s as “affording a remedy; giving the
means of obtaining redress.”91 Davis-Bacon, as initially enacted in 1931, was merely “a brief and
relatively simple statement of policy” granting the Department wide discretion to establish a
wage threshold “not less than the locally prevailing wage to be paid” but largely deprived DOL
of effective enforcement mechanism to achieve the statutory aim.92 To further the policy
purposes of the statute, contracting agencies were granted the authority to withhold “funds

86
   87 Fed. Reg. at 15, 747.
87
   Ibid.
88
   Ibid.
89
   Ibid. at 15,747-48.
90
   Black’s Law Dictionary. Remedial Statute.
91
   Black’s Law Dictionary. Remedial.
92
   The Secretary of Labor was curtailed from effective administration of the original Act in two significant respects:
(1) his or her role emerged as one of conciliation rather than independent enforcement due to the Act's provision for
postdetermination of prevailing wage rates; and (2) even assuming the Secretary's desire to curtail Davis-Bacon
violations, the Act was without sanctions to impose against derelict government contractors. 40 U.S.C. §§ 276a-
276a-5 (1976)).
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sufficient” from contractors to pay underpaid workers, the Comptroller General was granted the
ability to bar violating contractors from federal procurement for three years, and laborers were
afforded a private right of action against a contractor, but only after Congress expressly amended
the Davis-Bacon Act in 1935 to provide for such remedial action.93
Therefore, the DBRA is a statute with “remedial purpose” only in so far as Congress has
expressly granted the Department the authority to remedy underpayment of wages.94 An
enforcement scheme such as that envisioned by the Department, whereby the WHD defines what
constitutes protected whistleblower activity in the manner of a legislature and is granted power to
force private actors to reinstate employees or pay them back wages implicates constitutional
rights, and therefore, is reserved for Congress to impose as subject matter experts and elected
representatives. To compare, the remit of the Equal Employment Opportunity Commission
(EEOC), which is far more remedial in nature and substance, was only endowed with the ability
to impose make-whole relief and pursue enforcement litigation after an express grant of authority
by Congress.95 The EEOC’s power to sanction individuals who retaliate against subordinates
filing charges of discrimination was also pursuant to a specific grant by Congress. The National
Labor Relations Act also similarly empowers the National Labor Relations Board, under Section
10(j) of the Act, to pursue equitable such as reinstatement and back pay in federal court, as well
as issue orders against employers requiring the same in agency proceedings.96 Other examples
are legion. The Occupational Safety and Health Administration enforces whistleblower
protections arising under over 20 statutes-again only pursuant to a specific grant of congressional
authority.97 The Administrator of the WHD has the ability to bring actions in federal court to
restrain violations of the Fair Labor Standards Act (FLSA) again only due to an express grant of
such authority by Congress. Congress also provided for whistleblower protection expressly in the
FLSA, rendering it unlawful for employers “to discharge or in any manner discriminate against
any employee because such employee has filed any complaint” of wage and hour violations.98
The creation of a byzantine enforcement scheme proposed by the Department, complete with the
agency, at its own willful discretion, defining what constitutes whistleblower protection and
imposing such equitable relief as it chooses, is thus wholly inappropriate for an executive
rulemaking absent an express grant of statutory authority. As Congress has previously seen fit to
expend time and resources endowing administrative agencies with the prerogative to pursue
equitable relief or enforce whistleblower protection, it strains credulity to think, as the
Department assumes, that an agency can simply assume power for broad enforcement schemes
absent an express grant of congressional authority. The Department’s assertion that the mere

93
   40 U.S.C. § 276a(a) (1976))
94
   See Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 208 (1988) (“It is axiomatic that an administrative
agency’s power to promulgate legislative regulations is limited to the authority delegated by Congress.”).
95
   The Equal Employment Act of 1972 amended Title VII of the Civil Rights Act of 1964 to grant the EEOC
authority to pursue litigation in federal court, and impose remedial make-whole relief, including back-pay, after a
finding of violation. See 42 U.S.C. § 2000e-6(a).
96
   National Labor Relations Board. 10(j) Injunctions.
97
   OSHA Fact Sheet: OSHA’s Whistleblower Program.
98
   29 U.S.C. § 215(a)(3).
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“remedial character” of the DBRA justifies boundless regulatory authority to promulgate an
unlimited enforcement scheme is chilling and unavailing. When the rights and liberties of private
sector employers are implicated, regulatory agencies cannot pursue enforcement absent an
express grant of congressional authority.99
     VII.    Conclusion
Though the above criticisms of the NPRM are by no means exhaustive, they represent deep
concerns with the Department’s proposal to “modernize” the DBRA. By restoring the thirty
percent rule and ignoring numerous GAO and OIG reports that urge adoption of OES data and
fundamental reform in the voluntary survey process, the Department ensures prevailing wages
will be inflated at great detriment to the taxpayer. With the passage of the Infrastructure
Investment and Jobs Act, the nation has an opportunity to restore antiquated infrastructure. With
inflation already reducing the worth of the bill, the proposal contained within this NPRM will
only further limit the number of infrastructure projects the federal government can pursue,
greatly inflate the cost to the taxpayer of necessary infrastructure projects at rates far above
market value, all while imposing boundless administrative and paperwork burdens on small to
mid-size contractors. We therefore urge the Administration to refrain from pursuing this
misguided proposal.
Sincerely,




Richard Burr                                                           Bill Cassidy
Ranking Member
U.S. Senate Committee on Health, Education, Labor
and Pensions




Tim Scott                                                               Mitt Romney




Roger Marshall, M.D.                                                  Tommy Tuberville



99
  See La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 374 (1986)(Brennan, J.)(Holding that “an agency literally has
no power to act . . .unless and until Congress confers power upon it.”).
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Marsha Blackburn                              John Boozman




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May 17, 2022

Via Regulations.gov

Amy DeBisschop
Division of Regulations, Legislation, and Interpretation
Wage and Hour Division, U.S. Department of Labor
Room S-3502
200 Constitution Avenue NW
Washington, DC 20210

Re:       Comments on RIN 1235-AA40: Proposed Rule, Updating the Davis-Bacon and
          Related Acts Regulations, 87 Fed. Reg. 15698 (Mar. 18, 2022)

Dear Ms. DeBisschop:

We are partners in the government-contracts practice of Wiley Rein LLP with over 30 years of
collective experience counseling and representing federal contractors and subcontractors in
matters involving the Davis-Bacon Act (directly and through the Related Acts) and the parallel
Service Contract Act. These comments on the Proposed Rule cited above are informed by our
experience with those clients but are submitted on our own behalf.

Our comments address a discrete, but important, aspect of the Proposed Rule: the proposed
addition of terms stating that when the DBA should cover a construction contract, but the DBA
was not determined to have applied at award, the DBA will be read as having applied to the
contract since its inception by operation of law. This change would be primarily reflected in a
new provision in DoL’s version of the DBA contract clause, 29 C.F.R. § 5.5(e). We appreciate
that the Department of Labor has proposed these terms to address challenges it has
encountered in DBA enforcement. But we are concerned about the effects that these proposed
terms will have on contract administration—in particular, that contractors are made whole if the
DBA is found to apply to a contract after its award—as well as enforcement issues related to
withholdings. The consequences of leaving any uncertainty around the incorporation “by
operation of law” scenario could be severe. Contractors could be subject to withholdings and left
out of pocket for hundreds of thousands or even millions of dollars by the very agencies that had
determined, erroneously per subsequent DoL findings, the DBA did not apply in the first place.

To improve contract administration, and reduce the risk of these potentially catastrophic
unreimbursed cost increases and related adverse impacts on contractors that have done
nothing but comply with the terms of their contract as awarded, we have three
recommendations:

         Rather than provide for the DBA to apply to contracts by operation of law, DoL should
          instead adapt the SCA regulation at 29 C.F.R. § 4.5(c), which allows DoL to direct
          contracting agencies to add the SCA to contracts after award by modification. This

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         approach would simplify determining whether and when the DBA applies to a contract
         and reduce the risk of a contractor’s not being made whole for the increased costs
         associated with applying the DBA to a contract after award, all while addressing DoL’s
         stated enforcement concerns.

        If DoL does stick with the operation-of-law term as proposed, it should condition that
         application by operation of law on either the contracting agency’s or DoL’s first
         determining that the DBA does in fact apply. This requirement, although not as effective
         in ensuring contractors are made whole as adapting § 4.5 from the SCA regulations, will
         still offer needed clarity around whether and when the DBA belatedly applied to a
         contract.

        If DoL does proceed as proposed, it should also defer the operation-of-law terms’
         effective date until the Federal Acquisition Regulation is updated to expressly require
         equitable adjustments in this situation. Coordinating timing this way will keep contractors
         from being caught between DoL regulations that have been updated and FAR provisions
         that have not yet been. Though we recognize that some federal construction contracts
         are awarded by agencies not subject to the FAR, a large enough share of these
         contracts are FAR-covered that our proposed deferral should adequately balance
         government-wide contract-administration considerations with DoL’s enforcement
         considerations.

In submitting comments on this lone issue, we do not mean to diminish the other areas of the
Proposed Rule that may warrant revision or other reconsideration.1 Those areas are important
to the construction community, and we encourage DoL to give comments on them full
consideration.

     1. Adapting Section 4.5(c) from the SCA regulations can address DoL’s identified
        enforcement challenges more simply and equitably.

The Proposed Rule’s preamble explains why DoL has proposed regulations that would make
the DBA apply to contracts by operation of law: existing DBA regulations provide for DoL to
direct incorporation of DBA wage determinations after contract award but do not spell out the
same authority for directing incorporation of the DBA as a whole. See Proposed Rule at 15748
(discussing existing authority under 29 C.F.R. § 1.6(f)). This disjoint has apparently led to
uncertainty about the Government’s ability to apply the DBA as a whole to a contract after
award and at times delayed getting the DBA applied in that scenario. See id. We understand
and appreciate DoL’s interest in streamlining the process for laborers and mechanics to be paid
at the applicable prevailing rates when the DBA turns out in the middle of contract performance
to be applicable. But DoL’s proposed method for streamlining—applying the DBA by operation
of law, principally through a new 29 C.F.R. § 5.5(e)—adds undue uncertainty about what a
contract’s terms are and whether a contractor will be compensated if those terms change at
DoL’s direction.


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  In the spirit of keeping these comments focused, we have generally used terms specific to the Davis-
Bacon Act, such as DBA and contracting agencies, even though the proposed operation-of-law terms
may bear on Related Act-covered contracts, such that DoL’s analysis and final rule might use terms
focused more broadly on DBRA considerations.
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A better solution lies in DoL’s existing SCA regulations. Under 29 C.F.R. § 4.5(c), when DoL
“determines” before or after contract award “that a contracting agency made an erroneous
determination that the Service Contract Act did not apply to a particular procurement,” DoL
gives the contracting agency notice, and the agency has 30 days to add the SCA clause and
applicable wage determinations. The provision further specifies that DoL may require the SCA
to be applied retroactively. Id. And the FAR includes a parallel direction to contracting officers at
FAR 22.1015. Both the DoL and FAR provisions contemplate, and in the case of the FAR
require, that a post-award addition of the SCA will be followed by an equitable adjustment to the
contract for any resulting cost increases. DoL finalized this language for adding the SCA after
award almost 15 years ago, and we see no reason why the same process could not work
equally well for the DBA.

Adapting 29 C.F.R. § 4.5(c) to the DBA would address DoL’s experiences with contracting
agencies that have expressed confusion or hesitancy over DoL’s ability to require applying the
DBA after award. See Proposed Rule at 15748. The regulations would be clear on this point
going forward with an adapted § 4.5(c) and consistent with the principles already set forth in the
Proposed Rule that the prime contractor must be compensated for any resulting increase in
wages in accordance with applicable law. See id. at 15798. The § 4.5(c)-based approach
likewise addresses the related enforcement challenge identified in the preamble: contracting
agencies that believe they cannot add the DBA to a contract after award on account of the
Competition in Contracting Act or a similar constraint. See id. We agree with DoL’s statement in
the preamble that such a belief is misplaced. See id. But in any event, an adapted version of the
§ 4.5(c) language should allay any contracting agencies’ lingering uncertainty in this area.
(Parallel directions in the FAR can only help.) We anticipate that with such language in place,
few if any contracting agencies will feel their only option is to, as noted in the preamble,
terminate a contract in the middle of construction rather than modify it to add the DBA clauses.
See Proposed Rule at 15748. We have no reason to believe agencies are terminating many
service contracts rather than add SCA provisions under § 4.5(c), and we anticipate that
instances of termination would be even lower under the DBA given how disruptive it can be to
terminate a construction contracts while hammers are still swinging.

Adapting § 4.5(c) from the SCA regulations also offers two significant advantages over DoL’s
proposed approach of applying the DBA by operation of law.

       The process would avoid uncertainty over when the DBA started to apply to a contract,
        which in turn avoids a host of potential disputes over whether the contractor (or
        arguably too, a subcontractor) was obligated to comply with the DBA all along. One can
        imagine a qui tam relator’s filing a False Claims Act lawsuit along these lines, or a
        contracting officer’s refusal to provide an equitable adjustment, notwithstanding the
        language DoL has included in its proposed 29 C.F.R. § 4.5(e) providing for contractors
        to be compensated in this scenario.

       The process would simplify administration of contracts for a mix of construction and
        services. Consider such a contract awarded without the DBA or SCA clauses. If DoL
        were to find mid-performance that both acts should apply to discrete, segregable
        aspects of the contract, it is much more straightforward to add the SCA and DBA
        contract clauses and wage determinations through the same contract modification
        under the same timelines with the same direction for equitable adjustments, as
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        compared to having the DBA be read in by operation of law while the SCA starts to
        apply only after a separate contract modification.

If not clear from above, we envision that an adapted version of § 4.5(c) would confer authority
on DoL to direct that the DBA be applied back to the beginning of contract performance (when
appropriate), just as with the SCA. So this alternative approach can apply the DBA to a contract
after award just as effectively as reading the DBA in by operation of law, but with far greater
clarity for everyone involved.

   2. Any post-award application of the DBA by operation of law must be conditioned
      on a written finding that the DBA does in fact apply.

If DoL instead proceeds with its proposed operation-of-law approach, the regulations should
expressly require a written determination by DoL or a contracting agency that the DBA applies
before the DBA can be deemed applicable by operation of law. As written, the proposed rule
does not include this type of condition precedent. The preamble suggested it as an alternative
proposal, though, and invited comments. See Proposed Rule at 15751. We fully support it.

Our support stems from the following question: if neither the contracting agency nor DoL has
determined that the DBA applies to a contract, who else should? The DBA is, as the Supreme
Court noted forty years ago, “not self-executing.” Univ. Research Ass’n v. Coutu, 450 U.S. 754,
784 n. 38 (1981). Someone has to decide whether the DBA applies to a contract. The
contracting agency does so in the first instance, while DoL has the authoritative final say. See,
e.g., Arbor Hill Rehab. Project, WAB Case No. 87-04, 1987 WL 247052, at *5-*6 (Nov. 3, 1987)
(discussing this split of responsibility); Paper, Allied-Industrial, Chem. & Energy Workers Int’l
Union, ARB Case No. 04-033, 2005 WL 3263821, at *5-*6 (Nov. 30, 2005). If the Proposed Rule
is finalized without requiring that there first be a determination of DBA coverage by a contracting
agency or DoL, then DoL will be letting just about any interpretive body—arbitrators, district
courts, state courts, other administrative agencies—decide whether the DBA applies to a
contract by operation of law. We also doubt DoL intends to give away its interpretive authority
this way, or that it can. Determining that the DBA applies to a contract, whether before or after
award, must stay with the entities that law and established practice vest with that responsibility.

Requiring a determination by a contracting agency or DoL is consistent with the Christian
doctrine that is discussed in the preamble. Again, the DBA is “not self-executing.” Coutu, 450
U.S. at 784 n.38. The Armed Services Board of Contract Appeals has reached the same
conclusion (“The Davis-Bacon Act is not self-implementing”) in rejecting arguments that the
DBA can be read into a contract under Christian. BellSouth Commc’ns Sys., Inc., ASBCA No.
45955, Sept. 27, 1994, 94-3 BCA ¶ 27231 (“This is not a case where the Act was clearly
applicable at time of award, and where the omission of the required clauses and wage
determinations was a mere administrative oversight.”). The same goes for the SCA: “The SCA
clause cannot just be read into the contract under the Christian doctrine . . . [b]ecause the SCA
requires a determination that it applies to a contract.” Sotera Def. Solutions, Inc., CBCA No.
6029, Aug. 29, 2019, 19-1 CPD ¶ 37421.

These decisions show that the Proposed Rule’s preamble has drawn a faulty connection
between the DBA’s importance in federal labor policy and whether the DBA can apply by
operation of law under the Christian doctrine. See Proposed Rule at 15749 (comparing DBA to
Miller Act provisions read into a contract under Christian by the Federal Circuit in K-Con, Inc. v.
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Sec’y of the Army, 908 F.3d 719 (Fed. Cir. 2018)). Borrowing from the words above, the DBA
cannot just be read into a contract. Either the contracting agency or DoL must first decide that it
does.

Where the Christian doctrine can apply is in a related but distinct scenario: when the contracting
agency already has determined the DBA (or SCA) applies to a contract but omitted a required
DBA (or SCA) contract clause or wage determination. In these instances, the Christian doctrine
can potentially provide a basis to read in the omitted terms. See BUI Const. Co. & Bldg. Supply,
ASBCA No. 28707, Feb. 15, 1984, 84-1 CPD ¶ 17183 (agency determined DBA applied but
inadvertently omitted the clauses from contractor-facing versions of terms); Miller’s Moving Co.,
ASBCA No. 24707, Jan. 14, 1992, 92-1 CPD ¶ 43114 (agency omitted wage determinations
from SCA-covered contract). Even the Federal Circuit decision cited in the preamble is of this
type: Call Henry, Inc. v. United States, 855 F.3d 1348, 1351 n. 1 (Fed. Cir. 2017), applied the
Christian doctrine in a footnote to read in the correct SCA price-adjustment clause, not read in
the SCA as a whole.2

Requiring a determination that the DBA does in fact apply not only comports with existing
caselaw, it offers practical benefits as well. First, the requirement limits the risk of
miscommunication among DoL, the contractor, and the contracting agency about whether the
DBA has been made to apply after award. Second, the requirement fixes a date on which the
DBA can be viewed as definitively found to apply. Having a firm date can keep distinct the time
periods when a contractor must start applying the DBA prospectively (i.e., in regular paychecks
going forward) versus retroactively (i.e., via backpay). A firm date also provides a clear anchor
point for potential areas of dispute such as when a contractor knew the DBA definitively applied
to a contract and how quickly the contractor came into compliance once the DBA was
determined to apply.

These same considerations dictate that if DoL or a contracting agency determines after award
that the DBA applies, the determination must be in writing. A written determination avoids
confusion and provides an objective evidentiary record of when someone vested with the
necessary interpretive authority decided the DBA applied and what the reasons were—which
may be helpful in the various scenarios discussed above and more routine ones such as
evaluations of requests for equitable adjustment, negotiations with subcontractors, incurred-cost
audits, and appeals challenging the underlying post-award determinations of DBA coverage.

Bottom line, it would be inconsistent if the DBA could apply at contract award only if the
contracting agency or DoL makes such a determination, while the DBA could apply to other
contracts for the first time after award without that same type of determination. There is little
reason not to impose the requirement universally.




2
  We accordingly disagree with any intimation in the preamble’s Footnote 115 that Call Henry is support
for the idea that the Christian doctrine can be used to read in the SCA as a whole. That is not an accurate
statement of the current law.
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   3. DoL should defer implementing any operation-of-law provision until the
      corresponding FAR provisions take effect.

Contractors navigating federal procurement rules face an even tougher challenge when multiple
agencies publish and apply parallel sets of regulations applicable to the same situation. To
illustrate the point, consider an example from contracts set aside for competition among small
businesses. When agencies hold these set-aside competitions, the resulting small-business
prime contractors are limited in how much work they can subcontract and to which types of
firms. Congress revised this so-called “limitation on subcontracting” in the National Defense
Authorization Act for Fiscal Year 2013. See Pub. L. No. 112-239 § 1651, 126 Stat. 2079 (Jan. 2,
2013). The Small Business Administration updated its regulations to implement this statutory
change in early 2016. See 81 Fed. Reg. 34243 (May 31, 2016). But the FAR contract clause
applying this limitation to most federal procurement contracts, FAR 52.214-19, did not receive
corresponding updates until mid-2021. See 86 Fed. Reg. 44233 (Aug. 11, 2021). So small
businesses pursuing set-aside contracts had to deal with inconsistent provisions governing how
much and to whom they could subcontract for roughly five-and-a-half years.

The risk of similar inconsistency looms here. If DoL proceeds with regulations that will apply the
DBA after contract award by operation of law, we anticipate that the FAR Council will follow by
adding directions that in this scenario, contracting officers shall equitably adjust contracts to
reflect the increased costs of the DBA obligations. This type of FAR provision would mirror how
the FAR currently directs equitable adjustments following post-award additions of a DBA wage
determination. See FAR 22.404-5(b)(2)(i); FAR 22.404-6(b)(5); see also FAR 22.1015 (parallel
provision for SCA). But until that FAR update happens, many federal contracting officers will
lack directions on dealing with this situation from FAR provisions specifically applicable to them.

We are concerned that contractors will be stuck in the middle between DoL provisions updated
to read the DBA into contracts by operation of law and a version of the FAR that does not (yet)
direct contracting officers to provide equitable adjustments in that scenario. It is not far-fetched
to imagine an agency arguing that if the DBA applies by operation of law, the contractor was by
extension obligated to comply all along and to price that compliance into its proposal. Indeed,
that was the thrust of the agency’s argument in the Sotera Defense Solutions decision cited
above. To be sure, we appreciate that DoL’s proposed operation-of-law contract clause (29
C.F.R. § 5.5(e)) states that “the prime contractor must be compensated for any resulting
increase in wages in accordance with applicable law.” See Proposed Rule at 15798. But we see
many equitable adjustments as potentially delayed or denied by contracting agencies until an
equivalent command finally appears in the FAR.

We note that our proposed alternative, adapting § 4.5(c) from the SCA regulations, would avoid
these problems. Under § 4.5(c), the SCA is added to a contract after award through a contract
modification—presumably a bilateral modification that makes, or notes a forthcoming request
for, an equitable adjustment. Our suggestion to defer implementation of the proposed operation-
of-law provisions would thus be obviated if DoL instead adopts the § 4.5(c)-based approach
because the bilateral modifications adding the DBA after award could likewise make equitable
adjustments or reflect that such adjustments will be forthcoming.
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   4. Conclusion

Certainly the DBA is a remedial statute under which laborers’ and mechanics’ compensation is
the primary consideration. But how DoL chooses from among the options available to give that
primacy can have second-order effects on administering the very contracts to which the DBA
applies, especially when the DBA’s application is first determined after award. We appreciate
the opportunity to make these suggestions about a discrete but important area of applying the
DBA and welcome any follow-up questions or opportunities for discussion.



Respectfully Submitted,




Eric W. Leonard
Craig Smith
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                             STEPHEN E. SANDHERR, Chief Executive Officer




May 17, 2022

VIA ELECTRONIC SUBMISSION: http://www.regulations.gov

Amy DeBisschop
Director, Division of Regulations, Legislation, and Interpretation
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U.S. Department of Labor
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Washington, DC 20210

Re: Updating the Davis-Bacon and Related Acts Regulations Notice of Proposed Rulemaking
(RIN 1235-AA40)

Dear Ms. DeBisschop:

On behalf of the Associated General Contractors of America (hereinafter “AGC”), thank you for the
opportunity to submit the following comments on the U.S. Department of Labor (hereinafter “DOL” or
“Department”) Wage and Hour Division’s (hereinafter “WHD”) notice of proposed rulemaking (hereinafter
“NPRM”) on the Updating the Davis-Bacon and Related Acts (hereinafter “DBRA”) Regulations. The
NPRM was published in the Federal Register on March 18, 2022.

The Associated General Contractors of America is the leading association for the construction industry.
AGC represents more than 27,000 firms, including over 6,500 of America’s leading general contractors, and
over 9,000 specialty-contracting firms. More than 10,500 service providers and suppliers are also associated
with AGC, all through a nationwide network of chapters. These firms, both union and open-shop, engage in
the construction of buildings, shopping centers, factories, industrial facilities, warehouses, highways, bridges,
tunnels, airports, water works facilities, waste treatment facilities, dams, water conservation projects, defense
facilities, multi-family housing projects, municipal utilities and other improvements to real property. The
bulk of these firms work on federal and federally assisted projects covered by the DBRA.

AGC applauds the Department’s efforts around its most significant review of the DBRA regulations in 40
years. We also appreciate the clarity the NPRM would provide contractors as they focus on rebuilding the
nation’s infrastructure. Over the previous 40 years, contractors increasingly have been forced to rely on
varying and many times conflicting layers of case law, guidance and regional interpretations by both the
DOL and contracting agencies in their compliance with DBRA. The bulk of this proposal puts into

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regulation what the Department considers acceptable as well as how it regularly interprets requirements via
investigative and enforcement practices. While we might not entirely agree on every proposal, at the very
least, contractors could now have more regulatory text to point to as concrete guidance in their DBRA
compliance, instead of having to deal with an enforcement action after the fact with costly litigation or
penalties.

AGC also appreciates the stakeholder outreach and inclusion provided prior the rulemaking. We were
excited to participate in industry meetings and provide our input on the current state of the DBRA
regulations as well as our opinions on what specifically was in desperate need of reforms. AGC had
previously developed thoughtful and long-standing considerations of DBRA reform, both regulatory (32
considerations) and statutory, which were shared with the WHD. While we appreciate that several of those
regulatory considerations of reform were considered and included in some form in the NPRM, we also are
disappointed that only so few were considered out of roughly 32 regulatory reforms AGC shared. We hope
that the Department reconsiders and consults our regulatory reform considerations as it finalizes these
updates. AGC also believes that for the first comprehensive review of the DBRA regulations, the
Department is missing several huge and unique opportunities to substantially improve the DBRA
regulations. We recommend the Department focus on truly modernizing the regulations through clarity
rather than added complexity and burden on contractors.

Additionally, WHD is requesting extensive comments on the proposed rule and has asked for specific data
from the federal construction contractor community. The Department itself recognizes that this rulemaking
“represents the most comprehensive review of the Davis-Bacon Act regulations in 40 years.” WHD is
proposing significant material changes at the federal, state and contract level that will require extensive
consultation, discussion and coordination with AGC chapters and members to assess their impact and
practicality. To best accommodate your request, AGC would like the opportunity to reach out to its
members regarding the impact of the proposed rule on their companies. Unfortunately, sixty days does not
warrant our membership organization enough time to draft a survey, receive feedback from members,
analyze the results, and draft as thoughtful a response to your request for comments that we would have
liked. Also, in construction, spring denotes the beginning of peak construction season and many of those
who would provide AGC with thoughtful feedback are currently focused on recruiting workers for the
season amidst a historic workforce crisis. As a result, again it will be extremely difficult for AGC to get as
meaningful feedback as we would have liked from its members in time to properly prepare comments
before the May 18 deadline. AGC formally submitted a request 1 for a 60-day extension to the current
comment period, which was casually and quietly denied. 2 AGC believes that for the most significant review
and update to the DBRA rules in 40 years, more time is needed for the Department to receive truly
thoughtful input from all stakeholders impacted, not just the few consulted prior the rulemaking. WHD
understands the DBRA and governing regulations are extremely complex and many organizations with
affected members by this update need time to gather and educate themselves to provide thoughtful input.
AGC questions, why the rush?




1
  Associated General Contractors of America (March 22, 2022)., Request for a 60-Day Extension for Public Comments on RIN
1235-AA40 - Updating the Davis-Bacon and Related Acts Regulations Notice of Proposed Rulemaking, retrieved from
https://www.regulations.gov/comment/WHD-2022-0001-0034.
2
  U.S. Department of Labor (April 21, 2022), Comment Period Extension Request Declination, retrieved from
https://www.regulations.gov/document/WHD-2022-0001-5513.
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Regardless of the rigid timeline of the existing comment period, AGC would like to take the opportunity to
address the following specific topics of the proposal by the Department:

Reverting to the (pre-1983) 3-Step Process is Unnecessary and a Missed Opportunity at True
Modernization of the Wage Determination (hereinafter “WD”) Process

AGC is disappointed and believes that WHD has missed a huge and unique opportunity to substantially
improve the process of determining wages. Instead, the proposal appears to just make it easier on the WHD
itself to set prevailing wages with less of the data it already collects, or lack thereof. DOL’s almost exclusive
reliance on voluntary wage surveys to produce and update WDs has created a compensation system for
DBRA covered construction that poorly reflects the construction labor market in many parts of the country.
WHD should focus on how to collect more accurate data, instead of being able to rely on less or even at
times inappropriate data, to determine wages that are truly prevailing. Inaccurate WDs and classifications
hinder the ability of contractors to compete, and many times expose them to unexpected liabilities.

The Department recognizes in the NPRM that contracting agencies and contractors alike are plagued with
issues regarding WHD’s WDs, including missing classifications, woefully outdated WDs, and/or many times
completely inaccurate WDs which leave it up to the contractors themselves to sort out after award of a
project. This proposal, along with others contained in the NPRM, is intended to supplement the wage
survey program, but unfortunately does not help increase the accuracy and amount of wage data. Instead,
WHD intends to continue to collect the same data, through the same methods, and utilize less and
potentially improper data in producing WDs.

This proposal, amongst others in the NPRM, is obviously a response to the low participation of contractors
in the Department’s wage surveys. A major reason for the lack of contractor participation in wage surveys,
and therefore lack of utilizable data, is the Department’s insistence that wage rate and fringe benefit data be
reported by how many workers in each craft classification were employed on each construction type by
individual county and by individual project. Extracting this data from contractor payroll records is
painstaking, especially when a survey is occurring during the high construction season (typically spring-fall).
The Department should revise its wage survey process to allow contractors to report this information by the
wage and fringe benefits paid to individual craft classifications in each county by construction type, instead
of broken-down project-by-project.

Variable Rates that are “Functionally Equivalent” Could Place Certain Contractors at a
Competitive Disadvantage

The use of a functionally equivalent rate in the manner the Department proposes could create wage rate and
competitive inequities in many circumstances. For example, WDs CA2, for building, heavy and highway
construction in three California counties, lists 25 different groups for “power equipment operator for all
other work.” Each group has a different wage rate, ranging from $48.25/hour to $52.93/hour. All groups
have the same fringe benefit (FB) rate of $27.20/hour. Each group has a different list of equipment that
they operate. Power equipment operators for cranes, piledriving and hoisting have 13 groups. Operators for
tunnel work have 7 groups. In addition, there are hourly additions for premium pay and hazardous material
work for each power equipment operator classification.
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What would the “functionally equivalent” rate for the 25 groups of power equipment operators be in this
WD? The difference between the lowest and highest wage rate is $4.68/hour (9.7%). Would the WHD
simply use the rate in the middle of the range, or allow some percentage variation from a base “functional”
wage? Would this be the “appropriate” “slight variation” WHD has in mind? How would premium and
hazardous material pay figure into this one “functional” rate?

A functional rate that is less than the CBA rate in a WD that would otherwise use the CBA rates and
classifications could put contractors that are signatory to those CBAs at a competitive disadvantage in
bidding, since the signatory contractors would be contractually obligated to pay the higher CBA rate while
nonsignatory contractors would be free to pay the lower functional rate. Despite the Department’s
assurance that special rates would not be permitted, the use of “functional” wage rates might create
incentives for contractors and unions to negotiate rates that accommodate this practice and preserve their
competitiveness. When does this calculation/balance become too complicated, impractical, uncompetitive,
more than a “slight variation” and “inappropriate?”

Expanding the Definition of Area on Highway Projects Spanning Multiple Counties is Logical and
True Modernization

A large highway project can encompass several counties. Under current practice this can, and many times
does, result in multiple WDs being issued and applicable to the same project. These WDs may have
different wage rates for the same craft classifications, may not have the same classifications, or the job duties
for the same classifications may be different in neighboring counties. Determining which WD applies and
when, what to do about conflicting job duties for the same classification in different WDs, and
classifications that are in one WD and not in another are common issues when multiple WDs are issued for
the same project. This proposal properly addresses this situation by authorizing DOL to issue one WD for
the entire project, regardless of its geographic scope and provides logical relief and harmonization to both
contractors and contracting agencies alike. AGC believes this to be in the spirit of true modernization as
most highway projects utilize the same workers from the same area and the entire project should be
considered a construction market.

Wage Rates from Federal Projects Should not be Used for Building and Residential Projects

DOL should not use wage data from federal projects for building or residential construction wage rates (or
highway and heavy construction if it can be avoided). AGC is not aware of any significant deficiencies in the
sources of private data for building and residential construction that would necessitate a change in the
current practice or regulation.

Adoption of State and Local Wage Rates and Periodic Adjustments to Update Outdated Open
Shop Rates Could Increase Accuracy if Done Properly

AGC appreciates the Department’s interest in considering less traditional methods to try to improve the
accuracy of outdated rates. Adopting state and local wage rates could improve the accuracy and timeliness of
rates if done properly. The viability and practicality of this proposal depends almost entirely on how much
confidence one has in state procedures for collecting wage rate data and calculating prevailing wages. The
proposal also gives the Administrator ultimately the authority to accept particular state and local rates, even
with change. If the Department finalizes this proposal, any WD that includes state prevailing wages should
transparently indicate which rates have been adopted and whether those rates have been modified from the
original state rate.
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Likewise, periodically adjusting woefully out-of-date open shop rates through creative and non-traditional
methods where the Department cannot gather enough data could also improve the accuracy of rates if done
thoughtfully. The Employment Cost Index (ECI) is a high-quality data series: large sample size, gathered
and calculated according to scientifically sound principles. Updated each quarter and posted, with a press
release, one month after the quarter (e.g., on the last business day of April--April 29, 2022--for Q1 2022).

There are, however, some choices about which series to use (apart from not seasonally adjusted or
seasonally adjusted data). BLS posts data for wages and salaries and for total compensation, which includes
employer-paid benefits and required payments for employer taxes and workers compensation. And data is
posted for all private industry workers in the construction industry and in "construction, and extraction,
farming, fishing, and forestry occupations" combined. If the Department considers this proposal, they
should specify which series to use.

Metro and Rural Wage Data Should not be Mixed; Defined Market Approaches Should be Used
Instead

The prevailing rate should be based on a civil subdivision or other area that shares a common sphere of
economic influence. Combining of counties or other civil subdivisions should only be done when they are
economically related and part of the same sphere of influence, such as the NPRM grants to highway
projects. But the Department should also retain flexibility in this matter instead of prescriptiveness. Every
state, county, city and especially construction market is unique and so should the prevailing rate be based.

The Department’s reliance on urban data for rural WDs to make up for insufficient rural data has resulted in
erratic WDs and inappropriately impacted competitive bidding.” The utilization of urban rates in rural
counties have a selective impact on rural contractors and local construction workforces as urban contractors
travel with their own workforces and undercut the locals. The Department needs to further clarify this
proposal and set specific definitions and limitations to how it would identify a “contiguous local
construction labor market.” Instead, a defined market approaches should be utilized. Again, the Department
should be proposing ways of increasing the collection of accurate utilizable wage data instead of being able
to use less and inappropriate data in setting WDs.

Again, this proposal, amongst others in the NPRM, are obviously a response to the low participation of
contractors in the Department’s wage surveys. A major reason for the lack of contractor participation in
wage surveys, and therefore lack of utilizable data, is the Department’s insistence that wage rate and fringe
benefit data be reported by how many workers in each craft classification were employed on each
construction type by individual county and by individual project. Extracting this data from contractor
payroll records is painstaking especially when a survey is occurring during the high construction season
(typically spring-fall). The department should revise its wage survey process to allow contractors to report
this information by the wage and fringe benefits paid to individual craft classifications in each county by
construction type, instead of broken-down project-by-project.

Frequently Conformed Rates Should be Included in Wage Determinations

As previously mentioned, inaccurate WDs and missing classifications are more the norm than not for
DBRA covered projects. The current process leaves the burden upon the contractor to seek out accurate
rates, almost always after award of a project. This can hinder the ability of contractors to compete, and
many times exposes them unknowingly to liabilities. As DOL notes, it receives thousands of conformance
requests every year because, again, so many WDs lack necessary classifications. With the lack of more
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thoughtful ideas in this NPRM to increase the Department’s collection of accurate utilizable wage data, this
is logical preemptive action by the Department to provide contractors more information upfront in the
contract bidding and award process.

Coverage of a Portion of a Building or Work Proposal is not Consistent with the Davis-Bacon Act
(hereinafter “DBA”)

This proposal seems to be directed to space that is leased by the government in privately
owned/constructed facilities. All Agency Memoranda (hereinafter “AAM”) 176 outlines five factors to
consider when determining when construction performed to accommodate a government lease is substantial
enough to be subject to the DBA. When a government agency is a party to a lease that includes construction
to accommodate government requirements (e.g., build out offices, security provisions), DOL may consider
the lease to also be a contract for construction if the amount of construction is substantial (over the $2000
threshold for DB applicability) and the government will occupy the space for an extended time.

In District of Columbia v. Department of Labor 3. The court ruled that the DBA did not apply to the
CityCenterDC project because DC was not a party to the construction contract and because the project was
not a “public work” under the DBA. The court held that to be a public work:

    (1) The project’s construction must be publicly funded; or
    (2) The government must own or operate the completed facility, as with a public highway or public
        park.

The court noted that

         the Department says that the phrase “construction . . . carried on directly by authority of or with
         funds of a federal agency” includes situations where D.C. neither builds the project nor expends
         funds for construction, but merely leases land to a developer who then pays for the construction by
         contracting with a general contractor. We disagree. DOL did not cite any cases where it has
         previously interpreted this regulatory language to stretch to situations in which there is no public
         funding for the construction. So, too, the Department has cited no cases in which the similar
         language in the National Industrial Recovery Act or the Miller Act has been applied to a project with
         no public funding for the construction. In light of the history, context, and terms of the regulation,
         the Department’s reading of its regulation is not reasonable. It would vastly expand the coverage of
         the regulation – and indeed would stretch the regulation beyond what the statute can reasonably
         bear. Put simply, the interpretation that the Department offers to this Court is inconsistent with the
         regulation, see Auer v. Robbins 4, and if adopted would make the regulation inconsistent with the
         statute, see Chevron 5.

The Department is proposing the same approach and definition here that the circuit court rejected in the
CityCenter case. The DBA does not apply to all contracts “for which the government is responsible.”
According to the court, the DBA cannot reasonably be read to cover construction contracts to which D.C.
is not a party. That reading would require erasing the phrase “to which the Federal Government or the
District of Columbia is a party” from the statute. The courts acknowledged that it was not at liberty to


3
  District of Columbia v. Department of Labor, 819 F. 3d 444 (D.C. Cir. 2016).
4
  Auer v. Robbins, 519 U.S. 452 (1997).
5
  Chevron, 467 U.S. 837 (1984).
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rewrite laws in that fashion. With all due respect, the Department is not at liberty to do so either.

Additionally, this proposal is especially open-ended – covering construction carried on “directly by authority
of or with funds of a federal agency to serve the interest of the general public, even where construction of
the entire building or work does not fit within this definition.” It’s not really a “definition” at all. “Directly
by authority of . . . to serve the general public” can cover a lot of situations that do not involve a
construction contract, such as the CityCenter leases. But even under this approach, they would still be
subject to the DBA because they don’t have to “fit within this definition.”

The DBA applies only to publicly funded projects, or when the government owns or operates a facility. The
Department’s “longstanding” policy, or administrative or judicial decisions to the contrary that predate the
court of appeals decision in CityCenter, do not constitute authority to amend the DBA through regulations
and AAMs. If the Department seeks to change DBA coverage, it must seek legislative change.

Contractor, Prime Contractor, Subcontractor Definitions Should Not Include “Business Owner”

The Department is silent on the status of “business owner” in the NPRM. According to Section 15f06 of
the Field Operations Handbook (hereinafter “FOH”), an employee who owns at least a bona fide 20
percent equity interest in the enterprise in which employed, regardless of the type of business organization
(e.g., corporation, partnership, or other), and who is actively engaged in its management, is considered a
bona fide exempt executive. The salary and salary basis requirements do not apply to the exemption of
business owners under the Fair Labor Standards Act regulations at 29 CFR 541.101. An individual with a 20
percent or greater interest in a business who is required to work long hours, makes no management
decisions, supervises no one and has no authority over personnel does not qualify for the executive
exemption. To qualify for the exemption, a minority owner with at least a bona fide 20 percent interest in
the business must be actively engaged in management.

AGC reminds the Department that business owners meeting this definition are exempt from DBA
coverage, are regularly employed and integral to projects. AGC opposes the inclusion of business owners in
the definition of “contractor” or “subcontractor.”

Surveying Work Should not be Covered

The Department may recall AAM 212 which extended DBA coverage to those performing surveying work.
It became clear soon thereafter that a distinction had to be made about those who were salaried exempt and
supervising the crew versus which tasks and workers fell under the definition of laborers and mechanic. The
Department received a flood a conformance requests (SF 1444) because surveyor rates did not appear in the
applicable local wage determinations. Much to the industry’s relief, the Department then issued AAM 235
rescinding AAM 212 and once again confirmed that surveying work is not covered by the DBA. DBA is one
of the most complex regulations with which construction contractors are required to comply; further
flipflopping on this issue, amongst others in the NPRM, would only introduce added confusion that will
take significant time and effort by both the industry and the Department to sort out. AGC believes that
nothing in industry practice has changed to warrant a change in this issue and that surveying work should
continue to not be considered covered by the DBA.

Site of Work and Related Provisions are an Unnecessary and Massive Expansion of DBA

DOL proposes to revise the site of work to (1) “further encompass” certain construction of “significant
portions” of a building or work at a secondary site, (2) clarify application of the site of work to include
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flaggers, (3) better delineate material suppliers and (4) set clear standards for truck drivers. DOL also
proposes to use the term “nearby dedicated support site” to describe locations such as batch plants that are
part of the site of work because they are dedicated exclusively, or nearly so, to the project and are adjacent
or nearly adjacent to a primary or secondary construction site.

The 2000 rule amended the definition of the site to include a site away from the building or work where the
site is established specifically for the contract and a “significant portion” of a building or work is
constructed. Transportation between the sites is also covered. The Ball 6 and Cavett 7 decisions involved
facilities that were no more than 3 miles from the site of work. This proposal seeks to use a more subjective
standard of “nearby” to extend coverage off-site facilities.

The site of work provisions have been settled through litigation for decades now and the regulatory changes
made in response to litigation have made application of the “site of work” and “adjacent or virtually
adjacent” more consistent and predictable. Contractors understand the current site of work regulations and
it appears the DOL is trying to get around the litigation and excessively expand the definitions. Additionally,
the current limitation of DB coverage to adjacent or virtually adjacent facilities imposed by the Ball and
Cavett decisions does not need further elaboration and does not apply to “nearby” facilities.

“Site of Work” Background

Building and Construction Trades Department, AFL-CIO v. U.S. Department of Labor Wage Appeals Board and Midway
Excavators, Inc. 8

The court in Midway held that:

        The Act [DBA] covers only mechanics and laborers who work on the site of the federally-funded
        public building or public work, not mechanics and laborers employed off-site, such as suppliers,
        materialmen, and material delivery truck drivers, regardless of their employer. . .. Material delivery
        truck drivers who come onto the site of the work merely to drop off construction materials are not
        covered by the Act even if they are employed by the government contractor . . . 29 CFR 5.2(j),
        insofar as it includes off-site material delivery truck drivers in the Act’s coverage, is invalid.

Following Midway, DOL published an interim final rule amending the regulations to state that “the
transportation of materials or supplies to or from the site of the work by employees of the construction
contractor or a construction subcontractor is not ‘construction, prosecution, completion, or repair.’ 9 Truck
drivers employed by a contractor or subcontractor who transport materials to or from the ‘site of the work’
would not be covered for any time spent off-site, but would remain covered for any time spent directly on
the ‘site of the work.’” At the same time, DOL noted that the Midway decision held that the Midway truck
drivers who were engaged in making deliveries to the site were not covered under DBA even though they
spent brief periods of time on the site.”




6
  Ball, Ball and Brosamer, Inc. v. Reich, 24 F.3d 1447 (D.C. Cir. 1994).
7
  L.P. Cavett Company v. U.S. Department of Labor
8
  Building and Construction Trades Department, AFL-CIO v. U.S. Department of Labor Wage Appeals Board and Midway
Excavators, Inc., 932 F.2d 992 (D.C. Cir. 1991).
9
  29 C.F.R. 5.2.(j)(2).
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DOL proposed to define this incidental time on site as less than 20 percent of an employee’s workday or
workweek. The 20 percent threshold was incorporated into FOH 15e16(c) on material supplier truck drivers.
Specifically, if a material supplier truck driver “undertakes to perform a part of a construction contract as a
subcontractor” such as “warranty and/or repair work,” and if such work exceeds 20 percent of the driver’s
time in a workweek, the driver is covered for all on-site time during the workweek.

Ball, Ball and Brosamer, Inc. v. Reich 10

This case involved a portable concrete plant two miles from the construction site. The court held that:

           The Secretary maintains that the regulations at 5.2(l)(2) satisfy the geographic limiting principle of
           the Davis-Bacon Act and Midway. This might be the case if the Secretary were applying the
           regulatory phrase “so located in proximity to the actual construction location that it would be
           reasonable to include them” only to cover batch plants and gravel pits located in actual or virtual
           adjacency to the construction site. See 29 CFR 5.2(l)(1). But such an application is not before us and
           we express no opinion on its validity. Instead, the Secretary attempts to find any tiny crack of
           ambiguity remaining in the phrase “directly upon the site of the work” and cram into it a regulation
           that encompasses other sites miles from the actual location of the public works.

           In Midway, we determined that “not surprisingly, that Congress intended the ordinary meaning of its
           words.” 932 F.2d at 992. That is, the limitation in the statute making it applicable to “‘mechanics and
           laborers employed directly upon the site of the work’ restricts coverage of the Act to employees who
           are working directly on the physical site of the public building or public work being constructed.”

           In the end, we reach the same conclusion we did in Midway. The statutory phrase “employed directly
           upon the site of the work,” means “employed directly upon the site of the work.” Laborers and
           mechanics who fit that description are covered by the statute. Those who don’t are not.

L.P. Cavett Company v. U.S. Department of Labor 11

The court in this case held that an asphalt plant 3 miles from a highway project was not a site of work.
Specifically:

           In reaching our decision, we rely on the reasoning employed by the D.C. Circuit in Ball, Ball &
           Brosamer, Inc. v. Reich.

           In reaching its decision [in Midway], the [DC Circuit] court commented that “[n]othing in the
           legislative history suggests, as DOL has ruled, that Congress intended the employment status of the
           worker, rather than the location of his job, to be determinative of the Act’s coverage.”

           The statutory phrase “employed directly upon the site of the work” means that only employees
           working directly on the physical site of the public work under construction have to be paid
           prevailing wages.


10
     Ball, Ball and Brosamer, Inc. v. Reich, 24 F.3d 1447 (D.C. Cir. 1994).
11
     L.P. Cavett Company v. U.S. Department of Labor, 101 F.3d 1111 (6th Cir. 1996).
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        Moreover, if the geographic proximity of the Davis-Bacon Act were expanded in the manner
        advocated by the Department of Labor, we would create the difficult problem of determining which
        off-site workers were indeed closely enough “related” to the public work site to justify inclusion
        under the Act. The Ball court noted as much when it stated, “[T]he Secretary attempts to find any
        tiny crack of ambiguity remaining in the phrase “directly upon the site at the work” and cram into it
        a regulation that encompasses other sites miles from the actual location of the public works.”

In the Matter of Rogers Group, Inc., John C. Haydon and Rose Transport, Inc. 12

In this case, WHD argued that, when the time spent on site by material delivery truck drivers employed by
DBA contractors and subcontractors during the course of the day is “significant,” the de minimis exception
cannot exempt them from DBA coverage for this “significant” time. WHD contended that the truck drivers
spent their entire day furnishing materials and were on the sites between one and 52 times a day, for
between 10 minutes and seven and one-half hours.

The administrative law judge (ALJ) rejected this argument, holding that in Midway the DC Circuit concluded
that laborers and mechanics employed off-site are not covered by the DBA. Material delivery truck drivers
who come onto the site only long enough to make their deliveries are not employed directly on the site of
the work. The DC Circuit reiterated this interpretation in Ball, Ball & Brosamer, Inc. The Sixth Circuit relied
on this reasoning in Cavett.

In response to these decisions, the Department published proposed revisions to its position on DBA
applicability to truck drivers. The Department noted that truck drivers who transport material to or from
the site would not be covered for time spent off-site, but would be covered for any time spent directly on
the site that is more than de minimis.

The Department argued that the 2000 revision to 29 CFR 5.2(l)(1)13 is entitled to Chevron 14 deference. The
ALJ did not agree. This deference was rejected in Midway. Where the intent of Congress is clear, the court
and agency must give effect to the unambiguously expressed intent of Congress. Both Midway and Cavett
found no ambiguity in the plain language of the DBA. The Department’s interpretations of the DBA and
the scope of the Midway decision and its regulation are not entitled to deference either. Neither is the Field
Operations Handbook (FOH). The FOH is contrary to the Sixth Circuit precedent expressly excluding
material delivery truck drivers from DBA coverage. In addition, agency interpretations contained in agency
manuals and guidelines such as the FOH lack the force of law and do not warrant Chevron-style deference.

The Department did not allege that the truck drivers employed by Rogers performed any work while on the
site other than unloading the materials they delivered. The Department argued that a court must consider
both the location where the drivers spent the majority of their time and the time spent on the site during
each delivery. According to the ALJ, the Department infers from Midway that material delivery truck drivers
were not entitled to DBA wages based on where the drivers spent most of their time and the amount of


12
   In the Matter of Rogers Group, Inc., John C. Haydon and Rose Transport, Inc. Case No. 2012-DBA-00005 (5/28/13),
Available at: https://www.oalj.dol.gov/Decisions/ALJ/DBA/2012/WAGE_and_HOUR_DIVISI_v_ROGERS_GROUP_INC-
ROS_2012DBA00005_(MAY_28_2013)_162104_CADEC_SD.PDF.
13
   Labor Standards Provisions Applicable to Contracts Covering Federally Financed and Assisted Construction, 65 Fed. Reg.
80278 (December 20, 2000) (to be codified at 29 CFR Part 5). Available at: https://www.govinfo.gov/content/pkg/FR-2000-
12-20/pdf/00-32436.pdf#page=12.
14
   Chevron, U.S.A. v. Natural Res. Def. Counsel, 467 U.S. 837 (1983).
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time they spent on the site during each trip.

The ALJ disagreed. The Midway court concluded that material delivery truck drivers who come onto the site
merely to drop off deliveries are not covered because their work serves the same function as materialmen,
who are excluded from the DBA. Under Midway and Cavett, truck drivers who deliver materials from off-site
facilities to the site are not covered because they are not employed directly on the site of the work. Material
delivery truck drivers who enter the site of work only long enough to deliver construction materials, like
those employed by Rogers, are employed off-site and not subject to the DBA.

DOL has not issued any opinion letters that specifically address the parameters of the site of the work as
published in the 2000 regulatory amendments. The Administrative Review Board has also issued a limited
number of decisions that address “site of the work.” The following decisions provide limited guidance:

In re Abhe & Svoboda, Inc., 15 the Board applied the previous regulatory definition of “site of the work” and
found that laborers performing clean up duties on the ground below bridges that were being painted per the
covered contract were on the site of the work.

In re Forest M. Sanders, 16 the Board held that a borrow pit was part of the site of the work if it was dedicated
exclusively, or nearly so, to the performance of the road project and if it was adjacent or virtually adjacent to
it, and remanded the case to WHD for further consideration.

In re Gary J. Wicke, 17 the Board held that although the previous definition applied in this case, it affirmed
WHD’s determination that a borrow pit 3-5 miles from construction site was not on the “site of work,” not
adjacent or virtually adjacent to it, or exclusively dedicated to the project, noting that the Administrator’s
determination was consistent with the court of appeals decisions and the revised regulations.

Current DOL Site of Work Guidance

The site of the work is currently defined as “the physical place or places where the building or work called
for in the contract will remain; and any other site where a significant portion of the building or work is
constructed, provided that such site is established specifically for the performance of the contract or
project.” 29 CFR § 5.2(l)(1); see also FOH 15b04. 18 Batch plants, borrow pits, job headquarters, tool yards,
etc., are part of the site of work, provided they “are dedicated exclusively, or nearly so, to performance of
the contract or project” and are “adjacent or virtually adjacent to the site of the work” as defined in 29 CFR
§ 5.2(l)(1). 29 CFR § 5.2(l)(2) (emphasis added); FOH 15b04. However, the site of the work does not
include permanent home offices, branch plant establishments, tool yards, etc., “whose location and
continuance in operation are determined wholly without regard” to the particular contract or project. 29
CFR § 5.2(l)(3). The regulations further address permanent facilities of materials suppliers.

As listed in FOH 15b04, examples of site of the work include:

     1. If a small office building is being erected, the “site of work” will normally include no more than the
        building itself and its grounds.


15
   In re Abhe & Svoboda, Inc., ARB No. 01-063, 2004 WL 1739870 (ARB July 30, 2004).
16
   In re Forest M. Sanders, ARB No. 05-107, 2007 WL 4248530 (ARB Nov. 30, 2007)
17
   In re Gary J. Wicke, ARB No. 06-124, 2008 WL 4462982 (ARB Sept. 30, 2008)
18
   Available at: https://www.dol.gov/agencies/whd/field-operations-handbook.
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       2. In the case of larger contracts, such as for airports, highways, or dams, the “site of the work” is
          necessarily more extensive and may include the whole area in which the construction activity will
          take place.

       3. Where a very large segment of a dam is constructed up-river and floated downstream to be affixed
          onto a support structure, the secondary construction site would be within the meaning of “site of
          the work” for Davis-Bacon purposes if it was established for and dedicated to the dam construction
          project.

This definition has been in place since the Department’s December 20, 2000, final regulations, effective
January 19, 2001, that revised the definitions of “site of the work” and “construction, prosecution,
completion, or repair.” 65 FR 80268-01 (Dec. 20, 2000). The revisions were made to clarify the regulatory
requirements in response to three U.S. Court of Appeals decisions that held that DOL’s application of the
prior regulatory definitions was inconsistent with the DBA limitation to those workers employed “directly
on the site of the work.” 65 FR at 80270. The preamble to the final regulations includes the following DOL
guidance and observations:

       1. DOL is “constrained” “to limit prevailing wage coverage of off-site, dedicated support facilities to
          those that are either adjacent or virtually adjacent to the construction location.” 65 FR at 80271.

       2. Dedicated support facilities are viewed as included within the site of the work only where they are
          located on, adjacent, or virtually adjacent to the site of the public building or public work. 80271-72.

       3. The Department does not precisely define the terms adjacent or virtually adjacent. It believes that
          the courts intended it to apply the site of work requirement “narrowly, but with common sense and
          some flexibility” and determinations should be made on a case-by-case basis. 80272.

       4. Establishing a specific maximum distance beyond which off-site facilities would not be covered
          “would be ill-advised.” “[I]t can be almost impossible to determine the exact outer boundaries of
          large public works projects, such as . . . a major highway construction project. Thus, a numerical
          figure representing the maximum distance a dedicated facility can be located from the construction
          site would be arbitrary and impractical to apply.” “[T]he site of work limits for the construction of a
          single building in an urban location would likely be restricted, and a dedicated facility located only a
          few city blocks away from the building “would most likely not be considered ‘virtually adjacent’ for
          Davis-Bacon purposes.” 80272-73.

“The Site of Work”, “Significant Portions”, and “Nearby Dedicated Support Site” H ave Already
Been Litigated

The site of work regulatory requirement does not apply to related acts that extend DB coverage to all
laborers and mechanics employed in the “development” of a project (citing housing acts). The material
supplier exception does not apply to work under statutes that extend DB coverage to all laborers and
mechanics employed in the “development” of a project, regardless of whether they are employed by
contractors or subcontractors. The adjacent or virtually adjacent limitation on coverage of material suppliers
was adopted after the Ball 19 and Cavett 20 decisions. And the provision that exempts transportation of material


19
     Ball, Ball and Brosamer, Inc. v. Reich, 24 F.3d 1447 (D.C. Cir. 1994)
20
     L.P. Cavett Company v. U.S. Department of Labor, 101 F.3d 1111 (6th Cir. 1996)
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to or from the site is from the 1992 interim final rule implementing Midway 21.

As covered above, the site of work provisions have been settled through litigation for decades now and the
regulatory changes made in response to litigation have made application of the “site of work” and “adjacent
or virtually adjacent” more consistent and predictable. Contractors understand the current site of work
regulations and it appears the DOL is trying to get around the litigation and excessively expand the
definitions. Additionally, the current limitation of DB coverage to adjacent or virtually adjacent facilities
imposed by the Ball and Cavett decisions does not need further elaboration and does not apply to “nearby”
facilities.

We anticipate that by dramatically revising and expanding the definitions as proposed, the result would lead
to further costs and compliance nightmares. Why drastically rewrite existing guidelines that contractors
currently are familiar with? AGC recommends that the WHD instead put into regulation the already clear
and existing rules that contractors regularly turn to in compliance and have for a long time. In a nutshell,
why create unnecessary confusion?

AGC also recommends that the Department:

     •    Limit Davis-Bacon Act coverage to the physical site of construction;
     •    Revise regulations to codify the enforcement practice of applying a de minimis threshold that
          excludes coverage of activities at the site of the work that amounts to 20% or less of the employees’
          work hours that week; and
     •    Expand application of the de minimis rule to all covered workers and activities at the site of the
          work, not just truck drivers who are loading and unloading materials.

Flagger Distinctions and Thresholds Should be Retained

The Department proposes to clarify, in the definition of ‘‘nearby dedicated support sites,’’ that such
workers, even if they are not working precisely on the site where the building or work would remain, are
working on the site of the work if they work at a location adjacent or virtually adjacent to the primary
construction site, such as a few blocks away or a short distance down a highway.

Coverage of flaggers and traffic directors is addressed in 15e10 of the FOH. Flagger duties are manual and
physical in nature and integrally related and necessary to the construction activities at the site. Employees of
traffic service companies which operate as subcontractors on DBA projects are generally covered. However,
traffic service companies that rent equipment to the prime contractor and perform only incidental functions
at the site in connection with delivery of equipment are regarded as material suppliers and not covered by
DBA unless they spend a substantial amount of time (20% or more) in a workweek on the site (15e16).

The Department should maintain the distinction between flaggers and employees of traffic service
companies, as well as retain the 20% threshold for traffic service company employees.




21
  Building and Construction Trades Department, AFL-CIO v. U.S. Department of Labor Wage Appeals Board and Midway
Excavators, Inc., 932 F.2d 992 (D.C. Cir. 1991)
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Material Supplier Distinctions and Thresholds Should be Retained

The Department proposes to clarify the distinction between subcontractors and material suppliers.
Employees of material suppliers are not currently covered under the DBA and “most of the Related Acts.”
The Department proposes three criteria for the exemption:

   (1) the employer’s only obligation for work on the contract is for delivery of materials, which can include pick-up, but not
       exclusive of, delivery;
   (2) the employer also supplies material to the general public; and
   (3) the employer’s facility is not established specifically for the contract or located at the site (citing Zachery, AAM 31,
       45, 53).

If the employer engages in other construction work at the site, it is a subcontractor rather than a material
supplier.

DBA coverage of material suppliers is largely already addressed by 15e16 of the FOH, and AGC
recommends that Department retain the current FOH guidance on material suppliers and/or that the
Department clarify its current guidance.

Truck Driver Distinctions and Thresholds Should be Retained

DBA coverage of truck drivers is largely addressed by section 15e22 of the FOH. The DOL proposal would
eliminate the de minimus rule and the 20% threshold for suppliers that come on site for functions like
equipment repair. DOL maintains that there is “uncertainty” about how and when the de minimus rule
applies. The Department should revise regulations to codify the enforcement practice of applying a de
minimis threshold that excludes coverage of activities at the site of the work that amounts to 20% or less of
the employees’ work hours that week

The FOH (FOH 15e17) explains contractors’ obligations under the DBA and Contract Work Hours and
Safety Standards Act (“CWHSSA”) when using the services of a truck driver who owns and operates his or
her own truck as follows:

       As a matter of administrative policy, the provisions of DBRA/CWHSSA are not applied to bona
       fide owner-operators of trucks who are independent contractors. For purposes of these acts, the
       certified payrolls including the names of such owner-operators need not show hours worked nor
       rates paid, but only the notation owner-operator. This position does not pertain to owner-operators
       of other equipment such as bulldozers, scrapers, backhoes, cranes, drilling rigs, welding machines,
       and the like. Moreover, employees hired by owner-operators are subject to DBRA in the usual
       manner.

This proposal is silent on truck owner-operators. AGC requests that DOL expressly adopt in the final rule
the above policy limiting contractors’ obligations under DBA and CWHSSA with regard to such owner-
operators.
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Transportation Distinctions and Thresholds Should be Retained

DOL proposes to cover “transportation” that:

    (1) Takes place entirely on the location of the site;
    (2) Of portions of the building or work between a “secondary construction site” and a “primary
        construction site”;
    (3) Between a “nearby dedicated support site” and either a primary or secondary site;
    (4) A driver’s or driver’s assistant “onsite activities essential or incidental” to offsite transportation
        “where the time spent is not so insignificant that it cannot be practically recorded”; and
    (5) Any transportation and related activities whether on or offsite under a related statute that extends
        coverage to laborers and mechanics employed in the construction or “development” of a project.

Items 1, 2, 3 and 5 are reflected in current regulations. The essential or incidental activities in item 4 related
to the transportation of material include loading, unloading, and waiting time where time is not so
insubstantial that it is not practical to precisely record. This is the same standard as the “de minimis”
standard in the Fair Labor Standards Act (FLSA). DOL assumes that in the vast majority of cases it will be
feasible to record the time spent on site.

DBA coverage under the transportation proposal is largely dependent on the proposal for the site of work.
If “secondary construction sites,” “nearby dedicated support sites” and “related activities” under related acts
are covered, truck driver DBA coverage will be significantly expanded. This proposal is also silent with
respect to truck owner-operators. It appears to eliminate them. The proposal for drivers and driver’s
assistants to cover time that “is not so insignificant that it cannot be practically recorded” is impractical. The
FLSA FOH advises that:

    •    “In recording working time, insubstantial, or insignificant periods of time outside the scheduled
         working hours may be disregarded. The courts have held that such trifles are de minimis. This rule
         applies only where a few seconds or minutes of work are involved and where the failure to count
         such time is due to considerations justified by industrial realities. An employer may not arbitrarily
         fail to pay for any part, however small, of the employee’s fixed or regular working time”; and
    •    “It has been found that in some industries, particularly where time clocks are used, there has been
         the practice of recording the employee’s starting and stopping time to the nearest 5 minutes, or to
         the nearest 1⁄10 or 1⁄4 of an hour. For enforcement purposes, this practice of computing working
         time will be accepted, provided that it is used in such a manner that it will not result, over a period
         of time, in the failure to compensate the employees properly for all hours they have actually
         worked.”

AGC again recommends that the current regulations and guidance with respect to truck drivers, including
the de minimis rule and the 20% threshold, should be codified. The proposal is not consistent with Midway,
Ball or Cavett, and the proposal for drivers and driver assistants is impractical and unnecessary.

“Development Statute”

“Development statute” means a statute that requires payment of DBA prevailing wages to all laborers and
mechanics employed in the development of a project, regardless of the site or whether the laborer or
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mechanic is employed by a contractor or subcontractor.

In Cavett, the Department contended that even if the court decided that the phrase “site of the work” in the
DBA was unambiguous, the Secretary is not precluded from applying the broader definition of that phrase
(encompassed in 29 CFR 5.2(l)) to the contract in question because it is covered by the Federal-Aid
Highways Act (a Davis-Bacon Related Act). The Department asserts that unlike the DBA, the Federal-Aid
Highways Act does not contain language limiting its scope to employees working “directly on the site of
work.”

The Federal-Aid Highways Act specifically notes that the prevailing wage determination shall be “in
accordance with” the Davis-Bacon Act. According to the court, this means that the Federal-Aid Highways
Act incorporates from the DBA not only its method of determining prevailing wage rates but also its
method of determining prevailing wage coverage. In other words, if 29 CFR 5.2(l) is inconsistent with the
DBA it must also be inconsistent with the Federal-Aid Highways Act.

AGC points out the court’s observation in Cavett and recommends that, if the Department believes that
DBA coverage under development statutes, or under any related act, is different than it is under the DBA, it
has the obligation to promulgate regulations defining that coverage before it can apply or enforce different
standards.

Contract Clauses by Operation of Law Should be Clarified

The Department has always maintained that the DBA clauses required by the regulation are applicable by
operation of law, even when they are not physically in the contract. However, this has never been “official.”
Before the Department enforces the DBA and initiates action for back wage collection, it retroactively
incorporates the clauses and the appropriate WD into the contract. This proposal would make that step
unnecessary. As the Department notes, if this creates a back wage liability for the contractor because the
contracting agency failed to include the clauses and WD in the contract, the contractor must be
compensated for the additional costs.

AGC asks for further clarifications. It is absolutely necessary that prime contractors be compensated for any
increased costs caused by a contracting agency failure.

Post-Award WD Correction Should be Clarified

DOL can direct an agency to include a WD after contract award. Contractors must be compensated for any
increased costs under current regulations. The Department is proposing that the Administrator may
“otherwise” direct the retroactive requirement. It is not clear from the wording of this proposal whether the
authorization for the Administrator to “otherwise” direct the retroactive requirement is referring to
including the WD after contract award or the requirement that contractors must be compensated for any
increased costs as a result.

AGC recommends additional clarification on this point. Does this proposal authorize the Administrator to
deny compensation to contractors when a WD is retroactively included in a WD? If a WD is not included in
a contract because of the failure of a contracting agency, and is not retroactively included by the
Administrator, what consequence does this have for contractors with respect to any increased costs? Again,
it is absolutely necessary that prime contractors be compensated for any increased costs caused by a
contracting agency failure.
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Conclusion

AGC reiterates our appreciation for the Department’s efforts regarding its most significant review of the
DBRA regulations in 40 years and hopes it provides necessary clarity on the DBRA that make sense for
today’s contractors. AGC also appreciates the opportunity to engage in the rulemaking process and looks
forward to working with the WHD as it continues to amend regulations that impact construction employers.
If we can aid in any way, please do not hesitate to contact me.

Sincerely,




Cc:     Martin J. Walsh, Secretary
        U.S. Department of Labor

        Jessica Looman, Acting Administrator
        Wage & Hour Division
        U.S. Department of Labor




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